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                             FINISAR CORPORATION VS DIRECT GROUP, INC., ET AL
                                                             07/06/06                                                              1



 1                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE E STERN DISTRICT OF TEXAS FILED
 2                                              BEAUMONT DIVISION U.S. DISTRICT COURT]
                                                                       EASTERN DISTRICT OF TEXAS
 3
      FINISAR CORPORATION )                                        CIVIL ACTION NO. JUL I 2 00
 4                                                       )         1:05-CV-00264
                                                                                                      DAVID J.MALAND, CLEF K
                                                         )
 5                      PLAINTIFF, )                               BEAUMONT, TEXAS DEpUTY
                                                         )
 6   VS.                                          )                JULY 6, 2006
                                                         )         9:30 A.M.
 7    DIRECTV GROUP, INC., ET )
     AL                                         )
 8                                                       )
                        DEFENDANTS. )
 9

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                                       TRANSCRIPT OF HEARING
11                               BEFORE THE HONORABLE JUDGE RON CLARK
                                   UNITED STATES DISTRICT JUDGE
12                           'k'k'k'k-k'k'k'k'k'k'k'k'k-k'k-k'k'k'k'k'k'k'k-k'k-k-k-k'k'k'k'k'k'k'k'k-k-k- 'k' -k'k'k'k'k'k'k'k'



13   APPEARANCES :

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     PROCEEDINGS RECORDED BY STENOGRAPH SHORTHAND; TRANSCRIPT
 6   PRODUCED BY CAT SYSTEM.

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 1                     THE COURT: PLEASE BE SE TED. ALL RIGHT. I

 2   CALL THE FINISAR CORPORATION VERSUS DIRECTV GROUP, INC., ET AL,

 3   NO. 1:05-CV-0264. WE RE HERE ON THE POST-TRIAL MOTIONS AFTER

 4   THE JURY HAS RETURNED A VERDICT. AND IS PLAINTIFF READY?

 5                    MR. ROBERTS: YES, YOUR HONOR.

 6                     THE COURT: AND IS DEFE DANT READY?

 7                     MR. SAVIKAS: YES, YOUR HONOR.

 8                     THE COURT: OKAY. I HAVE RECEIVED THE VARIOUS

 9   BRIEFS THAT AND PAPERS THAT HAVE BEEN FILED IN CONNECTION

10   WITH THIS. THERE'S A NUMBER OF DIFFERENT ISSUES TO BE TAKEN

11   UP, THE VARIOUS JUDGMENTS AS A MATTER OF LAW, THE QUESTION OF

12   ENHANCEMENT, THE QUESTION OF HETHER OR NOT THE CASE IS

13   EXCEPTIONAL, WHETHER ATTORNEYS SHOULD BE AWARDED, AND IF SO,

14   HOW MUCH. THE QUESTION OF WHETHER OR NOT INJUNCTION SHOULD BE

15   ISSUED, AND IF NOT, HOW A COMPULSORY LICENSE OR OTHER

16   ALTERNATIVE MIGHT BE STRUCTURED; AND THEN FINALLY, THE MATTER

17   OF HOW TO CALCULATE PREJUDGMENT INTEREST. A LOT TO COVER.

18   SOME OF THOSE THINGS WERE PRETTY WELL COVERED, I THINK, IN THE

19   TESTIMONY AT TRIAL, WHICH THE COURT CAN MOSTLY STILL REMEMBER,

20   WHICH IS IN HE RECORD, OF COURSE.

21                     SO, PLAINTIFF, YOU CAN GO AHEAD AND PRESENT AS

22   TO WHAT YOU THINK IS MOST IMPORTANT. THERE IS A LIMIT, BUT, OF

23   COURSE, THAT'S SIMILAR TO WHAT YOU'D SEE IN AN APPELLATE COURT.

24   YOU'RE GOING TO HAVE TO PICK THE ISSUES YOU THINK RE STILL

25   OPEN OR NEED SOME ELUCIDATION.


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 1                    MR. ROBERTS: YOUR HONOR, T THE TOP OF OUR

 2   LIST, OF COURSE, IS THE INJUNCTION. I'D LIKE TO ST RT BY JUST

 3   DISCUSSING BRIEFLY THE EBAY CASE. I WAS SURPRISED WHEN I

 4   FINALLY READ THE EBAY CASE BECAUSE IN THE NEWS REPORTS IT

 5   SOUNDED LIKE EBAY HAD WON. AND WHEN I READ THE CASE, I

 6   REALIZED THAT NEITHER PARTY HAD WON. IN FACT, WHEN YOU READ

 7   THAT SUPREME COURT OPINION, YOU REALIZE THAT THE EBAY C SE IS

 8   REALLY A REBUKE OF THE DISTRICT COURT'S ACTION AS MUCH AS IT

 9   WAS A REBUKE OF THE FEDERAL CIRCUIT'S ACTION.

10                     AND IN THAT CASE THE SAME ARGUMENTS ARE BEING

11   MADE HERE THAT ARE MADE HERE. AND THAT IS IN A SITUATION WHERE

12   THE PLAINTIFF EXPRESSES A WILLINGNESS TO LICENSE ITS PATENTS

13   AND THE PLAINTIFF HAS A LACK OF COMMERCIAL ACTIVITY IN

14   PRACTICING THOSE PATENTS, THE DISTRICT COURT FOUND A

15   CATEGORICAL APPROACH THAT AN INJUNCTION SHOULD NOT ISSUE. AND

16   THE SUPREME COURT TURNED THAT AROUND AND SAID THAT CATEGORICAL

17   RULE CANNOT BE SQUARE TO THE PRIOR SUPREME COURT DECISION, SUCH

18   AS THE CONTINENTAL PAPER BAG DECISION.

19                     NOW, THE POINT TO BE TAKEN BY THE EBAY DECISION

20   IS THAT IS NOT MEANT TO BE A RADICAL DEPARTURE FROM PRIOR

21   PRACTICE. IN FACT, THE SUPREME COURT REALLY EMPHASIZED THAT A

22   PAGE OF HISTORY IS WORTH A VOLUME OF LOGIC. AND JUSTICE

23   ROBERTS NOTED THAT THE LONG TRADITION OF EQUITY PRACTICE IS NOT

24   SURPRISING GIVEN THE DIFFICULTY OF PROTECTING A RIGHT TO

25   EXCLUDE THROUGH MONETARY REMEDIES THAT ALLOW AN INFRINGER TO


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 1   USE AN INVENTION AGAINST THE PATENTEE'S WISHES.

 2                     SO, YOUR HONOR, WHAT WE'RE FACED WITH HERE IS AN

 3   APPROXIMATE 200-YEAR HISTORY WHERE IN THE VAST MAJORITY OF THE

 4   CASES, AN INJUNCTION IS ENTERED FOLLOWING A VERDICT SUCH AS IN

 5   THE SITUATION OF OURS WHERE INFRINGEMENT IS FOUND, THE

 6   APPROPRIATE REMEDY GOING FORWARD TO PROTECT THAT RIGHT TO

 7   EXCLUDE IS AN INJUNCTION. AND THAT'S WHAT WE WOULD ASK THE

 8   COURT TO ENTER HERE TODAY.

 9                     NOW, I KNO THE COURT H S PREVIOUSLY EXPRESSED

10   ITS PRELIMINARY VIEW, I HOPE, THAT AN INJUNCTION IS NOT

11   APPROPRIATE IN THIS CASE, BUT I'D JUST ASK THE COURT TO

12   RECONSIDER THAT VIEW

13                     THE COURT: WELL, KEEP IN MIND WHAT I POINTED

14   OUT WAS IS ON TWO OF THE FOUR POINTS TO BE CONSIDERED THAT

15   THERE WAS ALREADY VERY STRONG EVIDENCE IN THE RECORD. I MEAN,

16   THAT WAS JUST A FACT AS TO WHAT EVIDENCE THERE ALREADY WAS.

17   AND THAT WAS MAINLY TO ASSIST COUNSEL ON BOTH SIDES IN USING

18   THE LIMITED TIME THEY HAVE TO FOCUS ON HOW TO DEAL WITH THAT.

19   I MEAN, THERE'S NO POINT IN IGNORING THE VERY DIRECT TESTIMONY

20   THAT'S ALREADY THERE, AND THAT WOULD BE AS TO WASTE EVERYBODY'S

21   TIME. SO, IN TERMS OF VIEW OR NOT VIEW, IT IS                  IT WAS A

22   STATEMENT OF WHAT I SAW AS THE FACTS ALREADY IN THE RECORD ON

23   TWO OF, I THINK, FOUR MAJOR ISSUES FOR THE COURT TO CONSIDER.

24   AND OBVIOUSLY IF THERE WAS SOMETHING I MISSED IN THE RECORD,

25   THIS ALLOWED COUNSEL ON BOTH SIDES TO DIRECT MY ATTENTION TO


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 1   THE RECORD WHERE MAYBE I H D MISSED SOMETHING OR TO PRESENT

 2   DIFFERENT EVIDENCE.

 3                    MR. ROBERTS: THANK YOU. THE POINT I WOULD LIKE

 4   TO MAKE ON THESE FACTORS IS, FIRST OF ALL, IF WE WERE A

 5   COMPETITOR OF DIRECTV STANDING HERE TODAY, I DON T THINK THERE

 6   WOULD BE ANY QUESTION THAT WE WERE ENTITLED TO AN INJUNCTION.

 7                     NOW, THE FACT THA E'RE NOT A COMPETITOR DOES

 8   NOT CHANGE THE ANALYSIS BECAUSE WE RE HAVING FAILED TO

 9   LICENSE THE PATENT, WE ARE IN A POSITION TO ENABLE A COMPETITOR

10   TO BE IN THAT POSITION OF BEING ABLE TO EXCLUDE DIRECTV.

11   WE AS WE POINTED OUT IN OUR BRIEF, WE COULD GO OUT AND

12   LICENSE THE PATENT TODAY ON AN EXCLUSIVE BASIS TO SOMEONE, AND

13   WHAT WE OFFER HEM IS THE RIGHT O KEEP OTHERS OUT OF THE

14   INDUSTRY. AND BECAUSE WE ARE UNLIKE SOME OF THESE OTHER

15   COMPANIES THAT ALREADY HAVE A HISTORY OF LICENSING ON A

16   NON-EXCLUSIVE BASIS, IF THE COURT WERE TO IMPOSE A COMPULSORY

17   LICENSE ON US, THE COURT IS, IN EFFECT, TAKING AWAY FROM US THE

18   ABILITY TO EXCLUDE THAT COMES WITH THE PATENTS. AND WE HAVEN'T

19   VOLUNTARILY SURRENDERED THAT BY ENTERING INTO A LICENSED

20   PROGRAM WITH A DOZEN OTHER COMPANIES. THIS IS NOT A CASE WHERE

21   WE'RE LICENSING WIDGETS FOR ABOUT $1.32 EACH, AND THE ONLY

22   THING WE'RE MISSING OUT ON IS SOME LICENSING ROY LTY. WE

23   COULD    E COULD GO KNOCK ON DIRECTV'S MAJOR COMPETITOR S DOOR

24   TOMORROW, OFFER THEM TO SELL THIS PATENT, OFFER TO LICENSE THIS

25   PATENT ON AN EXCLUSIVE BASIS AND PUT THEM IN THE VERY SHOES


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 1   THAT WE OCCUPY TODAY. AND IT IS THAT POSITION THAT THE COURT

 2   WOULD BE TAKING AWAY FROM US BY REQUIRING US TO LICENSE THIS

 3   PATENT ON A COMPULSORY B SIS.

 4                    WHAT SHOULD HAPPEN HERE IS AN INJUNCTION SHOULD

 5   BE ENTERED. THAT GIVES DIRECTV SOME OPTION. THEY CAN EITHER

 6   DECIDE TO PULL THE PLUG ON THE WHOLE SYSTEM; THEY CAN NEGOTIATE

 7   WITH US FOR ROYALTY; OR, THEY CAN IMPLEMENT ONE OF THE

 8   INEXPENSIVE NONINFRINGING ALTERNATIVES THAT THEY HAVE TESTIFIED

 9   AND MAINTAINED EXIST THROUGHOUT THE PENDENCY OF THIS CASE.

10   NO , THAT IS EX CTLY HE SITUATION THAT WE S W IN RECENT VERY

11   FAMOUS CASE OF NTP VERSUS RESEARCH IN MOTION. NOW AND THE

12   POINT I WANT TO MAKE WITH THAT CASE IS THAT THERE THE JURY CAME

13   BACK WITH A VERDIC OF $23 MILLION. SOME YE RS LATER WHEN THE

14   INJUNCTION W S FINALLY ENTERED WHEN THE JUDGE SAYS, YOU KNOW, I

15   SEE NO REASON NOT TO ENTER THE INJUNCTION. IT'S GOING TO

16   ENTER, AND WE SAW PRESS RELEASES ABOUT THAT. WE SAW GOVERNMENT

17   INTERVENING. FINALLY THERE WAS A SETTLEMENT. AND WHAT BECAME

18   THE REALITY THROUGH THAT SETTLEMENT IS THAT RIM HAD NO

19   NONINFRINGING ALTERNATIVES. THEY WERE UNWILLING TO PULL THE

20   PLUG, AND SO THEY PAID THE MONEY TO GET THE LICENSE.

21                     NOW, IN THAT CIRCUMSTANCES THE MARKET DETERMINED

22   WHAT THAT LICENSE SHOULD BE. THAT WAS AN ACTUAL NEGOTIATION

23   BETWEEN TWO PARTIES. AND IN THIS CASE IF WE'RE TRYING TO

24   SIMULATE THAT MARKET RESPONSE WITH SOME SORT OF AN ONGOING

25   ROYALTY OR SOMETHING ELSE, IT'S A VIRTUAL IMPOSSIBILITY.



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 1                    NOW, I WOULD REFER THE COURT TO THE IN RE

 2   MAHURKAR CASE. THE IN RE MAHURKAR CASE IS A NORTHERN DISTRICT

 3   OF ILLINOIS CASE, BUT WHAT S INTERESTING ABOUT THAT CASE IS

 4   THAT IT WAS DECIDED BY JUDGE EASTERBROOK, WHO IS ONE OF THE

 5   FOREMOST ADVOCATES OF LAW ECONOMICS. HE SITS ON THE 7TH

 6   CIRCUIT. ND IN THAT CASE JUDGE EASTERBROOK NOTED: THE

 7   INJUNCTION CREATES A PROPERTY RIGHT AND LEADS TO NEGOTIATIONS

 8   BETWEEN THE PARTIES. A PRIVATE OUTCOME OF THESE NEGOTIATIONS

 9   WHETHER THEY END IN A LICENSE AT A PARTICULAR ROYALTY OR IN THE

10   EXCLUSION OF AN INFRINGER FROM THE MARKET IS MUCH PREFERABLE TO

11   A JUDICIAL GUESSTIMATE ABOUT WHAT A ROYALTY SHOULD BE.

12                     SO WE'RE IN A POSITION HERE TODAY OF SAYING IF

13   AN INJUNCTION IS NOT GOING TO ENTER, WHAT DO WE DO ABOUT THAT

14   REMEDY? IF THE REMEDY FOR THE VIOLATION OF THE RIGHT TO

15   EXCLUDE IS NOT AN INJUNCTION, HOW DO WE CALCULATE THE V LUE OF

16   WHAT THAT INJUNCTION WOULD BE? THAT'S A VIRTUAL IMPOSSIBILITY.

17   WE CAN'T LOOK AT THE JURY'S VERDICT. THE JURY VERDICT IS FOR

18   DETERMINING PAST ROYALTIES. WE HAVE TO RELY ON THE MARKET TO

19   MAKE THAT DECISION.

20                     NOW IN THIS CASE THERE, IS NO ESTABLISHED

21   ROYALTY FOR THIS PATENT. ND THAT'S THE PROBLEM IS WE RE NOT

22   SELLING IDGETS AT $1.32 PER IDGET OR LICENSING OUT OUR PATENT

23   TO OTHERS WHO SELL WIDGETS FOR $1.32. SO THERE IS THERE IS

24   NO WAY TO APPROXIMATE WHAT THIS INJUNCTION WOULD BE WORTH TO

25   US. AND THAT'S WHY WE SAY THE MARKET HAS TO HAS TO


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  1   DETERMINE THE VALUE OF TH T. BY ENTERING THE INJUNCTION,

 2    LETTING THESE FACTORS PLAY OUT.

 3                     NOW, THE OTHER PROBLEM THAT COMES UP, THE

  4   SUGGESTION HAS BEEN MADE THAT THIS IS REALLY NO DIFFERENT THAN

  5   THE Z4-CASE, AND WE SHOULD JUS FOLLOW WHAT JUDGE DAVIS DID

  6   A D AND HAVE ANOTHER TRIAL OR ANOTHER ACTION TO DETERMINE

  7   FUTURE D MAGES AND JUST LET THEM GO ON WITH BUSINESS AS USUAL.

  8   THERE ARE FEW DISTINCTIONS HERE. IN THE Z4-CASE, MICROSOFT HAD

  9   ALREADY SET FORTH A PLAN FOR DISCONTINUING THE USE OF THE

10    PATENTED INVENTION. THE OTHER             SO, IN EFFECT, THERE IS AN

11    INJUNCTION IN PLACE, A VOLUNT RY ONE BEING ADOPTED BY

12    MICROSOFT. AND WHAT THEY RE SAYING WAS, YOU KNOW, WE CAN’T DO

13    THIS TOMORRO , BUT HERE IS OUR PLAN. E'RE GOING TO TAKE THIS

14    OUT OF OUR NEW RELEASE OF WINDOWS IN 2007, WE’RE GOING TO PHASE

15    THIS OUT OF CURRENT PRODUCTS. AND I THINK THAT THAT EXCUSE

16    ME, THE PLAN WAS WITHIN TWO OR THREE YEARS ALL INFRINGING RULES

17    WOULD CHANGE, AND THE VAS MAJORITY OF THAT WOULD STOP WITHIN

18    SEVEN MONTHS. THAT'S ONE DISTINCTION.

19                       HE SECOND DISTINCTION WAS IN MICROSOFT IN

20    THE Z4 MICROSOFT CASE, THE PATENT WAS TO A RELATIVELY MINOR

21    SOFTWARE MODULE, AND WHAT Z4 WAS ASKING WAS THAT MICROSOFT BE

22    ENJOINED FROM SELLING ITS MICROSOFT OFFICE SUITE OF PRODUCTS

23    mD ITS OPERATING SYSTEM, THE WINDOWS OPERATING SYS EM. SO

24    THEY WOULD HAVE THE VERY CONCERNED ADDRESSED BY THE SUPREME

25    COURT THAT YOU'VE GOT A PATENT ON A SMALL COMPONENT AND YOU'RE


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 1    ASKING THEM TO ENJOIN THE ENTIRE SYSTEM. TH T IS NOT OUR CASE.

 2    OUR PATENT AS WE'VE SEEN OVER THE TWO WEEKS OF TRIAL COVERS THE

 3    ENTIRE SYSTEM. SO WE'RE DISTINGUISHABLE ON THAT BASIS AS WELL.

  4                    HERE, IF WE'RE TO DOPT JUDGE DAVIS'S

 5    APPROACH BECAUSE THERE HAS BEEN NO EXPRESSION OF ANY PLAN ON

  6   THE P RT OF DIRECTV TO STOP INFRINGING, DO WE FILE ANOTHER

  7   ACTION AND THEN COME BACK IN 12 MONTHS AND TRY THAT, AND THEN

  8    HEN THAT'S OVER E FILE ANOTHER ACTION? WE CONTINUE DOING

  9   THAT THROUGH 2012. THAT'S THE VERY PERPETUAL LITIGATION

10    PROBLEM THAT JUSTICE STOREY AND WE'VE ATTACHED HIS

11    COMMENTARIES, NOTES ENCOURAGES THE AWARD OF AN INJUNCTION IN

12    THE FIRST PLACE.

13                     YOUR HONOR, WHAT I WOULD SUGGEST WE DO IS ENTER

14    THE INJUNCTION. LET'S NOT TRY TO SIMULATE WHAT THE MARKET IS

15    GOING TO DO. LET'S LET THESE FACTORS PLAY OUT. DIRECTV HAS

16    CHOSEN TO BUILD THEIR SYSTEM ON INFRINGING TECHNOLOGY. THEY

17    CANNOT BE HEARD TO COMPLAIN WHEN THEY'RE ASKED TO STOP DOING

18    THAT. LET'S LET THESE FACTORS PLAY OUT. MY SUGGESTION IS

19    THIS: LET'S DO WHAT JUSTICE JUDGE EASTERBROOK DID IN THE

20    MAHURK R CASE. HE SAID: I'M GOING TO ENTER THE INJUNCTION;

21    I'M NOT GOING TO STAY THE INJUNCTION; BUT I AM GOING TO GIVE

22    YOU ENOUGH TIME TO SEEK STAY BY THE FEDERAL CIRCUIT.

23                     WE ARE REALLY TREADING IN NEW GROUND HERE. THE

24    DISTRICT COURTS ARE GOING TO BE LOOKING FOR SOME GUIDANCE FROM

25    THE FEDERAL CIRCUIT. HY DON'T E ENTER THE INJUNCTION, LET


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  1   THEM SEEK A STAY FROM THE FEDERAL CIRCUIT. THAT WILL GIVE THE

  2   FEDERAL CIRCUIT AN OPPORTUNITY IMMEDIATELY TO REACT TO WHAT THE

  3   SUPREME COURT HAS DONE AND PROCEED ON THAT BASIS.

  4                    THE COURT: WHAT'S SO DIFFICULT ABOUT WHAT THE

  5   SUPREME COURT HAS DONE IN TERMS OF EBAY AND JUST SAYING THAT

  6   THE PROPER ANALYSIS OF AN INJUNCTION ARE THE FACTORS THAT,

  7   JUDGES, YOU'VE ALWAYS USED; AND LAWYERS, YOU'VE ALWAYS ARGUED.

  8   I MEAN, I   WH T IS SO      I MEAN, AS YOU JUST POINTED OUT,

  9   THAT'S NOT ANYTHING NEW. THE SUPREME COURT SAID ISN'T ANYTHING

10    NEW, JUST REMINDING EVERYBODY TO STOP WANDERING OFF THE PATH,

11    GET BACK TO WHERE -- HOW WE'VE ALWAYS DONE INJUNCTIONS.

12                     MR. ROBERTS: WELL, IN THE PAST IN PATENT CASES

13    IS THAT IN THE VAST MAJORITY OF CASES AN INJU CTION WILL ISSUE.

14                     THE COURT: RIGHT. BUT THAT AGAIN                  WHAT THE

15    SUPREME COURT WAS REMINDING THE FEDERAL CIRCUIT AND ALL OF THE

16    JUDGES DEALING WITH PATENTS IS THAT STOP GOING OFF ON SOME

17    SEPARATE ANALYSIS, USE THE STANDARD INJUNCTION ANALYSIS, ND

18    YOU JUST SEEM TO INDICATE THAT YOU START OFF YOUR ARGUMENT

19    BY SAYING THIS IS NOT ANYTHING NEW, AND YOU RE ENDING UP YOUR

20    ARGUMENT SAYING, YEAH, THIS IS WE NEED TO GET NEW GUIDANCE

21    FROM THE FED CIRCUIT AND THE SUPREME COURT ON WHAT TO DO WITH

22    THIS NEW IDEA. WHAT S NEW ABOUT THE STANDARD FACTORS SET OUT

23    IN EBAY.

24                     MR. ROBERTS: WHAT I'M CONCERNED ABOUT BEING NEW

25    IS THAT IF COURTS START DENYING INJUNCTIONS, THEN WE GET INTO


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  1   THESE PROBLEMS THAT WE HAVEN'T FACED BEFORE IS: HO DO WE

  2   VALUE HOW DO WE VALUE THE INJUNCTION? IF WE'RE GOING TO

  3   SUBSTITUTE A MONETARY REMEDY FOR THE INJUNCTION, HOW DO WE

  4   VALUE THAT? WE SEE IN JUDGE DAVIS'S

  5                    THE COURT: HOW IS THAT DIFFERENT THAN ALMOST

  6   ANY MAJOR COMMERCIAL COMPLICATED INJUNCTION CASE? WE'VE BEEN

  7   DOING THAT FOR 200 YEARS. I MEAN, YOU'RE ACTING LIKE IT'S

  8   SHOW ME HOW IT'S DIFFERENT THAN THE SAME QUESTION YOU DEAL WITH

  9   WHEN YOU SUDDENLY I THINK THE EXAMPLE IN THE SEMINARS IS

10    ALWAYS THE GUY COMES TO YOUR OFFICE, IT'S ALWAYS 5:00 O'CLOCK

11    ON FRIDAY, AND THEY'RE GETTING READY TO CLEAR CUT ALL OF HIS

12    LAND, A D HOW ARE YOU GOING TO HANDLE THIS? THIS IS ACTUALLY

13    THE OPENING OF A BAR JOURNAL ARTICLE. ND YOU'VE GOT THAT SAME

14    THING, INJUNCTION, IRREPARABLE HARM, SO ON AND SO FORTH. HOW

15    IS THIS DIFFERENT?

16                     MR. ROBERTS: WELL, IF YOU LOOK AT THE PAGE OF

17    HISTORY THAT THE SUPREME COURT REFERS TO IN P TENT CASES, YOU

18    CAN SEE THAT WHAT IS        WHAT IS TRADITIONALLY DONE             AND I

19    THINK IT IS A RESULT OF THE FOUR-PRONG INQUIRY. WHAT IS

20    TRADITIONALLY DONE IS THE INJUNCTION IS ENTERED. AND THAT'S

21    HOW THEY GET AROUND THESE PROBLEMS. AND SO WHERE THERE'S A

22    DIFFICULTY IN VALUING THE INJUNCTION, THE ANSWER IS NOT TO

23    VALUE THE INJUNCTION, BUT TO ENTER THE INJUNCTION. SO THE

24    ARGUMENT REALLY IS WHERE THERE'S THOSE KINDS OF PROBLEMS THAT

25    EXIST, THE ANSWER IS TO ENTER THE INJUNCTION, NOT TO GET OFF ON


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  1   SOME ANALYSIS ON HOW WE RE GOING TO VALUE THIS BECAUSE IT IS

 2    THE VERY DIFFICULTY OF THAT ANALYSIS THAT ENCOURAGES THE ENTRY

  3   OF THE INJUNCTION IN THE FIRST PLACE. AND THAT’S WHY IN THE

  4   ONLY CASES WHERE INJUNCTIONS SHOULD BE DENIED ARE CASES WHERE

  5   THERE IS A VERY ESTABLISHED ROYALTY FOR THE P TENT, AND IT'S

  6   EASY TO VALUE. AND THIS IS NOT ONE OF THOSE CASES

  7   UNFORTUNATELY.

  8                     THE COURT: SO WE TAKE SEVEN CITIZENS OFF THE

  9   STREET WITH MAYBE A COUPLE OF THEM HAVING A COLLEGE EDUCATION,

10    TELL THEM TO FIGURE OUT ON THE BASIS OF THE FANTASY WORLD, AS

11    SOME LAWYERS IN THIS COURT CALLED IT, WHAT THE REASONABLE

12    ROYALTY SHOULD BE. BUT A JUDGE WHO HAS BEEN WORKING THROUGH

13    THIS FOR ALMOST YEAR, READ ALL THE TEXT, HOPEFULLY HAD SOME

14    EXPERIENCE, AND IN THE COURT OF APPEALS WITH A VAST NUMBER

15    OF I MEAN, THEY’VE GOT STAFF ATTORNEYS AND ENDLESS

16    EXPERIENCE       CAN'T DO IT?

17                      MR. ROBERTS: WELL, LET ME PUT THIS A DIFFERENT

18    WAY. THE PROBLEM IS THIS. THE PATENT CONFERRED THE RIGHT TO

19    EXCLUDE, AND WHAT IS THAT RIGHT FOR US? IF THAT RIGHT IS HELD

20    BY A COMPETITOR OF DIRECTV, WHAT WOULD THAT BE WORTH TO THEM?

21    TO BE ABLE TO SHUT DOWN DIRECTV. IF THAT’S WHAT THIS PATENT

22    DOES, IF IT SHUTS DOWN DIRECTV, WOULDN’T THAT RIGHT BE WORTH

23    MILLIONS AND MILLIONS ND MILLIONS OF DOLLARS TO A COMPETITOR?

24    WHAT I'M SAYING IS WE STILL HAVE THE ABILITY TO TAKE THIS

25    PATENT TO A COMPETITOR, GIVE THEM N EXCLUSIVE LICENSE,


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  1   TRANSFER TH T RIGHT TO EXCLUDE OVER TO THEM, EITHER THROUGH A

  2   TRANSFER OF TITLE, OR THROUGH A LICENSE, ND LET THEM EXERCISE

  3   TH T. SO THE PROBLEM BECOMES HOW DO WE VALUE THE VIOLATION OF

  4   THAT RIGHT? IF WE RE GOING TO SUBSTITUTE A MONETARY AWARD FOR

  5   THE INJUNCTION, HO DO E          HOW DO WE V LUE THAT? IF WE GO TO

  6   DIRECTV'S COMPETITOR ND S Y: WHAT IS IT WOR H TO YOU? IT’S

  7   WORTH MILLIONS AND MILLIONS. HOW DO WE HOW DO WE ASK A

  8   JURY? HOW DO WE ASK A JUDGE? HOW DO WE ARK COUR OF PPEALS

  9   TO VALUE THAT? AND THAT’S WHY IN THE MAHURKAR CASE, IT SAYS:

10    JUDICIAL GUESSTIM TES DO NOT CUT IT. YOU VE GOT TO LET THE

11    MA KET MAKE THAT V LUE DETERMINATION. AND THAT'S WHY ON EBAY,

12    WHEN THE JURY AWARDED 23 MILLION, THE PARTIES EVENTU LLY SOLD

13    FOR 612.5 MILLION. WHO WOULD HAVE THOUGHT TH T THE RIGHT TO

14    EXCLUDE IN THAT CASE WAS WORTH OVER $600 MILLION?

15                     AND THAT’S THE PROBLEM WE’RE DEALING WITH. YOU

16    SAY, OKAY, THE JURY C ME BACK WITH 79 MILLION, BUT WHAT IS THE

17    RIGHT TO EXCLUDE GOING FORWARD WORTH? IS IT 612.5? IS IT

18    MORE? HOW DO WE WE ARE NOT IN A POSITION TO MAKE THAT

19    DETERMINATION. AND THAT IS THE VERY PROBLEM THAT WE’RE FACED

20    WITH AND WHY THE INJUNCTION SHOULD ISSUE IN THE FIRST PLACE

21    BECAUSE COURTS ARE NOT IN A POSITION TO SIMULATE THE MARKET ON

22    THIS POINT.

23                     THE PUBLIC INTEREST PRONG IS ONE WHEREIN PATENT

24    CASES THE ONLY CASES I COULD FIND WHERE THEY FOUND THAT

25    PUBLIC INTEREST ON THE PART OF THE DEFENDANT OVERWEIGHS THE


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  1   RIGHT TO AN INJUNCTION OR WHETHER THERE IS A CRITICAL PUBLIC

  2   INTEREST. E QUOTE THE HYDROTECH CASE, 849 F.2ND AT 15

  3   EXCUSE ME, AT 1458. THERE THIS WAS A PRELIMINARY INJUNCTION

  4   CASE PRELIMINARY INJUNCTION WAS DENIED TO PRODUCTS NOT

  5   HAVING TO DO ITH CRITICAL PUBLIC INTEREST. IN OTHER WORDS,

  6   THE INJUNCTION WAS NOT ALLOWED AS TO CANCER AND HEPATITIS KITS,

  7   BUT IT WAS ALLOWED FOR PREGNANCY KITS. SO THAT S A SITUATION

  8   WHERE YOU KNOW, THERE IS A PUBLIC INTEREST, THEY BUILT A

  9   BUSINESS ON THIS, BUT THEY SAID WHERE THERE S A CRITICAL PUBLIC

10    INTEREST WE’RE NOT GOING TO ALLOW THE INJUNCTION. IF YOU LOOK

11    AT THE WIND SURFING CASE, THE COURT MAKES IT CLEAR THAT THAT

12    WHEN YOU WHEN YOU BUILD YOUR ENTIRE BUSINESS ON

13    INFRINGEMENT, THAT YOU ARE NOT GOING TO BE HE RD IN A COURT OF

14    EQUITY WHEN YOU SAY, WELL, TO ENJOIN ME FROM MY INFRINGING

15    ACTIVITIES IS TO HURT MY BUSINESS. THAT’S JUST NOT A FACTOR TO

16    BE CONSIDERED BY THE COURTS OF EQUITY.

17                     SO IT SEEMS THAT IN THIS CASE ALL OF THE FACTORS

18    ARE IN DIRECTV'S FAVOR        EXCUSE ME        FINISAR'S FAVOR, AND

19    THERE IS NO REASON NOT TO ENTER AN INJUNCTION. AND AGAIN,

20    WE'RE VERY MUCH DISTINGUISHABLE FROM THE APPROACH JUDGE DAVIS

21    IS TAKING IN THAT THERE       IT'S ALMOST A DE FACTO INJUNCTION

22    WHERE MICROSOFT HAS AGREED TO TAKE THIS OFF THE MARKET. HERE

23    WE'VE GOT UNTIL 2012 BEFORE THIS PATENT EXPIRES. AND WHAT IS

24    OUR REMEDY FOR DOING THAT? FILING CASE AFTER CASE, IT'S JUST A

25    PROCEDURAL NIGHTMARE. IT'S THE TYPE OF PERPETUAL LITIGATION


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  1   THAT WE SHOULDN'T HAVE TO GO THROUGH. AND THAT'S WHY AN

  2   INJUNCTION SHOULD BE ENTERED IN THIS CASE.

  3                    IF THE COURT HAS NO FURTHER QUESTIONS ON THAT,

  4   I'LL MOVE OVER TO THE A TORNEY'S FEES ISSUE.

  5                    THE COURT: OKAY.

  6                    MR. ROBERTS: OF COURSE, THE PRIMARY BASIS THAT

  7   WE'RE ASKING FOR ATTORNEY'S FEES IN THIS CASE IS THE JURY'S

  8   UNANIMOUS FINDING OF WILLFUL INFRINGEMENT. THE CASES ARE CLEAR

  9   THAT WILLFULNESS ALONE IS SUFFICIENT TO FIND EXCEPTIONALITY AND

10    TO AWARD ATTORNEY'S FEES. AND I SUPPOSE WE COULD CITE THE

11    COURT A HUNDRED CASES THAT STAND FOR THAT. THERE'S ALSO

12    INSTANCES OF LITIGATION MISCONDUCT THAT WE'VE CITED TO IN OUR

13    BRIEF. THE COURT IS FAMILIAR WITH THOSE H VING BEEN PARTY TO

14    ALL OF THOSE MOTIONS AND HEARINGS. THE HIGHLIGH S OF THAT ARE

15    THAT WE FILED I THINK, BY OUR COUNT 19 PAPERS HAD TO BE

16    FILED. AND I KNOW       I DON'T ME N MOTIONS, BUT I DO MEAN

17    PAPERS, ND WE USE THAT TERM INTENTIONALLY. NINETEEN PAPERS

18    HAD TO BE FILED BECAUSE OF BASIC RULE VIOLATIONS, ND DIRECTV

19    NOTES IN THEIR BRIEF, YOU KNOW, SOME OF THAT IS TO BE EXPECTED.

20    I ACKNOWLEDGE THAT SOME OF THAT IS TO BE EXPECTED. BUT IN THIS

21    CASE IT WAS AN EXTRAORDINARY AMOUNT OF PROBLEMS THAT WE

22    ENCOUNTERED. EVERY TIME WE TURNED AROUND, WE HAD TO FILE

23     NOTHER MOTION BECAUSE E'RE SEEING NEW THINGS BEING POSTED ON

24    US THAT HADN'T BEEN PROPERLY DISCLOSED PURSUANT TO THE LOCAL

25    RULES, THE OBLIGATION TO DISCLOSURE. THOSE ISSUES WERE ARGUED


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  1   IN NO LESS THA SIX HE RINGS, AND THE COURT WAS A PARTY TO

  2   THOSE. I WON'T DWELL ON THOSE.

  3                    DIRECTV ARGUES THAT THEY'RE, IN FACT, THE

  4   PREVAILING PARTY IN THIS LITIGATION. I CAN GIVE YOU 79 MILLION

  5   REASONS WHY THEY'RE NOT THE PREVAILING PARTY, BUT I WOULD

  6   INSTEAD CITE TO THE BECKMAN INSTRUMENTS CASE AT 892 F.2ND AT

  7   1553. WHERE THE COURT SAID: WHEN INFRINGEMENT IS FOUND TO BE

  8   WILLFUL, THE POLICY BEHIND SECTION 285 OF DISCOURAGING

  9   INFRINGEMENT MIGHT JUSTIFY IMPOSING ALL OF THE PATENT OWNER'S

10    ATTORNEY'S FEES ON THE INFRINGER EVEN IF THE INFRINGER

 11   PREVAILED AS TO SOME OF THE CLAIMS IN SUIT. SO EVEN THOUGH

12    SOME OF OUR CLAIMS WERE HELD INVALID ON EARLY SUMM RY

 13   JUDGMENTS, WHEREIN THIS CASE INFRINGEMENT WAS WILLFUL, AN AWARD

 14   OF ATTORNEY FEES IS JUSTIFIED, AND WE WOULD ASK FOR SUCH.

 15                    ON ENH NCEMENT, AGAIN WE'VE OUTLINED ALL OF THE

 16   FACTORS SET FORTH IN READ V. PORTEC. I DON'T WANT TO GO OVER

 17   THE BRIEF AGAIN, BUT I WOULD NOTE THAT HERE WE HAVE A SITUATION

 18   WHERE THE JURY AWARD IN COMPARISON TO DIRECTV'S ABILITY TO PAY

 19   IS VERY SMALL. I WOULD I WOULD DARE SAY THAT THE AWARD

20    DOESN'T EVEN SHOW UP AS A BLIP ON THEIR FIN NCIAL RADAR SCREEN.

21    TO ENH NCE THAT BECAUSE P RT OF THE POLICIES TO BE ENFORCED A E

 22   TO BE PROMOTED BY ENHANCING THE AW RD ARE TO DETER

23    INFRINGEMENTS. AND BECAUSE THIS WAS FOUND TO BE WILLFUL, THE

24    ONLY WAY TO DO THAT IS TO TREBLE D MAGES IN THIS CASE. WE'VE

 25   GOT A SITUATION WHERE THEY CLAIM: WELL, WE ACTED IN GOOD


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  1   FAITH. WE VE GOT W OPINIO FROM COUNSEL. BUT HAT, IN FACT,

  2   WE S W WHEN THE EVIDENCE C ME OUT IS TH T THE OPINION THEY GOT

  3   W S RECEIVED BY IN-HOUSE COUNSEL AND PUT IN A DRAWER. HE SAYS

  4   HE REVIEWED IT. HE SAYS HE M DE THE DECISION ON IT, BUT IF IT

  5   WAS SOMETHING OF THIS MAGNITUDE, WOULDN’T THERE AT LEAST BE A

  6   MEETING ABOUT TH T OPINION? WOULDN’T THERE AT LEAST BE SOME

  7   INDICATION OF THE COMP NY RELYING ON THAT OPINION? IT’S ONE

  8   THING TO GET AN OPINION. FIRST OF ALL, THE OPINION THEY GOT WE

  9   SAW EVIDENCE THAT IT WAS BASED ON INCOMPLETE INFORMATION,

10    INCOMPLETE TECHNICAL INFORMATION. SO WHEN THE OPINION CA E IN,

11    WAS AN ENGINEER ASKED TO REVIEW THAT? NO. NO. MR. ARCENEAUX

 12   TESTIFIED HAT HE NEVER REVIEWED IT UNTIL HE WAS PREPARING FOR

13    HIS DEPOSITION IN THIS CASE. NO TECHNIC L PERSON EVER REVIEWED

 14   THAT OPINION TO EVEN SEE IF IT WAS ACCURATE IN SPITE OF THE

15    FACT THAT THE OPINION ITSELF SAID: WE ASK YOU TO CONFIRM THE

16    ACCURACY OF THIS TECHNICAL INFORMATION. LET US KNOW IF IT'S

 17   NOT RIGHT SO THAT WE C N AMEND THAT IF WE NEED TO.

18                     SO WE'VE GOT A SITUATION WHERE THE OPINION IS

19    OBTAINED. IT LOOKS LIKE THEY'RE CROSSING THEIR T'S ND DOTTING

20    THEIR I'S, BUT WHEN IT COMES IN, IT GETS PUT IN A DRAWER. NO

21    MEETING WAS HELD TO DISCUSS IT. WHERE IS THE CORPORATE

22    RELI NCE ON THAT OPINION? IT'S ONE THING TO GET THE OPINION,

23    BUT YOU NEED TO HAVE A BUSINESS DECISION RELYING ON THAT

24    OPINION TO AVOID THE KIND OF PROBLEM THAT WE’RE FACING HERE

25    TODAY.



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  1                    AND THAT IN ADDITION TO THE OTHER FACTORS ON

  2   ENHANCEMENT ARE WHY THE JUDGMENT SHOULD BE TREBLED IN THIS

  3   CASE. AND AGAIN, I NOTE THAT EVEN TREBLING THE JUDGMENT IS

  4   GOING TO BARELY SHOW UP ON DIRECTV S RADAR SCREEN.

  5                    WE HAVE WITH US TODAY A MR. BRIAN NAPPER, WHO IS

  6   OUR DA AGES EXPERT. I DON'T KNOW IF IT WOULD BE APPROPRIATE AT

  7   THIS TIME TO PUT HIM ON THE STAND AND TO TALK ABOUT SOME OF

  8   THESE ISSUES. I GUESS SOME OF THIS DEPENDS ON WHERE THE COURT

  9   IS INCLINED TO GO. MR. NAPPER IS PREPARED TO TALK ABOUT THE

10    DIFFICULTY IN EVALUATING THE INJUNCTION, ADDITIONAL INFORMATION

11    THAT WOULD BE NEEDED TO PERFORM THAT VALUATION. HE’S NOT HERE

12    PREP ED TO GIVE A NUMBER BECAUSE OF THE DIFFICULTY OF THAT AND

13    COMPLEXITY OF THAT ANALYSIS. SO, I GUESS IT DEPENDS ON WHERE

14    THE COURT IS INCLINED TO GO. IF YOU WANT TO GET INTO THE

15    DETAILS OF THAT, WE WOULD BE HAPPY TO PUT HIM ON, OR WE C N

16    MOVE RIGHT INTO THE PREJUDGMENT AND POSTJUDGMENT INTEREST.

17                     THE COURT: OKAY. POSTJUDGMENT INTEREST IS

18    ESTABLISHED BY STATUTE. I DIDN'T EVEN SEE IN THE BRIEFS THERE

19    WAS MUCH DISCUSSION OR CONTROVERSY ON THAT. THERE'S A STATUTE

20    ON THAT. IS THERE SOMETHING I MISSED?

21                     MR. ROBERTS: NO. I THINK YOU'RE RIGHT.

22                     THE COURT: OKAY. PREJUDGMENT INTEREST, BOTH

23    SIDES HAVE AGREED THAT THE TEXAS STATUTORY SCHEME OF SIX

24    PERCENT IS PROPER. YOUR CALCULATION WAS ON THE .14 PERCENT OF

25    THE ROYALTY FEE BASIS, AND THEIRS WAS BASED ON THE $1.32 PER


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 1    SET TOP BOX BASIS. BUT T KING A LOOK AT YOUR CHARTS, IT COMES

 2    OUT LIKE, WHAT, WITHIN A MILLION DOLLARS OF EACH OTHER?

 3                      MR. ROBERTS: SOMEHOW WE STILL MANAGED TO BE

  4   $700,000 APART.

 5                      THE COURT: YEAH. IT WAS FAIRLY CLOSE ON THAT.

  6   SO, YOU MIGHT TOUCH BRIEFLY ON THAT, BUT YOU RE PRETTY DARN

  7   CLOSE, BOTH OF YOU THERE. AND SINCE YOU’RE AGREEING ON THE SIX

  8   PERCENT, YOU’RE AGREEING ON THE STATUTORY SCHEME, YOU’RE

  9   AGREEING ON THE MONTHS, YOUR DIFFERENCES ARE FAIRLY MINOR. YOU

10    WANT TO MAYBE HIGHLIGHT THOSE. BUT IF YOU'VE GOT A WITNESS TO

11    BE TALKING ABOUT, AS I MENTIONED BEFORE, EITHER THE INJUNCTION

12    OR HOW ONE WOULD CALCULATE A COMPULSORY LICENSE, THIS IS YOUR

13    OPPORTUNITY TO GET THAT ON THE RECORD.

14                      MR. VEDERKA: OKAY. YOUR HONOR, ITH RESPECT TO

15    THE PREJUDGMENT INTEREST

16                      THE COURT: AND JUST FOR THE RECORD, SINCE WE

17    HAVE A DIFFERENT COUR REPORTER CHRIS IS ON VACATION

18    PLEASE GO AHEAD AND IDENTIFY EACH SPEAKER AS YOU STAND UP. I

19    KNOW YOU’VE ALL GIVEN YOUR NAMES, BUT I WAN TO BE VERY SURE

20    SHE HAS THAT FOR THE RECORD.

21                      MR. VEDERKA: C. J. VEDERKA ON BEHALF OF

22    FINISAR. THAT'S SPELLED V-E-D-E-R-K-A. THE ISSUE ON

23    PREJUDGMENT INTEREST IS TWO-FOLD, AND I CAN ADDRESS IT VERY

24    QUICKLY. YOU'RE CORRECT THAT WE'VE AGREED ON THE TEXAS

25    STATUTORY RATE WHICH IS SIX PERCENT. DIRECTV CONTENDS THAT


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  1   INTEREST SHOULD NOT BE COMPOUNDED, THAT IT SHOULD BE SIMPLE

  2   INTEREST. FINIS R ASKS THAT THE COURT COMPOUND INTEREST

  3    NNUALLY. WITH RESPECT TO THE ANNUAL COMPOUNDING, WE JUST

  4   BELIEVE THAT MORE CLOSELY RELATES TO THE COMMERCIAL REALITIES

  5   THAT FINISAR WOULD FACE WHETHER WITH RESPECT TO LENDING OR

  6   BORROWING MONEY. I I CHALLENGE ANYONE IN THE ROOM TO FIND A

  7   BANK THAT WILL LOAN THEM MONEY WITHOUT COMPOUNDING INTEREST.

  8    ND THE PURPOSE OF THE COURT'S DISCRETION TO AWARD PREJUDGMENT

  9   INTEREST IS TO PUT THE PUT THE AGGRIEVED P RTY IN A POSITION

10    THAT MOST CLOSELY TRACKS WHERE HE WOULD HAVE BEEN IF THEY

11    HADN'T BEEN OUT THE MONEY THAT'S GOING TO BE AWARDED. SO WE

12    WOULD URGE THAT THE COURT COMPOUND THE PREJUDGMENT INTEREST

13    ANNUALLY. THAT'S A CONSERVATIVE APPROACH.

14                     I WOULD LIKE TO DIRECT THE COURT'S ATTENTION TO

15    ONE C SE. THAT IS     IT'S ACTUALLY THE BECKMAN CASE THAT W S

16    SPOKEN TO EARLIER WHEN IT WAS ON REMAND. THE COURT IN THAT

17    CASE COMPOUNDED THE PREJUDGMENT INTEREST ANNUALLY, AND WITH

18    RESPECT TO ATTORNEY'S FEES UNDER SECTION 285 COMPOUNDED THOSE

19    AT TEN PERCENT ANNUAL RATE QUARTERLY. YOU COULD, IN YOUR

20    DISCRETION, COMPOUND THE INTEREST DAILY. AND SO IT'S OUR

21    POSITION THAT COMPOUNDING NNUALLY IS A CONSERVATIVE APPROACH,

22     ND WE'D ASK THE COURT TO ADOPT HAT.

23                     WITH RESPECT TO THE OTHER DEPAR URE BETWEEN THE

24    TWO PARTIES' CALCULATIONS, ONE IS THAT OUR CALCULATION OF

25    INTEREST WHILE COMPOUNDED YEARLY T LLIES THE MONEY ON A DAILY


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  1   BASIS. DIRECTV IS T LLYING THE MONEY ON WHAT IS CALLED A

  2   MID-MONTH CONVENTION. E BELIEVE THAT OUR CALCULATION MORE

  3   APPROPRIATELY TRACKS HOW DIRECTV'S BUSINESS ORKS. I THINK

  4   THAT THE COURT CAN TAKE JUDICIAL NOTICE THAT DIRECTV DOESN'T

  5   GET ITS PAYMENTS FROM 15 MILLION SUBSCRIBERS ALL IN ONE DAY

  6   EVERY MONTH, AND THAT THEY PROBABLY PAY THEIR MONEY EVERY

  7   YOU KNOW, PAYMENTS COME IN EVERY DAY, WHICH IS WHY WE ADDED THE

  8   MONEY EVERY DAY. WE HAVEN'T COMPOUNDED THE INTEREST EVERY DAY,

  9   BUT DIRECTV IS TAKING ONE MONTH ONE DAY IN A MONTH AND

10    TAKING AN AVERAGE BETWEEN THE TWO TIMES. AND MR. NAPPER'S

11    GROUP IS THE ONE THAT HAS CALCULATED THAT INTEREST FOR US AND

12    COULDN'T

13                     THE COURT: BUT IN TERMS OF AS YOU TALKED

14    ABOUT THIS WAS A COMMERCIAL BUSINESS OR LICENSE AND MAYBE

15    THERE'S SOME EVIDENCE FOR THIS, FOR EXAMPLE, ON THEIR IMPEG

16    LICENSE OR ONE OF THE OTHERS, IT WOULD SEEM UNLIKELY THAT

17    THEY'RE MAKING PAYMENTS EVERY DAY OR CALCULATING EVERY DAY. I

18    MEAN, NORM LLY IT WOULD BE ON A MONTHLY OR BIWEEKLY BASIS OR

19    SOMETHING LIKE THAT. AND FOR THAT MATTER, WHEN YOU START TALK

20    ABOUT DOING IT DAILY, ARE YOU DOING IT THE DAY THAT THE

21    CUSTOMER SENT THE CHECK? ARE YOU DOING IT THE DAY THE CHECK

22    CLEARED OR THE DAY THEY SIGNED THE AGREEMENT? I ME N, WHAT

23                     MR. ROBERTS: WE'RE JUST MAKING THE POINT THAT,

24    YOU KNOW, AT LEAST IN DIRECTV'S BUSINESS, IN THE OPERATION OF

25    THEIR BUSINESS, THEY RECEIVE MONEY EVERY DAY.


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  1                    THE COURT: WELL, YEAH.

 2                     MR. ROBERTS: ND SO IT WAS OUR POSITION THAT

 3    THAT MORE CLOSELY TRACKED HOW THE COMMERCIAL REALITIES OF

  4   DIRECTV.

  5                    THE COURT: BUT AREN'T WE TALKING ABOUT MAKING

  6   YOUR CLIENT WHOLE? IN OTHER WORDS, THE LOSS THAT THEY WOULD

  7   HAVE AND NORMALLY THEY WOULD BE GETTING A CHECK MONTHLY,

  8   MAYBE EVEN LESS FREQUENTLY THEN, I'M NOT SURE. BUT PROBABLY NO

  9   MORE THAN MONTHLY. AND THAT WOULD BE THEIR LOST OPPORTUNITY

10    COSTS. THEY COULD HAVE IF THEY HAD THAT MONEY IN HAND AT

11    THE BEGINNING OF EACH MONTH OR BEGINNING OF EACH TWO WEEKS,

12    THEY COULD PRESUMABLY HAVE EITHER INVESTED IT IN SOME GOOD

13    OPPORTUNITY OR TAKEN A LOW RISK INVESTMENT OF A TREASURY BILL

14    FOR LESS OR SOMETHING IN BET EEN. THAT S WHAT THE SIX PERCENT

15    WINDS UP STATUTORILY IT BEING KIND OF A COMPROMISE. I JUST

16    I GUESS I'M NOT SURE THE POLICY ISSUE IS TO COMPENSATE YOU

17    FOR LOST OPPORTUNITY COST, AND YOU'RE GOING TO HOW THEY GET

18    THE MONEY IN AS OPPOSED TO HOW YOU OULD NORMALLY GET IT.

19                     MR. VEDERKA: RIGHT. AND FINISAR IS IN THE

20    BUSINESS OF PART OF ITS BUSINESS IS LICENSING ITS INTELLECTUAL

21    PROPERTY, GETS MONEY IN. THIS IS FROM FINISAR'S STANDPOINT AND

22    AT DIFFERENT TIMES. AND WE THOUGHT THAT THAT MORE CLOSELY

23    APPROXIMATED THE COMMERCIAL REALITIES OF THE PARTIES.

24                     THE COURT: DO YOU H E ANY EVIDENCE THAT

25    FINISAR LICENSES ARE GETTING DAILY CHECKS FROM SOMEBODY, OR ARE


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  1   THEY NORM LLY

  2                     MR. VEDERK : I DON'T THINK

  3                     THE COURT: I IMAGINE A BUSINESS DOING THAT, AND

  4   SURELY THEY'RE SENDING THEM EVERY TWO WEEKS, EVERY MONTH OR

  5   SOMETHING.

  6                     MR. VEDERKA: WELL, I         AGAIN, WE DIDN T ADDUCE

  7   ANY EVIDENCE ON EXACTLY WHEN.

  8                     THE COURT: OKAY.

  9                     MR. VEDERKA: BUT THAT IS PART OF THE DIFFERENCE

10    IN THE METHODOLOGY ND IN TERMS OF THE DETAILS. WHEN

11    MR. NAPPER PRESENTS SOME OTHER TESTIMONY, WE COULD ASK HIM

12    ABOUT THAT.

13                      THE COURT: OKAY.

14                      MR. VEDERKA: WE'D LIKE TO CALL MR. BRIAN

15    NAPPER.

16                      THE COURT: VERY GOOD.

17                      (THE WITNESS IS SWORN IN.)

18                      MR. VEDERKA: YOUR HONOR, I THINK WE JUST HAVE

19    THREE SLIDES WE MIGHT USE WITH MR. NAPPER. COULD I APPROACH

20    AND BRING A COPY OF THOSE?

21                      THE COURT: PLEASE.

22                                  BRIAN NAPPER,

23    HAVING BEEN DULY SWORN, TESTIFIED AS FOLLOWS:

24                    DIRECT EXAMINATION

25    BY MR. VEDERKA:



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  1   Q. GOOD MORNING, MR. NAPPER.

  2   A. GOOD MORNING, MR. VEDERKA.

  3   Q. AT TRIAL YOU TESTIFIED CONCERNING YOUR CALCULATIONS FOR

  4   PAST DAMAGES; IS THAT CORRECT?

  5   A. THAT S CORRECT.

  6   Q. AND YOU UNDERSTAND THA PART OF WHAT WE'RE DOING TODAY IS

  7   CONSIDERING IMPOSITION OF DAMAGES GOING FORWARD IN LIEU OF

  8   INJUNCTION, IF ULTIMATELY JUDGE CLARK DETERMINES THAT AN

  9   INJUNCTION IS NOT APPROPRIA E?

10    A. THAT'S MY UNDERSTANDING THAT THE COURT IS CONSIDERING

11    ALTERNATIVE OPTIONS, YES.

12    Q. AND IN YOUR OPINION IN MAKING SUCH CALCULATION, WOULD YOU

13    CONSIDER DIFFERENT INFORMATION THAN YOU CONSIDERED IN

14    DETERMINING PAST DAMAGES?

15    A. YES, ABSOLUTELY. THE TYPES OF INFORMATION                       LET'S TAKE A

 16   STEP BACK. THE CONSTRUCT OF THE 1995 DAMAGES OPINION ARE BOTH

 17   DIRECTV S DAMAGES EXPERT, AS WELL AS MYSELF, IS A HYPOTHETICAL

 18   NEGOTIATION BACK IN 1995. AND WHAT THAT DOES IS ROLLS

19    ESSENTIALLY ES ABLISHES A ROYALTY RA E TO BE PAID PLACING

20    VARIOUS WEIGHTS ON INFORMATION THAT ARE IN OR ROUND THE TIME

21    OF THE HYPOTHETICAL NEGOTIATION. AND THEN AS TIME ELAPSES YOU

22    PLACE ESSENTIALLY ALL OTHER THINGS BEING EQUAL LESS EIGHT AS

23    INFORMATION IS FURTHER OUT INTO THE PROJECTED PERIOD OF TIME.

24    SO IN THIS CASE, AS I DID, YOU PLACE LESS WEIGHT ON

25    INFORMATION, FOR EXAMPLE, 2000, THE YEAR 2000 FORWARD, 2001,


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  1   2002, 2003. AND ESSENTIALLY IN COMING UP WITH AN APPROPRIATE

  2   ROYALTY RATE, IT'S APPLIED AGAINST THE ROYALTY BASE. IN MY

  3   C SE I BELIEVE IT'S FINISAR'S REVENUE OF DIRECTV BECAUSE OF THE

  4   ASSISTED ASPECT OF THE PATENT. AND HAT WE DO AND WHAT WE

  5   PRESENTED TO THE JURY THEN IS APPLYING THAT RATE ON THE REVENUE

  6   STREAM UP TO THE TIME OF TRIAL PRESUMING AN INJUNCTION WOULD BE

  7   ISSUED BY THE COURT.

  8   Q. OKAY. AND WOULD THAT VERY APPROACH CREATE A DIFFERING

  9   RESULT, IN YOUR OPINION?

10    A. YES. ESSENTIALLY, WITHOUT THE PRESUMPTION OF AN

11    INJUNCTION, THEN IT ESSENTIALLY PUTS US IN A POSITION OF TODAY

12    FINISAR AND DIRECTV SITTING DOWN, AGAIN UNDER INFRINGEMENT

13    FOUND TO BE USING THE PATENT OF VALIDITY AND ENFORCEMENT, ET

14    CETERA. AND ESSENTI LLY ALSO WITH ILLFULNESS, BEING FOUND TO

15    BE WILLFULLY INFRINGING ON THE PATENT AND THESE TWO PARTIES NOW

16    SIT DOWN TODAY. AND IF I WERE ASKED TO REVIEW AND ANALYZE WHAT

17    THAT RESULT WOULD BE BASED UPON MY INFORMATION OR KNOWLEDGE OF

18    THE CASE, I BELIEVE TH T THERE OULD BE OTHER INFORMATION THAT

19    I WOULD PLACE MORE WEIGHT ON THAN I DID ORIGINALLY.

20    Q. OKAY. WELL, YOU'VE PREPARED            SHORT LIST OF SOME OF THE

21    INFORM TION THAT YOU WOULD NEED TO CONSIDER.

22                     MR. VEDERKA: CAN YOU PUT THAT UP ON THE SCREEN,

23    PLEASE, SUE?

24    Q. (BY MR. VEDERKA) ALL RIGHT. HERE IN THIS FIRST SLIDE,

25    YOU HAVE PRIMARY CHANGES FROM THE 1995 CONCEPT. WHAT DID YOU


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  1   INTEND TO IMPART BY TH T?

  2   A. ESSENTIALLY WHAT I JUST SAID, WHICH IS AS WE SIT HERE NOW

  3   IN JULY 2006 THE ARKETPLACE IS COMPLETELY DIFFERENT THAN THE

  4   1995 HYPOTHETICAL NEGOTIATION BETWEEN FINISAR AND DIRECTV.

  5   Q. AND I BELIEVE THAT YOU HAVE POINTED OUT SOME OF THESE

  6   EST BLISHED MARKET DATA POINTS, THE FIRST ONE BEING DIRECTV'S

  7   MAJORITY MARKET SHARE. HO DID THAT AFFECT

  8                    THE COURT: YES?

  9                    MR. S VIKAS: MAY I MAKE AN OBJECTION.

10                     THE COURT: SURE.

 11                    MR. SAVIKAS: WE DID NOT SEE ANY OF THESE

 12   DEMONSTRATIVES, AND I THOUGHT OUR EARLIER AGREEMENT WAS WE GET

 13   THEM AT 9 O'CLOCK THE DAY BEFORE, SO THIS IS THE FIRST TIME

 14   THAT WE'RE SEEING THEM.

 15                    MR. VEDERKA: THIS IS, YOU KNOW

 16                    THE COURT: IF YOU MADE SUCH AN AGREEMENT, I

 17   MEAN, I GUESS YOU HAVE TO LIVE WITH YOURSELF ETHICALLY. I'LL

 18   LET YOU GO ON IF

 19                    MR. VEDERKA: WELL, I THINK

20                     THE COURT: YOU CAN MAKE AGREEMENTS

 21                    MR. VEDERKA: I MADE AN AGREEMENT WITH RESPECT

 22   TO THAT DURING THE TRIAL. I HAD NOT CONSIDERED THIS HEARING TO

 23   BE, YOU KNOW, A CONTINUATION OF TRIAL. I APOLOGIZE IF I'VE

 24   BROKEN SOME AGREEMENT. I HAD NO PROBLEM THESE ARE NOT

25    VERY THESE ARE NOT CONTROVERSIAL SLIDES.


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  1                    THE COURT: I'M GOING TO OVERRULE THE OBJECTION.

  2   BUT   BUT GO AHEAD.

  3                    MR. VEDERK : OKAY. THANK YOU, YOUR HONOR.

  4   Q. (BY MR. VEDERKA) WITH RESPECT TO THE FIRST DATA POINT YOU

  5   HAVE, WHAT IMPACT WOULD THAT HAVE ON YOUR ANALYSIS?

  6   A. WELL, ESSENTIALLY AND YOU CAN EVEN CATEGORIZE A NUMBER

  7   OF THESE SITUATIONS WHERE THE MARKET IN 2006 IS DIFFERENT THAN

  8   IN 1995. FOR THE DBS MARKETPLACE IN GENERAL AND DIRECTV'S

  9   POSITIONING WITHIN THAT MARKETPLACE, AND THESE ARE JUST SOME OF

10    THE OBSERVATIONS, FACTS REALLY THAT AS DIRECTV SITS HERE TODAY

11    HAVING TO NEGOTIATE RIGHTS TO THE 505 PATENT, IT WOULD BE A

12    CERTAINTY NOW VERSUS BACK IN 1995 WHERE IT WAS CLEARLY LESS

13    THAN CERTAIN. FOR EXAMPLE, ON THE PREVIOUS SLIDE THE FACT THAT

14    THEY WERE A THEY ARE NO A 56 PERCENT M RKET SHARE OWNER IN

15    A TWO-PLAYER MARKETPLACE. THAT'S THE FIRST POINT. THE

16    INSTALLED SUBSCRIBER BASE IS NOW 15 MILLION AND GROWING. AND

17    THEN ESSENTIALLY THE PRODUCT ASSESS THE CURRENT PROFITABILITY.

18    IF I RECALL SOME QUESTIONS AT TRIAL REGARDING CURRENT

19    PROFITABILITY, AND CERTAINLY THE REVENUES AND PROFITS OF

20    DIRECTV NOW IS WITH CERTAINTY A VERY PROFITABLE VENTURE BY

21    PRETTY MUCH A Y MEASURE YOU WANT TO APPLY TO IT.

22    Q. A D WITH RESPECT TO COMPETITION, THERE IS A DIFFERENCE

23    BETWEEN HAT THE PARTIES PERCEIVED IN 1995 AND WHAT WE

24    UNDERSTAND NOW, CORRECT?

25    A. THAT IS CORRECT. THERE WAS            WHILE THERE IS SOME


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  1   INDICATION TH T DIRECTV HAD A LITTLE BIT OF A FIRST MARKET

  2   ADVANTAGE, THEY WERE VERY CONCERNED ABOUT OTHER COMPANIES THAT

  3   WERE GETTING INTO THE DBS BASE, PRIMESTAR, ECHOSTAR CERTAINLY

  4   AT THAT TIME AND OTHER COMPANIES, MAYBE THREE OR FOUR OTHERS.

  5   ESSENTIALLY, AS WE SO ACTUALLY THE MARKETPLACE IN 1995. NOW

  6   AS WE SIT HERE IN 2006, DIRECTV ONLY HAS ONE COMPETITOR, AND

  7   THAT S ECHOSTAR. AND SO THAT'S A DIFFERENT SITUATION NOW

  8   PROVEN, IF YOU WILL, AS OPPOSED TO 1995 WHERE IT MIGHT BE AN

  9   EVENTUALITY, BUT YOU HAVE TO TAKE INTO ACCOUNT THE RISK THAT

10    THAT’S GOING TO MATERIALIZE. AND THAT A CABLE IS STILL A

11    COMPETITOR TO THE DBS MARKETPLACE, BUT EVEN NOW TO LESSER

12    DEGREE THAN WHAT WAS ANTICIPATED BACK IN 1995.

13    Q. OKAY. COULD WE PROCEED

14                     THE COURT: HOLD ON A SECOND. SO TELL ME HOW

 15   COST OF ENTRY ARE GOING TO FIGURE INTO THIS, THIS KIND OF

16    SATELLITE BUSINESS. YOU'VE ONLY GOT ONE OTHER COMPETITOR

17    BASICALLY. I GUESS A CLASS THAT MIGHT BE CALLED OLIGOPOLY.

18    YOU’VE GOT COST OF ENTRY INTO THE MARKET, NOT A CHANCE OF

 19   TRYING TO SELL TO A BUNCH OF COMPETING BUYERS. YOU'VE

20    ACCORDING TO YOU, WE'VE ONLY GOT ONE OTHER ONE OUT THERE AND

21    CABLE TO A LESSER DEGREE. AREN'T THERE BOTH FACTORS THERE THAT

22    WOULD TEND TO RAISE THE VALUE AND ALSO LOWER IT?

23                     THE WITNESS: I WHOLEHEARTEDLY AGREE, YOUR

24    HONOR. I THINK IT'S AN EXCELLENT POINT. FOR EXAMPLE, IF YOU

25    GO BACK TO 1995, HAD AN AGREEMENT BEEN STRUCK WITH DIRECTV BACK


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  1   IN 1995 IN THE HYPOTHETICAL WORLD, ONE COULD CONCEIVE THE

  2    RGUMENT AS WELL THAT FINISAR WOULD HAVE HAD AN OPPORTUNITY TO

  3   LICENSE TO PRIMESTAR, TO LICENSE TO THREE OR FOUR OTHER DBS

  4   COMPANIES AT THAT POINT IN TIME WHOSE ROYALTIES ARE NOW

  5   FOREGONE POTENTIALLY OR COLLAPSED INTO FINISAR S OPPORTUNITY

  6   WITH ECHOSTAR AND DIRECTV.

  7                     THE COURT: BUT NOW WE'RE TALKING

  8   ABOUT    LET'S LOOK AT TODAY.

  9                     THE WITNESS: SURE.

10                      THE COURT: WE'VE ALREADY GOT WHAT THE JURY HAS

11    IN THE PAST. BUT RIGHT NOW YOU HAVE WHAT YOU'RE SAYING IS

12    DIRECTV WITH 56 PERCENT MARKET SHARE AND ONLY ONE COMPETITOR

13    AND JUST PARTLY I WANT TO GET THIS OUT FOR THE RECORD IS:

 14   WHAT ARE THE COSTS OF ENTRY INTO THIS KIND OF BUSINESS?

15                      THE WITNESS: I AGREE, YOUR HONOR, THAT IT IS A

 16   FAIRLY SIGNIFICANT BARRIER TO ENTRY FOR OTHER COMPANIES AT THIS

17    POINT IN TIME.

 18                     THE COURT: IN TERMS OF BILLIONS, RIGHT? IT'S

19    UP THERE AND SO FORTH.

20                      THE WITNESS: I WOULD SAY THAT IN TERMS OF

21    BILLIONS OR MORE, PERMITTING NECESSARY TO GET SATELLITES UP

22    THERE, THAT THERE ARE          I WOULD BE       I'D BE MORE SURPRISED

23    THAN NOT IF THERE'S A THIRD ENTRANT INTO THE DBS MARKETPLACE.

24    THE COMPETITION IS GOING TO COME FROM CABLE AS MUCH AS IT

25    POSSIBLY CAN.



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  1                    THE COURT: ALL RIGHT, SO YOU DO HAVE THE

  2   POSSIBILITY OF SELLING TO ECHOSTAR PERHAPS, AND THEN AS COUNSEL

  3   HAS ARGUED THEY MIGHT HAVE THE ABILITY TO ELIMINATE DIRECTV,

  4   BUT IS THAT REALISTIC IN TERMS OF THE CAPITAL REQUIREMENTS THAT

  5   WOULD BE NEEDED TO TAKE OVER 15 MILLION CUS OMERS. FOR

  6   EXAMPLE, ARE THE SET TOP BOXES INTERCHANGEABLE, OR DOES

  7   ECHOST7UI HAVE A DIFFERENT KIND?

  8                    THE WITNESS: THAT'S A GOOD QUESTION. I BELIEVE

  9   THERE ARE SOME DIFFERENCES. MY IMPRESSION IS THAT THERE'S BEEN

10    SOME SORT OF CONVERGENCE IN THE MARKETPLACE, THAT THE SET TOP

11    BOX IS BECOMING MORE OF A COMMODITY BETWEEN THE TWO COMPANIES.

12    I STILL THINK THERE ARE SOME DIFFERENCES.

13                     THE COURT: AND MAYBE WITH A DISH OR HATEVER IS

14    BRINGING IN THE SIGNAL. THERE HAS TO BE SOME KIND OF

15    CONVERTERS, AS I RECALL ON THE DISH ITSELF COMING IN.

16                     THE WITNESS: THAT'S CORRECT. I WOULD IMAGINE,

17    ALTHOUGH I'M NOT A TECH ICAL EXPERT, IT WOULDN'T SURPRISE ME

18    AG IN THAT THERE IS SOME DIFFERENCES IN THE TECHNOLOGY. SO

19    YOUR POINT IS A GOOD ONE, YOUR HONOR, IN TERMS OF THE ABILITY

20    OF ECHOSTAR TO SERVICE IF YOUR POINT IS THAT $15 MILLION             15

21    MILLION SUBSCRIBERS OF DIRECTV, I WOULD SAY THAT THERE WOULD

22    HAVE TO BE SOME INVESTMENT BY ECHOSTAR. CERTAINLY BY ECHOSTAR

23    VIS-A-VIS SOME OTHER NEW ENTRY INTO THE MARKETPLACE, ALTHOUGH I

24    WOULDN'T DISMISS THAT NECESSARILY, BUT

25                     THE COURT: AND YOU'D HAVE THE SAME KIND OF


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  1   BARRIERS OF ENTRY OR V RIOUS EXPANSION OF THE CABLE. WHEREAS

 2    IN THE CITY, THEY PROB BLY HAVE THEIR CABLE NETWORKS OUT IN THE

  3   AREAS WHERE, I GUESS, SATELLITE TV WAS INITI LLY POPULAR, IN

  4   THE RURAL AREAS, THERE ARE MANY AREAS STILL NOT SERVED BY

  5   CABLE, SO THERE THAT WOULD BE AT COST.

  6                     THE WITNESS: I WOULD AGREE THAT TO EXTEND TO

  7   THOSE PARTICULAR RURAL AREAS WOULD BE SOME INVESTMENT, ALTHOUGH

  8   OBVIOUSLY WITH ECHOSTAR THEY DO HAVE THEIR SATELLITES THERE TO

  9   TRY

10                      THE COURT: I WAS T LKING ABOUT THE OTHER

11    COMPETITOR, CABLE.

12                      THE WITNESS: I'M SORRY. THE CABLE CERTAINLY

13    WOULD STILL BE CHALLENGED WITH RESPECT TO RURAL, ALTHOUGH IT'S

14    MY UNDERSTANDING H VING DONE SOME WORK FOR A COUPLE OF CABLE

15    COMPANIES IN THE ELECTRICAL PROPERTY BASIS, THAT THEY HAVE

16    VASTLY IMPROVED THEIR ABILITY TO REACH THE RURAL AREAS BECAUSE

17    THEY KNEW THAT THAT WAS A COMPETITIVE SHORTCOMING OF THEIRS.

18                      THE COURT: OKAY. GO AHEAD.

19                      MR. VEDERKA: OKAY. SUS N, COULD WE PROCEED TO

20    THE NEXT SLIDE?

21    Q. (BY MR. VEDERKA) OKAY. AND WITH RESPECT TO ADDITIONAL

22    PRIMARY CHANGES FROM THE 1995 CONSTRUCT, YOU WOULD WANT TO

23    CONSIDER ADDITIONAL DIRECTV LICENSES?

24    A. YES. AS I   THE COURT WOULD RECALL DIRECTV SIGNED AN

25    AGREEMENT WITH GEM STAR IN 2004, I BELIEVE, I TESTIFIED IN THE


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  1   1995 CONSTRUCT THAT G VE A LITTLE BIT LESS WEIGHT TO THAT

  2   BECAUSE OF THE LENGTH OF TIME BET EEN 1995 AND 2004. I WOULD

  3   PLACE MORE WEIGHT ON THAT AS WE SIT HERE IN 2006. A PRIMARY

  4   TAKE AWAY IN ADDITION WITH THE TIVO AGREEMENT SIGNED IN 2002,

  5   THE PRIMARY TAKE AWAY IS WITH CONSTRUCT. WHAT WOULD THE

  6   ROYALTY STRUCTURE LOOK LIKE?

  7   Q. AND WHAT WOULD THAT CONSTRUCT BE?

  8   A. THE CONSTRUCT EVEN FURTHER CONFIRMED BY USING THESE TWO

  9   AGREEMENTS IN ADDITION TO THE MACROVISION AGREEMENTS WHICH ARE

10    THE THREE SOLE AGREEMENTS THAT DIRECTV AS AN ENTITY ASSIGNED IS

11    ALL ON A PERCENTAGE OF REVENUE OR A PER SUBSCRIBER BASIS, NOT

12    ON HARDWARE, NO ON SET TOP BOXES.

13    Q. I BELIEVE THAT'S RELATED TO THE LAST POINT ON THE DIRECTV

14    NO LONGER HAS A CORPORATE RELATIONSHIP WITH A SET TOP BOX

15    MA UFACTURER?

16    A. IT'S MY UNDERSTANDING THAT THE HUGHES NETWORK SYSTEM,

17    WHICH WAS A SISTER COMPANY TO DIRECTV, WAS SOLD RECENTLY

18    2004-2005 TIME FRAME, I BELIEVE, TO THOMPSON, ANOTHER SET TOP

19    BOX MANUFACTURER, SO THAT DOES MAKE SENSE. SO DIRECTV HAS NO

20    RELATIONSHIP WHATSOEVER IN TERMS OF A CORPORATE RELATIONSHIP

21    WITH ANY SET TOP BOX MANUFACTURER.

22    Q. OKAY. AND I BELIEVE YOU'VE ALSO SAID THAT THERE WOULD BE

23    SOME ADDITION L OR UPDATED INFORMATION THAT YOU WOULD WANT TO

24    CONSIDER.

25                      MR. VEDERKA: CAN WE PROCEED WITH THE NEXT


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  1   SLIDE, SUSAN?

 2    Q. (BY MR. VEDERKA) A D HERE YOU'VE BROKEN THAT DOWN INTO

  3   FINANCIAL AND I BELIEVE LICENSING.

  4   A. YES, EXACTLY. THE TITLE INFORMATION NOT AVAILABLE ND

  5   NEEDING UPDATE IS I'VE BROKEN INTO TWO BUCKETS, FINANCIAL

  6   AND LICENSING. SO THE FINANCIAL, IT WOULD BE IMPORTANT, I

  7   THINK, AGAIN FOR THE MARKET DYNAMICS TO WORK OUT WHAT WOULD BE

  8   THE AGREEMENT BETWEEN DIRECTV AND FINISAR TODAY TO LOOK AT NOW

  9   PROJECTION PREPARED TODAY FOR REVENUE OPERATING PROFIT BEFORE

10    DEPRECIATION A D AMORTIZATION, SERIALIZE THE PATENT 2012.

11                      IF YOU RECALL IN THE 1995 CONSTRUCT WHILE THAT

12    WAS MENTIONED IN PASSING, LESS WEIGHT WAS PLACED ON THAT

13    INCLUDING BY THE COURT BEC USE OF IT EXISTING SO FAR REMOVED

14    FROM THE 1995 HYPOTHETICAL NEGOTIATION.

15                      IN ADDITION, THIRD PARTY ANALYST PROJECTIONS RE

16    OFTEN USEFUL. E RELIED UPON SOME BACK IN THE 1995 TIME FRAME.

17    CERTAINLY I'D LIKE TO SEE WHAT THE THIRD PARTY ANALYST ARE

18    PREDICTING FOR DIRECTV FOR THE LIFE OF THE PATENT, WHICH IS

19    ONLY ABOUT SIX YEARS TO RUN FROM TODAY THROUGH 2012.

20    Q. AND WHAT ARE WHAT ARE QUARTERLY EARNING COST?

21    A. ESSENTIALLY, I BELIEVE WE ASKED FOR THIS INFORMATION

22    PREVIOUSLY, BUT DIRECTV, SINCE THEY WEREN'T A PUBLIC ENTITY IN

23    1995 THROUGH 2003, DID NOT HAVE SUCH INFORMATION. THESE ARE

24    QUARTERLY EARNINGS CALLS FOR ANALYST WHERE DIRECTV IS

25    EXPLAINING ITS BUSINESS, PROJECTING HERE IT THINKS ITS GROWTH


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  1   IS GOING TO BE, WHAT RE ITS CHALLENGES, HOW IT'S GOING TO ADD

 2    SUBSCRIBERS, ET CETERA. SO THOSE ARE OFTEN USEFUL INFORMATION

 3    AS KIND OF MOUTH PIECES OF DIRECTV INDIVIDUALS TO THE

  4   MARKETPLACE AS TO WHAT THEY'RE INTENDING TO DO, WHAT ARE THEIR

  5   FUTURE PLANS, AND NOT BY BEING ENCOMPASSED IN THE CURRENT D

  6   PROJECTED GROWTH RATES FOR SUBSCRIBERS. I WOULD ALSO LOOK AT

  7   DIRECTV'S CURRENT MARKET CAPITALIZATION, WHAT THE VALUE OF THE

  8   MARKETPLACE PLACES ON THE DIRECTV CONTRASTING THAT WITH 1995

  9   MARKET CAP, WHICH IS OBVIOUSLY SIGNIFICANTLY LESS. AND I'D

10    PROBABLY WANT TO GET AN UPDATE ON ACQUISITION COSTS PER

11    SUBSCRIBER UNDER THE AUSPICES OF ESSENTIALLY DIRECTV, IF THEY

12    LOSE SUBSCRIBERS BY ANY WAY, SHAPE OR FORM AS A RESULT OF 505

13    PATENT OR LACK OF ACCESS TO IT, HOW MUCH IT WOULD COST THEM TO

14    REACQUIRE THOSE SUBSCRIBERS.

15    Q. AND THE LAST POINT, THE NATURE OF EXISTING CONTRACTS?

16    A. AN IMPORTANT CONSIDERATION NOW AS OPPOSED TO BACK IN 1995,

17    LESS SO IN 1995, IS DIRECTV HAS LONG TERM NOW CONTRACTS, AS I

18    UNDERSTAND IT, WITH CONTENT OR COMPONENT PROVIDERS, CONTENT

19    BEING THE MEDIA COMP NIES STREAMING THEIR CONTENT THROUGH

20    DIRECTV'S SYSTEM TO THE HOME, AND ALSO THEY HAVE SOME COMPONENT

21    PROVIDERS MEANING PERHAPS SET TOP BOX MANUFACTURERS AND OTHER

22    HARDWARE. SO THE IMPACT TODAY OF AN INABILITY TO STREAM THEIR

23    CONTENT TO CONSUMERS MAY HAVE AN IMPACT ON THOSE CONTRACTS.

24    AND IT MAY BE DIFFERENT THAN IN 1995.

25                     MR. VEDERKA: OKAY. LET'S PROCEED TO THE LAST



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  1   SLIDE, SUSAN, PLE SE.

 2    Q. (BY MR. VEDERK ) AND HERE RE

  3                    THE COURT: W IT A MINUTE. WAIT A MINUTE.

  4   YOU RE SAYING THE CONTRACTS TELL ME THIS AGAIN ABOUT HOW

  5   TH T AFFECTS THEIR BILITY TO STREAM CONTENT.

  6                    THE WITNESS: ESSENTIALLY, AS I UNDERSTAND IT,

  7   YOUR HONOR      AND PERH PS I MISSPOKE            IT'S THE EXISTING

  8   CONTRACTS BETWEEN DIRECTV ND CONTENT, LET'S SAY IT S DISNEY OR

  9   SOME OTHER MEDIA COMPANY THAT'S SUPPLYING CONTENT THROUGH

10    DIRECTV, ND THEY HAVE A CONTRACT WITH DIRECTV. THE POINT IS

11    HERE IS THAT THOSE TYPES OF CONTRACTS MAY BE DIFFERENT IN 2006

12    THAN THE TERMS OR THE NUMBER OF THOSE CONTRACTS B CK IN 1995.

13     ND SO THE IMPACT OF THOSE CONTRACTS, HOW DOES TH T GET VALUED

14    NOT INTERRUPTING THOSE CONTRACTS IN TERMS OF A POTENTIAL

15    INJUNCTION OR A STOPPING OF SERVICE, I.E., DIRECTV NOT BEING

16    ABLE TO STRE M THAT CONTENT TO THE CONSUMERS, A D DOES THAT

17    HAVE AN IMPACT ON THE CONTRACTS IN PL CE OR ANY FUTURE

18    CONTRACTS THAT DIRECTV IS CURRENTLY NEGOTIATING.

19                     THE COURT: OK Y.

20    Q. (BY MR. VEDERK ) ND FI ALLY, INFORM TION THAT YOU WOULD

21    W NT TO EV lLUATE IN TERMS OF LICENSING.

22    A. I TOUCHED ON THIS PREVIOUSLY. THERE ARE A SERIES OF TIVO

23    AGREEMENTS FROM, I THINK, 1999 TO 2002, INCLUDING SOME RECENT

24    MENDMENTS, ND I'D WANT TO CONSIDER, AS I SIT HERE TODAY, THE

25    TIVO AGREEMENTS, LOOK AT THEM MORE CAREFULLY. THERE IS ONE


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  1   ASPECT OF THAT AGREEMENT, WHICH IS A BROADER RELATIONSHIP

 2    GRANTED, THAT HAS TO DO WITH PATENT LICENSING AND TECHNOLOGY

 3    LICENSING. AND I WOULD CONSIDER THAT, AS WE SIT HERE TODAY.

  4   BACK IN 1995, I DID NOT CONSIDER IT. AND IF THERE'S ANY OTHER

  5   RECENT DIRECTV AND/OR OTHER INDUSTRY AGREEMENTS THAT MIGHT HAVE

  6   SOME RELEV NCE AGAIN AS WE SIT HERE IN 2006. SO THAT'S THE

  7   TYPE OF INFORMATION I THINK WOULD BE APPROPRIATE TO CONSIDER,

  8   ANALYZE, AND PLACE APPROPRIATE WEIGHT ON EITHER LESS WEIGHT OR

  9   MORE WEIGHT IN DETERMINING WHAT A RATE MIGHT BE EVEN IN THEIR

10    COMPULSORY LICENSE BETWEEN FINISAR AND DIRECTV.

11    Q. OKAY. THANK YOU. NOW, WHEN YOU TESTIFIED AT TRIAL IN

12    CALCULATING PAST DAMAGES, YOU TESTIFIED IT WAS YOUR OPINION

13    THAT A PER SET TOP BOX ROYALTY METHODOLOGY WAS INAPPROPRIATE;

14    IS THAT RIGHT?

15    A. THAT S CORRECT.

16    Q. WOULD THAT STILL BE YOUR OPINION WITH RESPECT TO DAMAGES

17    GOING FORWARD?

18    A. I THINK EVEN MORE SO TODAY GIVEN THAT THE JUMP START

19    AGREEMENT IN 2004 AND THE ONE PATENT OR TECHNOLOGY LICENSE

20    AGREEMENT BETWEEN TIVO AND DIRECTV IN 2002 CLEARLY INDICATES TO

21    ME BACK IN 1995 ONLY HAD ONE AGREEMENT THAT HAD BEEN SIGNED

22    WITH MACROVISION BETWEEN DIRECTV AND ANOTHER TECHNOLOGY OWNER.

23    HERE NOW I HAVE, IN ESSENCE, THREE AGREEMENTS, ALL OF WHICH ARE

24    BASED ON A RUNNING ROYALTY BASED UPON A PER SUBSCRIBER WHICH

25    CORRELATES TO REVENUE OR ON A REVENUE BASIS AND NOT ON A SET


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 1    TOP BOX. DIRECTV IS YET TO SIGN AN GREEMENT TO PAY ON A SET

 2    TOP BOX BASIS, A D EVEN FURTHER REMOVED FROM THAT, THEY VE

 3    ACTUALLY GOTTEN RID OF THEIR SET TOP BOX ENTITY WHICH WAS

 4    HUGHES NETWORK SYSTEMS. THERE WAS NO REASON REALLY TO PAY ON

  5   THE SET TOP BOX BASIS.

  6   Q. SO, IN YOUR OPINION, BASED ON THE INFORM TION YOU DO HAVE,

 7    THE RUNNING ROYALTY METHODOLOGY IS EVEN MORE APPROPRIATE THAN

  8   IT WAS WITH RESPECT TO CALCULATION OF PAST DAMAGES?

  9   A. I WOULD SAY THAT’S EVEN MORE           MORE CONCRETE, THAT IT

10    WOULD BE MORE ON A RUNNING ROYALTY PERCENTAGE OF S LES BASIS;

11    YES, SIR.

12                      MR. VEDERKA: THANK YOU, MR. NAPPER.

13                      MR. ROBERTS: IF I COULD JUST OFFER SOME

14    CONCLUSIONARY REMARKS, YOUR HONOR.

15                      THE COURT: WELL, I'M GOING TO ALLOW AN

16    OPPORTUNITY FOR SOME CROSS-EXAMINA ION.

17                      MR. ROBERTS: OH, THANK YOU.

18                      THE COURT: MR. SAVIKAS.

19                      CROSS EXAMINATION

20    BY MR. SAVIKAS:

21    Q. GOOD MORNING, MR. NAPPER.

22    A. HI, MR. SAVIKAS, HOW IRE YOU?

23    Q. I'M WELL. THANK YOU.

24                      ARE YOU AWARE OF ANY REPORTED CASE FROM THE

25    FEDERAL CIRCUIT IN WHICH HYPOTHETICAL NEGO IATIONS ERE


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 1    CONSIDERED AFTER JURY VERDICT?

 2    A. AN INTERESTING QUESTION. I'M GOING THROUGH, I BELIEVE,

 3    VIRTUALLY ALL OF THE CASES, WITH ONE EXCEPTION THAT I'VE BEEN

 4    INVOLVED WITH WHERE THE PLAINTIFF HAS BEEN PREVAILED ON THE

 5    ISSUES OF VALIDITY AND INFRINGEMENT, HAD AN INJUNCTION ISSUED.

  6   SO THERE WOULD BE NO NEED FOR A HYPOTHETICAL HYPOTHETICAL

 7    NEGOTIATION. IT WOULD BE MARKET DYNAMICS DICTATING WHAT

  8   HAPPENS AFTER THAT POINT.

  9   Q. SO YOU'RE NOT A ARE OF THE COURT EVER CONDUCTING

10    HYPOTHETICAL NEGOTIATIONS AFTER A JURY VERDICT?

11    A. AGAIN, IT'S ALWAYS BEEN AN INJUNCTION WITH ONE EXCEPTION.

12    Q. ARE YOU FAMILIAR WITH THE TERM COMPULSORY LICENSE ?

13    A. GENERALLY, YES.

14    Q. ARE YOU FAMILIAR WITH THE COURTS IMPOSING A COMPULSORY

15    LICENSE AFTER A JURY VERDICT AND NOT GRANTING AN INJUNCTION?

16    A. I'M FAMILIAR WITH THAT. I DON'T BELIEVE IT'S BEEN ANY OF

17    THE PROJECTS I'VE WORKED ON HAS THAT OCCURRED. MY PRESUMPTION

18    IS   AND MY KNOWLEDGE IS THAT IT'S PRIMARILY BECAUSE -- I'M

19    SORRY. THERE'S BEEN ONE C SE I'VE WORKED ON WITH ZENITH WHERE

20    THERE WAS 30 SOME ODD LICENSES, AND SO A COMPULSORY LICENSE WAS

21    GRANTED BY THE COURT BECAUSE THAT WAS AN ESTABLISHED ROYALTY

22    RATE. SO I'M NOT FAMILIAR        I'M FAMILIAR WITH THAT CAN OCCUR

23    ON OCCASION.

24    Q. AND WHAT WAS THE COMPULSORY LICENSE RATE GRANTED IN THAT

25    CASE? DID YOU SAY IT WAS AN ESTABLISHED ROYALTY?


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  1   A. IT WAS.

 2    Q. AND THEY DIDN'T TAKE INTO ACCOUNT, QUOTE, THE VALUE OF AN

 3    INJUNCTION?

  4   A. VIRTUALLY EVERY TV MANUFACTURER HAD SIGNED UP FOR THE

 5    RATE, AND THERE HAD BEEN NO VARIANCE IN THE RATE. SO THEY

  6   THE -- ESSENTIALLY THERE WAS NO ANALYSIS PERFORMED OR DESIRED

  7   IN TERMS OF THE VALUE OF AN INJUNCTION FOR THAT PARTICULAR

  8   FACT.

  9   Q. NOW DURING THE TRIAL YOU TESTIFIED AS TO A REASONABLE

10    ROYALTY RATE THAT WOULD BE INCLUDED IN A LICENSE THAT WOULD BE

11    EXECUTED BY DIRECTV AND FINISAR; DID YOU NOT?

12    A. YES. THAT'S CORREC .

13    Q. AND YOU ASSUMED THE DURATION OF THAT LICENSE WOULD BE

14    UNTIL THE EXPIRATION OF THE PATENT; ISN'T THAT CORRECT?

15    A. AS DID DIRECTV'S DAMAGES EXPERT; THAT'S RIGHT.

16    Q. SO YOU DIDN'T     IN YOUR TESTIMONY IN FRONT OF THE JURY,

17    YOU DIDN ASSUME THA THERE WOULD BE AN INJUNCTION ENTER IN

18    COMING UP WITH YOUR ROYALTY RATE, CORRECT?

19    A. WELL, COMING UP WITH MY DAMAGES, I ABSOLUTELY DID. MY

20    DAMAGES CUT OFF THE REVENUES THE ACCUSED

21    Q. I UNDERSTAND THAT. BUT IN DETERMINING WHAT THE RATE AND

22    THE BASE WOULD BE, YOU DID NOT ASSUME THAT THERE WOULD BE AN

23    INJUNCTION?

24    A. ONE OF THE GEORGIA PACIFIC FACTORS IS THE DURATION OF THE

25    LICENSE AGREEMENT, AND I PRESUMED THAT THAT LICENSE AGREEMENT


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  1   WOULD RUN THROUGH THE LIFE OF THE PATENT; TH T IS CORRECT.

 2    Q. OKAY. HOW DO YOU RECONCILE THE JURY VERDICT WITH YOUR

 3    OPINION THAT THE DAMAGES SHOULD HAVE BEEN $1.7 BILLION?

  4   A. I HAVE   I CANNOT RECONCILE THAT. THERE'S ABSOLUTELY

  5   ABSENCE OF INFORMATION AS TO WHAT THE TOOLS OR ANALYSIS OR

  6   EMPHASIS OR WEIGHTS THAT THE JURY PLACED ON THE INFORM TION

  7   THAT IT WAS PRESENTED.

  8   Q. WE TALKED ABOUT THE IMPEG DECODERS AND ENCODERS DURING

  9   YOUR TESTIMONY AT TRIAL. AM I CORRECT THAT YOU TESTIFIED THAT

10    NONE OF THE LICENSES FOR THE IMPEG DECODERS AND ENCODERS IS

11    BASED ON A PERCENTAGE OF GENERAL REVENUE?

12    A. TESTING MY MEMORY NOW, MR. S VIKAS. BUT I BELIEVE THAT IS

13    CORRECT, THAT NONE OF THOSE LICENSES ARE BASED UPON A

14    PERCENTAGE OF REVENUE BASIS FOR THE SET TOP BOXES.

15    Q. ARE YOU AWARE OF NY TECHNOLOGY IN THE SATELLITE

16    TELEVISION BUSINESS THAT IS BASED ON A GROSS REVENUE?

17    A. WELL, I GUESS NOT TO I HESITATE BECAUSE GROSS REVENUES

18    CAN BE DEFINED AS, FOR EXAMPLE, THE MACROVISION AGREEMENT WITH

19    DIRECTV HAD TO DO WITH THE GROSS REVENUES THE BASE WAS THE

20    GROSS REVENUES DERIVED FROM THE USE OF THE MACROVISION

21    TECHNOLOGY FOR SECURITY ISSUES. SO IF DIRECTV HAD A REVENUE

22    THAT THEY CHARGED YOU AND I ON A PAY PER VIEW BASIS, THEY'D PAY

23    IT ON A PERCENTAGE OF THAT REVENUE.

24    Q. RIGHT. BUT IT WASN'T THE GROSS REVENUES OF THE COMPANY,

25    WAS IT?


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  1    . IT W S NOT.

 2    Q. OKAY. EITHER MR. ROBERTS OR MR. VEDERK S ID HAT

 3    DIREC V S ENTERPRISE W S B SED ON INFRINGING TECHNOLOGY. DID

  4   YOU HEAR TH T STATEMENT?

  5   A. I BELIEVE I DID, YES.

  6   Q. NOW, DIRECTV W S IN BUSINESS ND BRO DCASTING LONG BEFORE

  7   THE FINIS R P TENT ISSUED, CORRECT?

  8   A. AGAIN, NOT TO QUIBBLE. LONG BEFORE                I BELIE E THEY WERE

  9   BROADCASTING BEFORE

10    Q. WELL, YOU TESTIFIED ABOUT N AW RD TH T THEY GOT IN

11    FEBRU RY OF 1995 THAT S THE MOST SUCCESSFUL CONSUMER

12    ELECTRONICS PRODUCT?

13    A. YE H. THEY LAUNCHED           I BELIEVE IT'S FEBRU RY 1995,

14     GAIN NO TO CORREC YOU, MR. S VIK S; ND, YES, THEY H D BEEN

15    BROADCASTING BEFORE. I DON'T KNOW BOUT LONG BEFORE, BUT THEY

16    H D BEEN BROADCASTING BEFORE THE 505 P TENT ISSUE.

17    Q. AND THE 505 PATENT CAME OUT IN APRIL OF 1995, CORRECT?

18     . THAT'S MY RECOLLECTION, YES.

19    Q. ALL RIGHT. ONE OF YOUR SLIDES YOU SAID THAT ECHOST R IS

20    THE ONLY DBS COMPETITOR; DO YOU REC LL THAT TESTIMONY?

21    A. YES. AS WE SIT HERE TOD Y, YES.

22    Q. RE YOU AW RE TH T ECHOST R TRIED TO BUY DIRECTV O ONE

23    OCCASION?

24    A. YES.

25    Q. AND ARE YOU AW RE THAT THE JUSTICE DEP RTMENT BROUGHT AN


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  1   ANTI-TRUST SUIT GAINST ECHOST R TO PREVENT HAT ACQUISITION?

  2   A. I DON'T KNOW ABOUT THE FOUR R MIFICATIONS, BUT I BELIEVE

  3   THERE WAS SOME TALK ABOUT IT ONLY FROM ON MY KNOWLEDGE ONLY

  4   FROM THE GENERAL PRESS.

  5   Q. WELL, THE COMPLAINT WAS ATTACHED TO THE                    I'M SORRY. THE

  6   JUSTICE DEP RTMENT COMPL INT WAS TTACHED TO FINIS R'S

  7   COMPLAINT IN THIS CASE. DO YOU RECALL THAT?

  8   A. I DON'T. I'M SORRY.

  9   Q. AND DO YOU RECALL TH T THE JUSTICE DEPARTMENT SAID THAT

10    THERE COULD NOT BE A SINGLE SATELLITE PROVIDER IN THIS COUNTRY?

11    A. I DON'T RECALL THAT, EITHER.

12    Q. DO YOU RECALL TH T A PRESS RELEASE TO TH                   EFFECT IS

13    ATTACHED TO FINISAR'S COMPLAINT IN THIS CASE?

14    A. I DON'T RECALL.

15    Q. WOULD IT SURPRISE YOU TH T THE ECHOSTAR SET TOP BOXES ARE

16    TOTALLY INCOMPATIBLE WITH DIRECTV'S BOXES?

17     . AGAIN, I'VE SEEN THERE'S SOME INDICATIONS THAT THERE'S

18    SOME CONVERGENCE, A DESIRE TO COMODITIZE SET TOP BOXES AND MAKE

19    THEM COMPATIBLE. BUT AS I UNDERSTAND IT AS WE SIT HERE TODAY,

20    TH T THEY RE DIFFERENT. THEY RE DIFFERENT, THAT ONE CAN'T

21    TALK TO THE OTHER.

22    Q. YOU HAVE -- AS I REC LL, YOU HAVE A DISH SYSTEM, RIGHT?

23    A. I HAVE A DIRECTV SYSTEM.

24    Q. YOU CAN'T GET A DISH SIGNAL, CAN YOU?

25    A. NOT THAT I M A ARE OF, NO.



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 1    Q. OKAY. YOU T LKED ABOUT CABLE BEING A COMPETITOR. ARE YOU

 2    AWARE OF THE INTRODUCTION OF THE FIBER OPTIC TELEVISION SYSTEMS

 3    NOW BEING OFFERED BY THE LOCAL BELLS?

  4   A. NO.


  5   Q. DO YOU KNOW ABOUT VERIZON OFFERING THEIR FIOS SYSTEM?

  6   A. I DON'T.

  7   Q. THE GEM ST R MONTHLY ROY LTY THAT YOU T LKED ABOUT, THAT'S

  8   NOT A PERCENTAGE OF ANY GROSS REVENUE, IS IT; THAT'S SIMPLY A

  9   FIXED AMOUNT PER MONTH?

10    A. WELL, IT'S    IT IS BASED UPON ULTIMATELY                    NOT BASED

11    UPON IT RELATES TO GROSS REVENUE BECAUSE IT'S BASED UPON

12    NUMBER OF SUBSCRIBERS THAT CORRELATES TO REVENUE EARNED BY

13    DIRECTV, SO

14    Q. IS IT

15    A. -- 20 CENTS PER SUBSCRIBER PER MONTH.

16    Q. 20 CENT PER SUBSCRIBER PER MONTH. THAT'S IRRESPECTIVE OF

17    HOW MUCH PROFIT OR REVENUE DIRECTV GENERATES.

18    A. THAT IS NOT        TH T IS     YOU ARE RIGHT. IT IS DIVORCED

19    FROM THE AMOUNT THAT SUBSCRIBER IS CHARGED FOR THE DIRECTV

20    SERVICE. BUT OBVIOUSLY THE NUMBER OF SUBSCRIBERS RELATES TO

21    DIRECTV'S REVENUES.

22    Q. AND YOU SAID DIRECTV NO LONGER HAS THE CORPORATE

23    RELATIONSHIP WITH THE SET TOP BOX MANUFACTURER, AS I RECALL?

24    A. THAT WAS MY UNDERSTANDING.

25    Q. DO YOU KNOW NOW HOW DIRECTV SECURES ITS SET TOP BOXES?


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  1   A. I DON'T HAVE     Y SPECIFIC KNOWLEDGE OF THAT. I DO NOTE

  2   THAT THERE AS SOME DIFFICULTY IN DIRECTV ACTUALLY DETERMINING

  3   HOW M NY SET TOP BOXES THAT THEY'VE DELIVERED TO CONSUMERS,

  4   WHICH DOESN'T SURPRISE ME SINCE THEY'RE NOT A SET TOP BOX

  5   M NUFACTURER.

  6   Q. OKAY. HAVE YOU EVER TESTIFIED IN CONNECTION WITH A

  7   COMPULSORY ROYALTY?

  8   A. ONLY THE ONE EXAMPLE I GAVE WHERE I'M FAMILIAR WITH THE

  9   COMPULSORY WELL, I WOULD SAY A LICENSE THAT WAS IMPOSED UPON

10    THE INFRINGER.

11    Q. ARE YOU FAMILIAR

12    A. I DON'T BELIEVE I'VE TESTIFIED              I PROVIDED TESTIMONY IN

13    THAT CASE, SO I'M NOT QUITE SURE WHAT YOU MEAN BY COMPULSORY

14    LICENSE.

15    Q. DID YOU WERE YOU THE ONE WHO OPINED THAT FIVE PERCENT

16    WAS THE APPLICABLE ROYALTY RATE?

17    A. I DIDN'T SAY ANYTHING ABOUT A FIVE PERCENT RATE.

18    Q. I'M SORRY, THE ESTABLISHED RATE. YOU SAID THERE WAS N

19    ESTABLISHED RATE IN THAT CASE?

20    A. THERE WERE 30 AGREEMENTS THAT WERE WITHIN EYELASHES OF

21    EACH OTHER, AND SO, YES, I OPINED AS TO THAT PARTICULAR RATE.

22    Q. AND IN GRANTING THE COMPULSORY LICENSE, THE COURT ADOPTED

23    THE RATE THE ESTABLISHED RATE THAT YOU TESTIFIED ABOUT?

24    A. THEY I'M NOT SURE THEY RELIED UPON MY TESTIMONY AS MUCH

25    AS THEY ESSENTIALLY LOOKED AT THE 30 DIFFERENT LICENSE


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  1   AGREEMENTS ND USED THAT INFORM TION TO MAKE A DETERMINATION.

 2    Q. ALL RIGHT.

  3   A. I'M NOT SURE HOW

  4   Q. IN

  5   A. WHAT RELIANCE THEY PLACED ON MY TESTIMONY.

  6   Q. IN DECIDING THE COMPULSORY ROYALTY RATE, SHOULD THIS COURT

  7   TAKE INTO ACCOUNT THE JURY VERDICT AT LL?

  8   A. THE   IT WOULD SEEM TO ME THAT THE CH LLENGE IN TAKING

  9   ACCOUNT OF THE JURY VERDICT WOULD BE TO TRY TO U DERST ND HOW

10    THE JURY DETERMINED THAT MOUNT AND WHAT IT TOOK INTO

11    CONSIDERATION AND WHAT EMPHASIS IT PLACED ON THE VARIOUS

12    INFORMATION AND EVIDENCE THEY HAD AVAILABLE TO IT. SO I WOULD

13    BE -- IT WOULD BE    OBVIOUSLY, THE COURT BEING MORE WISE TH N

14    I IN THESE SITUATIONS SHOULD DO WHAT IT SHOULD. IF YOU'RE

15    ASKING ME WHAT I WOULD DO, I WOULD BE VERY CAUTIOUS IN USING

16    THAT INFORMATION IN ANY MEANINGFUL WAY.

17    Q. SHOULD THE COURT CONSIDER THE GROSS AMOUNT AT ALL?

18    A. I THINK THE    AGAIN, I'M NOT HERE TO TELL THE COURT

19    EXACTLY WHAT TO DO. IF YOU'RE ASKING WHAT I WOULD DO, I WOULD

20    CONSIDER IT IN THE CONTEXT OF ALL THE OTHER PIECES OF

21    INFORMATION, WHICH I BELIEVE MAY HAVE MORE RELEVANCE TH N AN

22     MOUNT THAT IS UNKNOWN -- OF UNKNOWN DETERMINATION, OF UNKNOWN

23    EMPHASIS ON THE FACTORS TO CONSIDER.

24    Q. AND AM I CORRECT THAT THIS IS THE FIRST CASE IN WHICH

25    YOU'VE BEEN CALLED AFTER A VERDICT TO TESTIFY ABOUT A


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  1   HYPOTHETICAL NEGOTIATION?

 2    A. YES.

 3                     MR. S VIKAS: NOTHING FURTHER, YOUR HONOR.

  4                    THE COURT: A Y MORE QUESTIONS OR MAY THE

  5   WITNESS STEP DOWN?

  6                    MR. VEDERKA: I DON'T HAVE ANY REDIRECT, YOUR

  7   HONOR.

  8                    THE COURT: ALL RIGHT. YOU MAY STEP DOWN, SIR.

  9                    THE WITNESS: THANK YOU, YOUR HONOR.

10                     MR. ROBERTS: IF I MAY, YOUR HONOR.

11                     THE COURT: COUNSEL, I THINK AT THIS TIME WHAT

12    WE'LL DO IS WE'RE GOING TO TAKE A BREAK UNTIL FIVE OF TO GIVE

13    THE COURT REPORTER AND EVERYBODY ELSE A LITTLE REST, AND THEN

14    WE'LL CONTINUE. WE'LL BE IN RECESS UNTIL FIVE OF.

15                      (RECESS.)

16                     THE COURT: GO        EAD, COUNSEL.

17                     MR. ROBERTS: THANK YOU, YOUR HONOR. JUST A

18    COUPLE OF COMMENTS. I WOULD SUGGEST TO THE COURT THAT THE

19    REASON MR. NAPPER HAS NOT TESTIFIED ABOUT A NEW HYPOTHETICAL

20    NEGOTIATION IN POST VERDICT CASES BEFORE IS THAT IN THOSE CASES

21    WHAT WE TYPICALLY FIND IS THERE IS AN EST LISHED ROYALTY. AND

22    BECAUSE THERE'S AN ESTABLISHED ROYALTY, THERE IS NO ANALYSIS

23    NEEDED. THAT POINT REALLY HIGHLIGHTS THE FACT WHY IN THIS CASE

24    AN INJUNCTION SHOULD BE ISSUED BECAUSE OF THE DIFFICULTY IN

25    EVALUATING THE VALUE OF THE RIGHT TO EXCLUDE.


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  1                    THE OTHER POINT I WANTED TO MAKE HERE IS THAT

  2   BECAUSE DIRECTV'S INFRINGEMENT HAS BEEN DETERMINED TO BE

  3   WILLFUL, ANY ONGOING PRACTICE OF THE PATENT BY DIRECTV SHOULD

  4   BE SUBJECT TO TREBLE DAMAGES. SO SHOULD THE COURT DECIDE TO

  5   ENTER A ROYALTY OR SOME OTHER COMPULSORY LICENSE GOING FORWARD,

  6   THE AMOUNT THAT DIRECTV SHOULD BE P YING UNDER THAT SHOULD TAKE

  7   INTO ACCOU T THE F C THAT THAT REALLY IS WILLFUL INFRINGEMENT

  8   AND TH T WE'RE LICENSING WILLFUL INFRINGEMENT.

  9                    THE COURT: THAT'S A NE T ARGUMENT, COUNSEL, BUT

10    AS A MATTER OF ALMOST LAW, ONCE A JURY H S FOUND INFRINGEMENT

11    IN A TRIAL, ANY FUTURE USE OF THE OF THE PATENT OR OF THE

12    INVENTION WOULD ALMOST I MEAN, AS MATTER OF LAW BE

13    WILLFUL. HOW COULD IT BE OTHERWISE? YOU KNOW FOR AN ABSOLUTE

14    FACT THAT YOU'RE INFRINGING, ND YOU DO IT ANYWAY.

15                     MR. ROBERTS: MY VERY POINT.

16                     THE COURT: YOU'RE GOING TO STAND UP AND S Y NO,

17    IT'S NOT WILLFUL. SO THAT WOULD APPLY IN EVERY CASE WHETHER

18    THE JURY FOUND ILLFULNESS IN THE PAST OR NOT. AND I'VE NEVER

19    SEEN A CASE THAT S ID: WELL, ALL FUTURE DAM GES SHOULD ALW YS

20    BE TREBLED BECAUSE THEY'RE ALWAYS WILLFUL. I MEAN, TH T

21    UNLESS YOU'VE GOT A CASE TO THAT EFFECT.

22                     MR. ROBERTS: WELL, I BELIEVE THERE ARE SOME

23    CASES IN THE BRIEF WHERE IT T LKED ABOUT IMPOSING DAMAGES FOR A

24    PERIOD DURING, SAY, STAY OF AN INJUNCTION AND WHERE THE COURT

25    ENHANCED THOSE DAMAGES BY FURTHER AMOUNT. I THINK THAT THE


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 1    F CTOR 50 PERCENT

 2                     THE COURT: WELL, IF YOU'RE             BECAUSE IT'S NOT

 3    EXACTLY A COMPULSORY LICENSE. IT'S A SHORT PERIOD OF TIME

  4   WHERE THEY'RE SAYING THERE SHOULDN'T BE AN INJUNCTION, WE WANT

 5    TIME FOR A STAY AND SO ON AND SO FORTH.

  6                    MR. ROBERTS: AND DURING MR. NAPPER'S

  7   EXAMINATION, I WENT BACK ND CHECKED THE COURT'S COMMENTS ON

  8   THE LAST DAY OF TRIAL AFTER THE JURY VERDICT C ME BACK. AND

  9   ONE OF THE COMMENTS THE COURT M DE WAS THAT THE PATENT HAS

10    NEVER BEEN USED AND THAT WE HAD UNCONVERTED TESTIMONY BY

11    DR. LEVINSON TO THAT EFFECT. AND I WOULD JUST MERELY POIN OUT

12    THAT IT WAS THAT VERY ARGUMENT THA THE SUPREME COUR REJECTED

13    IN EBAY AS PROVIDING A CATEGORICAL APPRO CH FOR DENYING N

14    INJUNCTION. AND IN FACT, THERE IS -- THE CONTINENTAL PAPER BAG

15    DECISION BY THE U.S. SUPREME COURT STANDS FOR THAT VERY

16    PROPOSITION. IT SAYS THE FEDERAL COURTS HAVE THE RIGHT TO

17    ENTER AN INJUNCTION, EVEN THOUGH THE PATENTEE AND I THINK

18    THE LANGUAGE IN THAT DECISION WAS UNREASONABLY FAILED TO

19    PRACTICE THE INVENTION. THE PROBLEM THAT WE'RE REALLY

20    FACING

21                     THE COURT: LET ME MAKE I VERY CLEAR FOR HE

22    RECORD, YES, YOU'RE CORRECT. BUT THAT'S ALWAYS BEEN THE LAW.

23    YOU CAN'T JUST PICK ONE OF THE FOUR FACTORS AND IMPOSE A

24    CATEGORICAL DECISION ON INJUNCTIONS AND NONINJUNC ION. BUT

25    JUST BECAUSE YOU CAN'T, THAT DOESN'T MEAN YOU SHOULDN'T


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  1   CONSIDER THAT F CTOR.

 2                     MR. ROBERTS: RIGHT. AND I'M JUST                  MY POINT

 3    IS WHEN YOU CONSIDER THAT FACTOR, BY NECESSITY COMES OUT IN

  4   FAVOR OF FINIS R. THE OTHER POINT THE COURT MADE IN THOSE

  5   COMMENTS WAS THAT THE DETRIMENT TO THE PUBLIC. AND HERE, OF

  6   COURSE, WE'RE NOT OPPOSING SOME SORT OF A PHASE OUT PERIOD IN

  7   ORDER TO ENABLE DIRECTV TO INTEGRATE DESIGN ALTERNATIVES. OF

  8   COURSE, AS I MENTIONED THERE'S ALWAYS THE POSSIBILITY OF THEM

  9   NEGOTIATING A LICENSE. THEY HAVE NOT MADE A CASE FOR THE

10    CRITICAL PUBLIC INTEREST, WHICH IS REALLY WHAT IS REQUIRED

11    UNDER THIS FACTOR.

12                     FINALLY, I WOULD NOTE THAT BECAUSE OF THE

13    SITUATION HERE WHERE WE'RE TRYING TO VALUE WHA HIS INJUNCTION

14    WOULD BE WORTH, WE'RE TRYING TO VALUE DAMAGES ONGOING, WE HAVE

15    THE ADDITIONAL PROBLEM THAT THERE ARE ISSUES WHERE FINISAR

16    WOULD HAVE A RIGHT TO A JURY TRIAL. JURY TRIAL FACT ISSUES

17    ABOUT DAMAGES ARE NECESSARILY GOING TO ARISE AND, IN FACT, I

18    BELIEVE THAT'S WHY JUDGE DAVIS IN THE Z4 CASE SEVERED POST

19    VERDICT DAMAGES. AND SO AGAIN WE SEE THE DIFFICULTY OF ONGOING

20    LITIGATION ARISING BY FAILURE TO ENTER THE INJUNCTION. THAT'S

21    ALL WE HAVE FOR NOW, YOUR HONOR.

22                     THE COURT: ALL RIGHT.

23                     MR. SAVIKAS: YOUR HONOR, E'RE GOING TO PRESEN

24    THE TESTIMONY OF RICH DONALDSON AND THEN THOMAS MCGEORGE, AND

25    THEN MR. CASTANIAS IS GOING TO MAKE THE ARGUMENTS


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 1                     THE COURT: ALL RIGHT.

 2                     MR. S VIK S:     IN RESPONSE TO FINISAR S CASE.

 3   SO I’D LIKE TO CALL MR. RICHARD DONALDSON TO THE STAND, PLEASE

 4                               RICHARD DON LDSON,

 5   HAVING BEEN FIRST DULY SWORN, TESTIFIED AS FOLLOWS:

 6                   IDIREC           EXAMINATION

 7   BY MR. SAVIKAS:

 8   Q. WOULD YOU STATE YOUR NAME FOR THE RECORD AGAIN, SIR.

 9   A. RICHARD DONALDSON.

10   Q. AND ARE YOU THE SAME RICHARD DONALDSON WHO TESTIFIED AT

11    TRIAL ON THE APPROPRIATE DAMAGE ANALYSIS?

12   A. YES, I AM.

13   Q. SINCE THE DATE OF YOUR TESTIMONY, HAS YOUR OPINION ON THE

14   CORRECT REASONABLE ROYALTY RATE CHANGED AT ALL?

15   A. NO, IT HAS NOT.

16   Q. AND WHY NOT?

17   A. BECAUSE I HADN'T SEEN ANYTHING NEW THAT WOULD CHANGE THE

18   ROYALTY STRUCTURE AS FAR AS WHAT WE'VE CALLED THE CONSUMER

19   ELECTRONICS ROYALTY MODEL.

20   Q. NOW, TO GIVE CREDENCE AND HONOR TO THE JURY VERDICT, DO

21   YOU HAVE AN OPINION AS TO THE APPROPRIATE WAY TO COMPUTE

22   D MAGES FROM THE DATE OF TRIAL TO THE EXPIRATION OF THE 505

23   PATENT SHOULD THE COURT GRANT A COMPULSORY LICENSE?

24   A. YES, I DO. I THINK BASICALLY TWO THINGS: FIRST, THE

25   ROYALTY STRUCTURE WHICH WE'VE TALKED ABOUT WHICH I TESTIFIED


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 1    ABOUT BEING HE CONSUMER ELECTRONICS MODEL, WHICH IS A FIXED

 2    FEE PER SET TOP BOX BASICALLY, I THINK THAT IS THE MODEL. IT

 3    APPEARS TO BE THE MODEL MOST CLOSELY ALIGNED ITH HAT THE JURY

 4    LIKELY DID, PLUS IT REPRESENTS OR IS CONSISTENT WITH INDUSTRY

 5    PRACTICE, WHICH I DISCUSSED IN MY PRIOR TESTIMONY. SO THE

  6   ROYALTY STRUCTURE IS ASSUMING THE ELECTRONICS MODEL IS CORRECT,

  7   AND ALSO LOOKING AT THE AMOUNT OF DAMAGES OR WHAT THE JURY

  8   DETERMINED TO BE A REASONABLE ROYALTY, I THINK IF YOU COMPUTE

  9   THAT IT COMES OUT TO $1.32 PER SET TOP BOX. AND I THINK IF

10    THAT WERE CONTINUED FORWARD, THAT WOULD GIVE RECOGNITION OF THE

11    MAGNITUDE OF A REASONABLE ROYALTY THAT THE JURY CONSIDERED.

12                     THE COURT: ALL RIGHT. LET ME                  LET ME ASK A

13    COUPLE OF QUESTIONS HERE. THERE SEEMS TO HAVE BEEN A

14    TREMENDOUS AMOUNT OF PROBLEM COMING UP WITH A TOTAL OF NUMBER

15    OF SET TOP BOXES. IN FACT, YOU YOURSELF EVEN THOUGH YOU WERE

16    THEIR EXPERT WEREN T GIVEN THE TOTAL NUMBER UNTIL JUST BEFORE

17    TRIAL. PLAINTIFFS EVEN OBJECTED TO THE LAST MINUTE CHANGE

18    WHERE I THINK YOU ALMOST CLOSE TO DOUBLED YOUR ESTIMATE. HOW

19    CAN I NO ENTER SOME KIND OF            JUDGMENT S YING          IT DOESN'T

20    MATTER WHAT IT IS, A DOLLAR, $2, $5 PER SET TOP BOX WHEN THEY

21    CAN'T TELL ME OR TELL ANYBODY ELSE HOW MANY SET TOP BOXES THEY

22    HAVE OR ARE INSTALLING?

23                      THE WITNESS: YOUR HONOR, I THINK THE NEXT

24    WITNESS WILL GO INTO MORE DETAIL, BUT WHAT HAS HAPPENED IS

25                      THE COURT: ALL RIGHT. IS YOUR NEXT WITNESS THE


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 1   ONE THAT'S GOING TO KNOW

 2                     MR. S VIK S: HE'LL KNOW ABOUT THE FUTURE, BUT

 3   MR. DON LDSON CAN EXPLAIN WHAT THE PROBLEM WAS IN THE

 4   CALCULATION.

 5                     THE COURT: WELL, I'M NOT WORRIED ABOUT THE PAST

 6   RIGHT NOW. THE JURY HAS DONE THAT. I'M WONDERING ABOU THE

 7   FUTURE AND THIS PROBLEM AS SUCH A BIG PROBLEM IN THE PAST,

 8   WHAT CONFIDENCE CAN I HAVE IT WON'T BE A BIG PROBLEM IN THE

 9   FUTURE.

10                     MR. SAVIKAS: ALL RIGHT.

11                     THE COURT: GO AHEAD. AND IF YOU'VE GOT ANOTHER

12    ITNESS WHO REALLY KNOWS THAT, THERE'S NO POINT IN WASTING I

13   MEAN, THIS WI NESS'S TIME ON THAT.

14                     THE WITNESS: I CAN JUST COMMENT VERY BRIEFLY,

15   AND THE WITNESS CAN GO INTO MORE DE AIL IS THAT DIRECTV HAS

16   CHANGED THE WAY THAT IT PURCHASES SET TOP BOX. IT HAS A DIRECT

17   RELATIONSHIP NOW WI H ALL THE SET TOP BOX MANUFACTURERS WHERE

18   IT BUYS THE COMPLETE OUTPUT FOR DIRECTV USE. AND BECAUSE OF

19   THAT, THEY NOW HAVE COMPLETE CONTROL OVER THE SET TOP BOXES,

20   AND IT'S A VERY EASY STRAIGHTFORWARD CALCULATION. THEY KEEP

21   TRACK OF THIS, AND THE NUMBERS ARE VERY READILY AVAILABLE.

22                     THE COURT: ALL RIGHT.

23   Q. (BY MR. SAVIKAS) THIS $1.32 PER SET TOP BOX, HOW DOES

24   THAT COMPARE WITH THE RANGE OF ROYALTIES THAT YOU TESTIFIED

25   ABOUT AT TRIAL?



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 1   A. WELL, IT F LLS WITHIN A CLUSTER. I CONSIDERED A NUMBER OF

 2   THINGS LOOKING AT RELEV NT LICENSES AT OR ABOUT THE TIME OF THE

 3   HYPOTHETICAL NEGOTIATIONS. ND THEY R NGE FROM LIKE TEN CENTS

 4   TO 12 CENTS PER SET TOP BOX PER UNIT UP TO, YOU KNOW, THE IMPEG

 5   LICENSES WHICH WERE 2.50 TO $4. ND THEY WERE $4 AND THEN THEY

 6   DECRE SED TO 2.50. THEN SOME OF THE ST RSIGHT LICENSES FOR SET

 7   TOP BOXES WERE IN THE R GE OF 3.50 TO 5.50.

 8                     THE COURT: HOLD ON.

 9   A. $1.32 --


10                     THE COURT: HOLD ON. HOLD ON. YOU SAID

11   STARSIGHT?

12                     THE WITNESS: STARSIGHT, YES.

13                     THE COURT: ND REFRESH MY MEMORY HOW

14   STARSIGHT ISN'T THAT TECHNOLOGY LICENSED BY DIRECT ?

15                     THE WITNESS: IT'S LICENSES WERE WITH HUGHES

16   NET ORK SYSTEM, ONE OF THE OTHER DEFENDANTS.

17                     THE COURT: ND WHAT WAS THE RANGE OF THAT?

18                     THE WITNESS: IT WENT FROM 3.50 TO 5.50 PER SET

19   TOP BOX; ND ST RSIGHT HAD, I THINK, SEVEN PATENTS THAT RELATED

20   TO ELECTRONIC PROGR GUIDES.

21                     THE COURT: ALL RIGHT. GO AHEAD.

22   Q. (BY MR. SAVIKAS) ARE YOU AW RE OF NY LICENSE IN THE

23   SATELLITE TELEVISION BUSINESS THAT IS BASED ON A PERCENTAGE OF

24   GROSS REVENUE?

25   A. NO, SIR, I AM NOT.



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  1   Q. AND AS A PARADIGM FOR GOING FORWARD, WOULD IT BE

 2    REASON BLE TO HAVE THE COURT I'M NOT HAVE THE COMPULSORY

 3    LICENSE BASED ON A PERCENTAGE OF GROSS REVENUE?

  4   A. NO, I DON'T THINK IT WOULD BE BECAUSE INDUSTRY PRACTICE

  5   DOESN'T REFLECT THAT. I MEAN, IT'S            SO I THINK IT WOULD NOT

  6   BE APPROPRIATE.

  7   Q. ARE YOU IN AGREEMENT WITH MR. NAPPER'S OPINION THAT IT

  8   WOULD NOW BE PROPER TO HAVE THE COURT CONDUCT THE NEW

  9   HYPOTHETICAL NEGOTIATION AS OF JUNE 2006?

10    A. NO, I'M NOT.

11    Q. WHY NOT?

12    A. WELL, FOR    FOR A NUMBER OF REASONS. FIRST OF ALL, ALL

13    THE   WHAT I THINK THE RELEVANT ISSUES WERE, IF YOU LOOK AT

14    WERE CONSIDERED AT THE ORIGINAL, WERE CONSIDERED IN MY NALYSIS

15    AND ALSO IN MR. NAPPER'S ANALYSIS, WILL YOU CONSIDER WERE THE

16    HYPOTHETICAL NEGOTIATIONS, THE PATENTS VALID, PATENTS

17    INFRINGED? YOU LOOK AT WHETHER THE LICENSE IS EXCLUSIVE OR

18    NONEXCLUSIVE. YOU LOOK AT THE LIFE OF THE PATENT. YOU LOOK AT

19    THE IMPORTANCE OF THE TECHNOLOGY. AND YOU LOOK AT ALL THESE

20    THINGS AND DETERMINE WHAT IS A REASONABLE ROYALTY FOR THE LIFE

21    OF THE PATENT IF THE PARTIES ACTUALLY SIT DOWN AND NEGOTIATED.

22    NONE OF THAT HAS CHANGED, SO I DON'T THI K YOU NEED I DON'T

23    SEE WHAT WOULD BE ADDED BY A NEW HYPOTHETICAL NEGOTIATIONS.

24    AND THE DIFFICULTY WITH NE HYPOTHETICAL NEGOTIATIONS, IF YOU

25    DID IT IN 2006, YOU KNOW, ONE OF THE GROUND RULES FOR


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 1    HYPOTHETICAL NEGOTIATIONS IS THAT BB4 INFRINGEMENT COMMENCES.

 2    THAT'S TO DO AWAY WITH THIS DISTORTION OF WHAT A FAIR VALUE FOR

 3    THE PATENT WOULD BE BECAUSE OF THE THREAT OF LITIGATION. AND

 4    THAT'S EXACTLY WHAT WOULD HAPPEN IF YOU H D NEW HYPOTHETICAL

 5    NEGOTIATIONS NOW.

  6   Q. DO YOU AGREE THAT FINISAR'S BILITY, AS THEY SAY IN THEIR

 7    BRIEF, TO GRANT EXCLUSI E LICENSES WOULD BE DESTROYED IF THE

 8    COURT DOES NOT ORDER AN INJUNCTION?

  9   A. NOT AT ALL.

10    Q. AND WHY NOT, SIR?

11    A. BECAUSE IT'S VERY COMMON IN LICENSING -- AND I'VE BEEN

12    ENGAGED IN A NUMBER OF LICENSES WHERE THERE IS A PREEXISTING

13    LICENSE AND A COMPANY NOW A PATENT OWNER NOW CHOOSES IT

14    CHOOSES TO LICENSE IT AND WILL GRANT AN EXCLUSIVE LICENSE TO

15    SOMEONE ELSE SUBJECT TO THE EXISTING LICENSE. SO, FOR EXAMPLE,

16    FINISAR COULD GRANT AN EXCLUSIVE LICENSE TO STARSIGHT SATELLITE

17    OR SIRIUS SATELLITE FOR RADIO SATELLITE BROADCASTING SUBJECT TO

18    WHATEVER RIGHTS DIRECTV MIGHT HAVE. BUT IT DOESN'T -- THAT

19    DOES NOT DESTROY YOUR RIGHT TO GRANT SUBSEQUENT EXCLUSIVE

20    LICENSES. IT JUST HAS TO SUBJECT TO.

21    Q. HAVE YOU EVER BEEN INVOLVED IN A COURT CASE IN WHICH YOU

22    TESTIFIED AS TO A LUMP SUM ROYALTY FOR THE ENTIRE LIFE OF THE

23    PATENT WHICH WAS THEN ALLOCATED BY THE COURT?

24    A. WELL, YES, THE UNDER APPROPRIATE CIRCUMSTANCES, YOU MAY

25    COME UP WITH A LUMP SUM. IN A HYPOTHETICAL NEGOTIATION, YOU


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 1   M Y DETERMINE TH T A REASONABLE ROYALTY IS A LUMP SUM FOR THE

 2   LIFE OF THE PATENT. AND THEN TO IT IS NECESSARY TO ALLOCATE

 3   THAT LUMP SUM BACK TO THE DATE OF THE TRIAL. AND I VE DONE

 4   THAT ON MORE THAN ONE OCCASION, AND THAT WAS THE APPROPRIATE

 5   ANALYSIS.

 6   Q. OKAY. DO YOU AGREE WITH FINISAR'S POSITION AS STATED IN

 7   THEIR BRIEF THAT THEY WOULD NOT BE ABLE TO SELL ITS PATENT

 8   UNLESS THE COURT ORDERS AN INJUNCTION?

 9   A. NO, I DON'T SEE HOW THAT CHANGES AT ALL. THEY COULD

10   THEY COULD SELL IT TO ANYONE WHO MIGHT HAVE WANT TO BUY IT. IT

11   WOULD STILL BE SUBJECT TO WHATEVER ENCUMBRANCES THERE ARE,

12   WHICH MIGHT BE A LICENSE TO DIRECTV. BUT THEY COULD STILL SELL

13   IT.


14   Q. DO YOU AGREE THAT ANY COURT ORDERED ROYALTY WOULD HAVE AN

15   IMPACT ON FINISAR'S LICENSING EFFORTS?

16   A. YES. IT WILL HAVE AN EFFECT. IT'S GOT TO HAVE AN EFFECT.

17   THE VERY FACT WHETHER THERE'S A COMPULSORY LICENSE OR NOT,

18   THE VERY FACT THAT THE JURY DECIDED WHAT A REASONABLE ROYALTY

19   WOULD BE, AND THAT'S PUBLIC INFORMATION, THAT'S GOING TO HAVE

20   AN EFFECT ON WHAT HAPPENS IN THE FUTURE. I ME N, THAT'S THE

21   WAY IT IS IN REAL LIFE.

22   Q. YOU HEARD MR. NAPPER TESTIFY ABOUT THE GEM STAR LICENSE.

23   DOES THE GEM STAR LICENSE COMPORT WITH YOUR TESTIMONY ABOUT THE

24   INDUSTRY'S STANDARD IN THIS CASE?

25   A. NOT REALLY. I THINK GEM ST R IS SOMEWHAT OF AN ANOMALY


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 1    FOR A NUMBER OF REASONS.

 2   Q. WHAT RE THE REASONS?

 3   A. WELL, ONE THING, IT'S NOT A PATENT ONLY LICENSE. THERE

 4   ARE OTHER OTHER RIGHTS THAT ARE INCLUDED IN THE GEM STAR,

 5   SOME SERVICES, SOME RIGHTS TO DATA, TRADEM RKS, THINGS OF THAT

 6   NATURE. NOTHER THING IS THE GEM STAR PATENT PORTFOLIO IS A

 7   COMBINATION OF THREE P TENT PORTFOLIOS. YOU HAVE GEM STAR, YOU

 8   HAVE TV GUIDE, AND YOU HAVE STARSIGHT. GEM STAR PURCHASED TV

 9   GUIDE AND STARSIGHT. D ALL OF THOSE PATENTS TOGETHER,

10   THERE'S OVER 200 PATENTS THAT DIRECTLY RELATE TO ELECTRONIC

11   PROGRAM GUIDES. SO JUST A NUMBER OF PATENTS ND THE FACT THAT

12   THREE PATENT PORTFOLIOS WERE INVOLVED. ALSO, AT THE TIME OF

13   THE GEM STAR LICENSE, YOU KNOW, GEM STAR ND DIRECTV WERE

14   BASICALLY SISTER COMPANIES. NEWS CORP OWNED 80 PERCENT OF GEM

15   STAR AND THEN PURCHASED DIRECTV, SO THAT CERTAINLY FIGURED IN

16   THE OVERALL LICENSING STRUCTURE.

17   Q. IS IT STILL YOUR OPINION THAT THE APPROPRIATE MODEL IN THE

18   SATELLITE INDUSTRY AND CONSUMER ELECTRONICS INDUSTRY IS A PER

19   SET TOP BOX MODEL?

20   A. YES, SIR, IT IS.

21   Q. DOES THE IMPEG ARRANGEMENT CONTINUE TO REPRESENT THE

22   INDUSTRY PRACTICE?

23   A. YES, IT IS A VERY GOOD EX MPLE.

24   Q. ND IS YOUR NALYSIS BASED ONLY THE IMPEG LICENSE?

25   A. NO. THERE ARE THERE ARE OTHER LICENSING ARRANGEMENTS


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 1   TH T, YOU KNOW, I THINK I DISCUSSED IN MY TESTIMONY. LIKE

 2   DOLBY, LIKE ST RSIGHT, LIKE THOMPSON AND HNS, SET TOP BOX

 3   LICENSE AGREEMENTS, THINGS OF THIS NATURE.

 4   Q. OKAY. AND FINALLY WITH RESPECT TO YOUR DAMAGE REPORT

 5   WHERE WE HAD SOME DIFFICULTY, WAS THAT DIFFICULTY CAUSED BY

 6   TRYING TO ASCERTAIN HOW MANY SET TOP BOXES HAD BEEN ACTIVATED

 7   IN THE PAST?

 8   A. YES. THAT WAS THE        THAT WAS THE DIFFICULTY.

 9   Q. OKAY.

10                     MR. SAVIK S: NOTHING FURTHER. THANK YOU.

11                     THE COURT: LET ME DO YOU RECALL THE RANGE

12   FOR THE DOLBY SET OF PATENTS?

13                     THE WITNESS: YES, SIR. IT WENT FROM 12 CENTS

14   PER UNIT UP TO $1.65, AND IT WAS BASED ON VOLUME. THE 12 CENTS

15   WAS I FORGET HOW MANY, MAYBE OVER THREE MILLION UNITS. YOU

16   GOT A VOLUME DISCOUNT THEN, THAT WENT ALL THE WAY DOWN TO 12

17   CENTS.

18                     THE COURT: AND YOU SAID THE THOMPSON?

19                     THE WITNESS: THOMPSON, I BELIEVE, WAS $2.50 A

20   SET TOP BOX AT THAT TIME.

21                     THE COURT: GEM STAR, AS I UNDERSTAND, IS THAT

22   THE 20 CENTS PER SUBSCRIBER PER MONTH?

23                     THE WITNESS: THAT IS CORRECT; YES, SIR.

24                     THE COURT: ALL RIGHT. THANK YOU. DO YOU HAVE

25   ANY QUESTIONS?


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 1                     MR. VEDERK : I DO, YOUR HONOR.

 2                     CROSS EXAMINATION

 3   BY MR. VEVERKA:

 4   Q. GOOD AFTERNOON, MR.            WELL, I GUESS IT'S STILL MORNING,

 5   MR. DONALDSON.

 6   A. GOOD MORNING.

 7   Q. AGAIN, THIS IS C. J. VEVERKA ON BEHALF OF FINISAR.

 8   MR. DONALDSON, IS IT YOUR UNDERSTANDING THAT DIRECTV HAS

 9   SEVERAL NON-INFRINGING ALTERNATIVES IT COULD QUICKLY PUT INTO

10   PLACE IF IT WANTED TO OR NEEDED TO?

11   A. MY ANALYSIS AT THE TIME OF HYPOTHETICAL NEGOTIATIONS IN

12   1995, AND IN 1995 THEY CERTAINLY DID. I HAVE NOT ANALYZED WHAT

13   WOULD HAPPEN TODAY.

14   Q. SO YOU     YOU CA 'T TESTIFY ONE WAY OR THE OTHER IF THERE

15   EXISTS SUBST NTIAL NON-INFRINGING ALTERNATIVES TO DIRECTV

16   TODAY?

17   A. I HAVE NOT ANALYZED THAT; NO, SIR.

18   Q. I BELIEVE YOU TESTIFIED THAT THE             WELL, LET ME ASK YOU

19   THIS QUESTION: YOU HAVE NOT CONTACTED A YONE FROM THE JURY,

20   HAVE YOU?

21   A. NO, SIR.

22   Q. AND YOU'RE NOT AWARE OF ANYONE FROM DIRECTV OR DIRECTV S

23   COUNSEL CONTACTING ANYONE FROM THE JURY?

24   A. NO, SIR.

25   Q. AND SO YOU REALLY DON'T KNOW WHAT METHODOLOGY THAT THE


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 1   JURY USED IN DETERMINING ITS ROYALTY ITS D M GE AMOUNT,

 2   COR ECT?

 3   A. I CA OT KNOW PRECISELY.

 4   Q. AND YOU ALSO DON'T KNOW THAT            THAT MEANS YOU DON'T KNOW

 5   THAT THE JURY ADOPTED YOUR PER SET TOP BOX METHODOLOGY; ISN'T

 6   THAT ALSO CORRECT?

 7   A. I DO NOT KNOW THAT FOR ABSOLUTE CERTAINTY; IT'S CERTAINLY

 8   LIKELY.

 9   Q. YOU BELIEVE IT'S CERTAINLY LIKELY. YOU'RE BASING THAT ON

10   YOUR SPECULATION, THOUGH, BECAUSE YOU DON'T KNOW WHAT HAPPENED

11   IN THIS JURY ROOM; IS THAT CORRECT?

12   A. NO. WHAT I M BASING IT ON IS THE CLUSTER OF ROYALTY RATES

13   I TALKED ABOUT AND THE $1.32 FALLING RIGHT IN THE MIDDLE OF

14   THAT MAKES IT HIGHLY LIKELY THAT THEY USED THAT APPROACH.

15   Q. YOU'RE SAYING YOU HAVE A GUESS, BUT IT'S EDUCATED?

16   A. I THINK IT'S EDUCATED; YES, SIR.

17   Q. BUT IT'S STILL A GUESS, ISN'T IT?

18   A. I'M NOT GOING TO ARGUE ABOUT SEMANTICS.

19   Q. NOW YOU ARGUED ABOUT A CLUSTER OF RANGES FOR SET TOP BOX

20   AGREEMENTS THAT YOU THAT YOU CONSIDERED OR TESTIFIED ABOUT.

21   I BELIEVE THAT YOU STATED THERE WAS A RANGE OF TEN CENTS TO

22   $2.50; IS THAT RIGHT?

23   A. UP TO $5.50.

24   Q. UP TO $5.50. BUT IT WASN'T YOUR              YOU TESTIFIED TO THE

25   JURY THAT THE APPROPRIATE AMOUNT WOULD BE 30 SOME CENTS PER SET


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 1   TOP BOX, DIDN T YOU?

 2   A. TH T IS CORRECT; YES, SIR.

 3   Q. YOU DIDN'T TELL THE JURY I BELIEVE THAT YOU SHOULD

 4   CONSIDER THIS R NGE OF TEN CENTS TO $5 PER SET TOP BOX AND

 5   FIGURE OUT CALCULATION OF DAM GES WITHIN THAT RANGE ON YOUR

 6   OWN, DID YOU?

 7   A. NO. I TESTIFIED TO THE JURY THE DIFFERENT RATES AND SAID

 8   IT WAS MY CONCLUSION IT SHOULD BE 30 CENTS.

 9   Q. RIGHT. SO YOU DIDN'T GIVE THE JURY A RANGE OF SET TOP

10   BOX LUMP SUM PER SET TOP BOX AMOUNTS TO CHOOSE FROM; YOU

11   TOLD THEM WHAT YOU THOUGHT THE RANGE WHAT THE PRECISE NUMBER

12   SHOULD HAVE BEEN?

13   A. YES. BECAUSE IN THE R NGE THAT I LOOKED AT, YOU THEN HAVE

14   TO LOOK AT THE GEORGIA PACIFIC FACTORS, THE AVAIL BILITY OF

15   NONINFRINGING ALTERNATIVES TO ADJUST THAT RANGE, D I DID ALL

16   THAT ANALYSIS AND DETERMINED IT WOULD BE 30 CENTS.

17   Q. I JUST WANT CL RIFY THAT YOU DIDN'T PROPOSE TH T RANGE TO

18   THE JURY FOR THEM TO USE THEMSELVES TO MAKE THEIR OWN

19   CALCULATION?

20   A. NO. I DID DISCUSS THE DIFFERENT ROYALTY RATES, HOWEVER.

21   Q. NOW AT TRIAL, MR. DON LDSON, I BELIEVE YOU ACKNOWLEDGED

22   THAT SOME OF THE AGREEMENTS YOU CONSIDERED IN M KING YOUR

23   CALCULATIONS WERE ENTERED INTO BY DIRECTV AND SOME OTHERS LIKE

24   HUGHES NETWORK SYSTEM; ISN'T THAT CORRECT?

25   A. THAT IS CORRECT.



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 1   Q. AND, FOR EXAMPLE, ONE OF THE GREEMENTS ENTERED INTO BY

 2   DIRECTV WAS THE M CROVISION AGREEMENT; ISN'T THAT ALSO CORRECT?

 3   A. THAT IS CORRECT.

 4   Q. ND THAT AGREEMENT WAS NOT ENTERED INTO BY HUGHES NETWORK

 5   SYSTEMS?

 6   A. THAT IS ALSO CORRECT.

 7   Q. AND I BELIEVE THAT YOU ALSO CHARACTERIZED THE MACROVISION

 8   AGREEMENT AS INCLUDING A RU NING ROYALTY STRUCTURE; THAT'S

 9   CORRECT, ISN T IT?

10   A. YES. THAT'S CORRECT.

11   Q. NOW, ANOTHER AGREEMENT THAT YOU HIGHLIGHTED WE'VE TALKED

12   ABOUT IT TODAY WAS THE IMPEG AGREEMENT.

13                     THE COURT: A D WHAT WAS THE MACROVISION RUNNING

14   ROYALTY AGREEMENT RATE? I'M SURE YOU'RE GOING TO FOLLOW UP,

15   COUNSEL, BUT I D LIKE TO WRITE IT DOWN NOW.

16                     THE WITNESS: IT'S       THEY HAVE THREE DIFFERENT

17   RANGES DEPENDING UPON WHETHER ITS CONTENTS PROTECTION FOR PAY

18   PER VIEW AND IT WAS JUST BASIC, IT WAS 0.75 PERCENT OF WHAT

19   DIRECTV CHARGED TO A CUSTOMER FOR THAT PAY PER VIEW EVENT.

20   THEY WERE

21                     THE COURT: ZERO WHAT?

22                     THE WITNESS: 0.75 PERCENT, SO LESS THAN ONE

23   PERCENT. SO, IF THEY PAID $3, IT WOULD BE LESS THAN ONE

24   PERCENT OF THE $3 WOULD BE THE ROYALTY RATE. AND THEN THEY HAD

25   TWO OTHER THREE OTHER CATEGORIES, TWO OF THEM THE SAME.


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 1    THEY HAD N EARLY VIEW WINDOW, SOMETHING TO THAT EFFECT, WHERE

 2    YOU GOT AN EARLY RELEASE OF A MOVIE. THEN THE RATE WOULD BE, I

 3    BELIEVE, IT WAS ONE PERCENT OF WHAT THE CUSTOMER P ID OR THREE

 4    PERCENT OF ROUGHLY THE GROSS PROFITS. IT WAS WHAT THE CUSTOMER

 5    PAID, SUBTRACT WHAT DIRECTV HAD TO PAY TO GET THAT PROGRAMMING.

  6   AND THEN IT WOULD BE LIKE THREE PERCENT OF THAT; OR FOR REAL,

 7    REAL EARLY REVIEW, IT WOULD BE FOUR PERCENT OF THAT BASICALLY

 8    GROSS PROFIT.

 9                      THE COURT: I RECALL THE TESTIMONY NOW. GO

10    AHEAD.

11    Q. (BY MR. VEVERKA) NOW WITH RESPECT TO THE IMPEG AGREEMENT,

12    THAT WAS ENTERED INTO BY HUGHES NETWORK SYSTEMS, CORRECT?

13    A. THAT IS CORREC .

14    Q. I BELIEVE YOU TESTIFIED THAT DIRECTV DID NOT ENTER INTO

15    THAT AGREEMENT?

16    A. THAT IS CORRECT.

17    Q. AND I BELIEVE THAT YOU WENT ON RECORD BOTH AT TRIAL AND IN

18    YOUR DAMAGE REPORT ARTICULATING THAT BOTH DIRECTV D HUGHES

19    NETWORK SYSTEMS HAS ENTIRELY DIFFERENT BUSINESS MODELS?

20    A. THEY HAD DIFFERENT BUSINESS MODELS.

21    Q. HUGHES NETWORK SYSTEMS BEING A HARDWARE MANUFACTURER,

22    CORRECT?

23    A. THAT WOULD BE ONE OF THE DIFFERENCES, YES.

24    Q. MR. DONALDSON, YOU'RE FAMILIAR WITH THE 25 PERCENT RULE OR

25    THE RULE OF THUMB METHODOLOGY COMMONLY USED IN PATENT D MAGES


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 1   CALCULATIONS, AREN'T YOU?

 2   A. I'M AWARE OF THE 25 PERCENT RULE. HOW COMMONLY IT'S USED

 3   IS UP IN THE AIR.

 4   Q. I BELIEVE IN YOUR EXPERT REPORT YOU DESCRIBED IT AS A RULE

 5   OR METHODOLOGY COMMONLY USED?

 6   A. OKAY.

 7   Q. YOU WOULD AGREE WITH THAT? THAT'S FAIR?

 8   A. THAT'S FAIR.

 9   Q. OKAY. AND YOU ALSO STATED IN YOUR EXPERT REPORT THAT THE

10   RULE OR METHODOLOGY IS MOST PROPERLY APPLIED TO PROFIT FROM

11   OPERATIONS, PARTICULARLY IN HIGH TECH INDUSTRIES, SUCH AS DBS;

12   IS THAT ALSO CORRECT?

13   A. I BELIEVE SO.

14   Q. AND WHEN YOU S Y PROFITS OF OPERATIONS, YOU ME N

15   OPERATION THAT'S CALLED OPERATING PROFITS; IT S NOTHER WAY

16   OF SAYING OPERATING PROFITS, ISN'T IT?

17   A. IT IS.

18   Q. WH T IS YOUR UNDERSTANDING THE DIFFERENCE BETWEEN

19   OPERATING PROFITS AND, SAY, OTHER TYPES OF PROFITS?

20   A. WELL, THERE'S A NUMBER OF MEASURES. THE MOST COMMON WOULD

21   BE GROSS PROFITS WHICH IS JUST REVENUES BASICALLY REVENUES

22   MINUS COST OF GOODS. THEN YOU HAVE PROFIT FROM OPERATIONS,

23   WHICH DEDUCTS ADDITIONAL EXPENSES, OVERHEAD, R&D, THINGS OF

24   THAT NATURE. THEN YOU HAVE NET PROFIT, WHICH IS STILL A

25   FURTHER YOU HAVE NET PROFIT BEFORE TAX, NET PROFIT AFTER


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 1   TAX, SO THE VARIOUS MEASURES.

 2   Q. OKAY. AND UNDER THE          UNDER THE 25 PERCENT RULE OR THE

 3   RULE OF THUMB, A LICENSEE P YS 25 PERCENT OF ITS OPER TION L

 4   PROFITS TO THE PATENTEE, CORRECT?

 5   A. WELL, THAT'S NOT HAT THE 25 PERCENT RULE S YS. IT'S A

 6   TOOL HAT YOU MIGHT USE S A STARTING POINT. IT DOESN'T SAY

 7   DIRECTLY YOU APPLY THE 25 PERCENT RULE, AND THAT'S IT. IT'S A

 8   STARTING POINT. IT'S A TOOL. BUT I DOES RELATE TO PROFIT

 9   FROM OPER TIONS AS THE BEST MEASURE.

10   Q. 25 PERCENT AND OPERATIONAL PROFITS IS HE STARTING POINT

11   UNDER THAT RULE, CORRECT?

12   A. THAT IS   THA 'S THE MOST COMMONLY USED.

13   Q. AND THA      AND TH T IS BASED ON REVENUE; THAT'S NOT ON A

14   LUMP SUM BASIS, CORRECT, WHEN YOU'RE TALKING IN TERMS OF

15   OPERATION L PROFIT?

16   A. IT'S BASED UPON THE AMOUNT OF OPERATIONAL PROFIT.

17   Q. OKAY. ARE YOU AWARE THAT DIRECTV FORECASTS OPERATING

18   PROFIT FOR 2006 TO 2012 RANGING FROM 5.3 PERCENT TO 11.7

19   PERCENT?

20   A. I THINK THAT MIGHT BE CORRECT IN ONE OF THE FORECASTS.

21   Q. OKAY.

22                     THE COURT: WHAT WERE THOSE NUMBERS AGAIN?

23                     MR. VEVERK : FROM 2006 TO 2012 OPER TING

24   PROFITS ARE FORECAST AS RANGING FROM 5.3 PERCENT TO 11.7

25   PERCENT.



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 1                     THANK YOU, MR. DONALDSON. THAT'S ALL THE

 2   QUESTIONS I HAVE.

 3                     MR. SAVIKAS: JUST ONE OR TWO QUESTIONS, YOUR

 4   HONOR.

 5                 REDIRECT EXAMINATION

 6   BY MR. SAVIKAS:

 7   Q. MR. DONALDSON, MR. VEVERKA ASKED YOU ABOUT THE

 8   IMPEG-DIRECTV RELATIONSHIP. UNDER THIS NEW PARADIGM WHERE

 9   DIRECTV BUYS ALL OF THE OUTPUT FROM THE BOX M NUFACTURERS, HOW

10   IS THE LICENSING IN INTELLECTUAL PROPERTY HANDLED?

11   A. DIRECTV SPECIFIES TO THE SET TOP MANUFACTURERS THOMPSON,

12   SONY, WHOMEVER THEY ARE, WHAT THAT SET TOP BOX HAS TO INCLUDE,

13   THE SPECIFICATION. THEY ALSO SPECIFY THAT THEY WILL OBTAIN THE

14   LICENSES NECESSARY TO OPERATE, INCLUDING IMPEG, DOLBY, THINGS

15   OF THIS NATURE. AND THOSE THE COST OF THOSE LICENSES ARE

16   ARE PART OF THE BILL AND MATERIALS FOR THOSE SET TOP BOXES THAT

17   DIRECTV THEN PAYS FOR. SO DIRECTV DIRECTS THEM TO OBTAIN THOSE

18   LICENSES ON THAT BEHALF OF DIRECTV, AND THEN THEY PAY THE SET

19   TOP BOX. THEY REIMBURSE THEM FOR THEM BASICALLY.

20                     MR. SAVIKAS: ALL RIGHT. THANK YOU, SIR.

21   NOTHING FURTHER.

22                     THE COURT: ANYTHING FURTHER? ALL RIGHT. YOU

23   MAY STEP DOWN.

24                     THE WITNESS: THANK YOU.

25                     MR. SAVIKAS: WE CALL THOMAS MCGEORGE.



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 1                                THOMAS MCGEORGE,

 2   HAVING BEEN FIRST DULY SWORN, TESTIFIED S FOLLOWS:

 3                  REDIRECT EXAMINATION

 4   BY MR. SAVIKAS:

 5   Q. WOULD YOU STATE YOUR FULL N ME FOR THE RECORD, SIR.

 6   A. MY NAME IS THOMAS MCGEORGE.

 7   Q. AND ARE YOU EMPLOYED BY DIRECTV, INC.?

 8   A. YES, I AM.

 9   Q. AND WHAT IS YOUR CURRENT TITLE?

10   A. I'M CURRENTLY VICE PRESIDENT OF SUPPLY CHAIN MANAGEMENT

11   FOR DIRECTV.

12   Q. AND WHAT ARE YOUR PRESENT RESPONSIBILITIES?

13   A. MY PRESENT RESPONSIBILITY IS TO PLAN AND PURCHASE FOR

14   DIRECTV ALL THEIR EQUIPMENT NEEDS.

15   Q. AS OF TODAY, WOULD YOU DESCRIBE HOW DIRECTV BUYS AND

16   DISTRIBUTES ITS SET TOP BOXES?

17   A. SURE. WE PURCHASE EQUIPMENT FROM SET TOP BOXES FROM SEVEN

18   TO EIGHT DIFFERENT MANUFACTURERS DIRECTLY. THEY M NUFACTURE

19   AND SELL DIRECTV BRANDED BOXES TO US. WE MOVE THOSE BOXES INTO

20   OUR WAREHOUSING SYSTEM. AND THEN SUBSEQUENTLY WE REDISTRIBUTE

21   THOSE BOXES TO OUR INSTALLERS FOR CUSTOMER INST lLLATION .

22   Q. DO THE MANUFACTURERS SELL THEIR DIRECTV BOXES TO ANYBODY

23   ELSE?

24   A. NO, THEY DON'T. THEY'RE EXCLUSIVE TO US.

25   Q. IF I WERE TO GO TO BEST BUY OR CIRCUIT CITY AND BUY A


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 1   DIRECTV BOX, WHERE WOULD THAT BOX COME FROM?

 2   A. THAT BOX WOULD COME THROUGH THE SUPPLY CHAIN ORGANIZATION

 3   AT DIRECTV. WE WOULD DISTRIBUTE THAT BOX FROM OUR WAREHOUSE TO

 4   A BEST BUY OR CIRCUIT CITY.

 5   Q. HOW MANY WAREHOUSES DO YOU HAVE?

 6   A. WE CURRENTLY HAVE THREE WAREHOUSES.

 7   Q. AND DO THE SET TOP BOX MANUFACTURERS EVER DROP SHIP ANY

 8   DIRECTV BOXES?

 9   A. 95 PERCENT OF THE BOXES THAT WE BUY COME THROUGH OUR

10   WAREHOUSING SYSTEM. FIVE PERCENT ROUGHLY FIVE PERCENT OF

11   THE BOXES GO DIRECT FROM THE MANUFACTURER TO OUR CUSTOMER.

12   ELECTRONICALLY WE HANDLE THAT TRANSACTION THROUGH OUR

13   WAREHOUSE. WE JUST DON'T PHYSICALLY HANDLE THE SET TOP BOX

14   MOVING THROUGH OUR WAREHOUSE.

15   Q. NOW, HOW LONG HAS DIRECTV HAD IN PLACE THIS METHOD OF

16   PURCHASING ITS BOXES?

17   A. WE TOOK OVER FULL FULFILLMENT, FULL ACQUISITION AND

18   DISTRIBUTION EARLY 2005.

19   Q. AND BEFORE THAT DATE, HOW WERE THE SET TOP BOXES

20   DISTRIBUTED?

21   A. ROUGHLY BEFORE 2005 ROUGHLY 20 TO 30 PERCENT OF THE SET

22   TOP BOXES WERE PURCHASED BY DIRECTV AND REDISTRIBUTED BY

23   DIRECTV. THE OTHER 70 TO 80 PERCENT WERE MANUFACTURED BY THE

24   MANUFACTURERS, AND THEY HANDLED THE RELATIONSHIP WITH THE

25   CUSTOMER, BOTH FROM DISTRIBUTING THE EQUIPMENT AS WELL AS


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  1   TAKING CALLS IF THEY HAD A PIECE IF THEY HAD A PROBLEM WITH

  2   THE EQUIPMENT.

  3   Q. AND THAT SYSTEM IS TOTALLY CHANGED TODAY?

  4    . TH T S CORRECT.

  5   Q. WHAT KIND OF MANAGEMENT OR INVENTORY SYSTEM DO YOU EMPLOY?

  6   A. WE USE A      SAP SYSTEM, R3, THEY CALL IT. IT'S AN

  7   INVENTORY TRACKING SYSTEM. WE USE THAT SYSTEM AS OUR INVENTORY

  8   OF RECORD.

  9   Q. AND DOES IT KEEP TRACK OF ALL OF YOUR INVENTORY HETHER IT

10    COMES DIRECTLY TO YOU OR IS DROP SHIPPED?

11     . ALL INVENTORY THAT WE MANAGE BOTH WITHIN OUR WAREHOUSE AS

12    WELL AS DROP SHIP IS ANAGED THROUGH OUR SAP R3 SYSTEM.

13    Q. IF THE COURT WERE TO REQUIRE DIRECTV TO PROVIDE FINISAR

14    AND THIS COURT WITH MONTHLY OR QUARTERLY REPORTS OF ALL SET TOP

15    BOXES SHIPPED BY DIRECTV OR DROP SHIPPED BY MANUFACTURERS,

16    COULD YOU PROVIDE SUCH REPORTS?

17    A. YES, WE COULD.

18    Q. AND COULD YOU PROVIDE SUCH REPORTS QUICKLY?

19    A. YES, WE COULD.

20    Q. AND WOULD THOSE REPORTS BE ACCURATE?

21    A. YES, THEY WOULD BE.

22    Q. WHY DO YOU SAY THEY WOULD BE ACCURATE?

23    A. WELL, WE TAKE A LOT OF        WE PAY A LOT OF ATTENTION TO THE

24    INTEGRITY OF THE INFORMATION AND OUR INVENTORY SYSTEM. WE

25    ACTUALLY COUNT PARTS EVERY DAY AND RECONCILE DAILY TO INSURE


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  1   THAT THE INTEGRITY OF THE INFORM TION IS ACCURATE.

  2   Q. AND UNDER OATH YOU COULD CONFIRM THE ACCURACY OF YOUR

  3   INVENTORY SYSTEM?

  4   A. YES, I CAN.

  5                     MR. SAVIKAS: THANK YOU. NOTHING FURTHER, YOUR

  6   HONOR.

  7                     CROSS EXAMINATION

  8   BY MR. ROBERTS:

  9   Q. CHARLES ROBERTS FOR FINISAR. MR. MCGEORGE, IS IT YOUR

10    UNDERSTANDING THAT WHEN A NEW SUBSCRIBER SIGNS UP WITH DIRECTV,

11    HE GETS A FREE DISH AND A NUMBER OF SET TOP BOXES?

12    A. THAT S MY UNDERSTANDING.

13    Q. A D IS IT ALSO YOUR UNDERSTANDING THAT THOSE                   THE

14    CURRENT SET TOP BOXES ONLY PERMIT THE USE OF ONE TELEVISION?

15    A. PER BOX PER TV.

16    Q. AND DOES DIRECTV STILL SELL SET TOP BOXES THAT DO NOT HAVE

17    A DIGITAL VIDEO RECORDER IN THEM?

18    A. YES.


19    Q. SO IT’S POSSIBLE TO GET A DVR SET TOP BOX OR JUST A PLAIN

20    SET TOP BOX?

21    A. THAT IS CORRECT.

22    Q. AND IS IT YOUR UNDERSTANDING THAT CURRENT SET TOP BOXES

23    EACH HAVE ONLY O E SMART CARD?

24    A. THAT'S CORRECT.

25    Q. AND YOU'RE AWARE THAT SOME CURRENT SET TOP BOXES ALLOW


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  1   SIMULTANEOUS RECORDING OF A SHOW AND ALLOW YOU TO WATCH ANOTHER

 2    SHOW ON TELEVISION; IS THAT CORRECT?

 3    A. YEAH. I'M -- THAT IS REALLY NOT PART OF MY

  4   RESPONSIBILITY. MY RESPONSIBILITY IS REALLY THE MANAGEMENT OF

 5    INVENTORY, NOT, YOU KNOW, THE FUNCTIONALITY OF THE BOX IN THE

  6   HOME, SO...


  7   Q. SO DO YOU KNOW WHETHER IT'S POSSIBLE IN A DIRECTV SET TOP

  8   BOX THAT HAS A DIGITAL VIDEO RECORDER IN IT TO BE WATCHING ONE

  9   TV SHOW WHILE SIMULTANEOUSLY RECORDING ANOTHER ONE?

10    A. FROM PERSONAL EXPERIENCE, YES.

11    Q. AND THAT'S BECAUSE THAT SET TOP BOX HAS NOT ONE, BUT TWO

12    TUNERS IN IT; IS THAT RIGHT?

13    A. THAT'S CORRECT.

14                     THE CLERK: MR. ROBERTS, YOUR TIME IS UP.

15                     THE COURT: I'M GOING TO ALLOW YOU TWO MORE

16    MINUTES TO HANDLE THE QUESTIONING. BUT, AS I STATED AT THE

17    CLOSE OF THE JURY PORTION OF THE TRIAL, I W S GOING TO ALLOW

18    EACH SIDE AN HOUR, SO I LL ALLOW YOU A FEW MORE MINUTES TO

19    FINISH YOUR QUESTIONING HERE. GO AHEAD.

20                     MR. ROBERTS: THANK YOU, YOUR HONOR.

21    Q. (BY MR. ROBERTS) ARE YOU AWARE OF PLANS OF DIRECTV TO

22    ROLL OUT A HOME MEDIA CENTER SYSTEM COMPRISED OF A M IN SERVER

23    AND SMALLER RECEIVER UNITS AT EACH TV?

24    A. I'M AWARE OF IT, YES.

25    Q. AND WOULD EACH OF THOSE SMALLER RECEIVER UNITS, IN YOUR


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 1    OPINION, BE CONSIDERED TO BE A SET TOP BOX?

 2    A. I'M NOT SURE I'M QUALIFIED TO ANSWER H T.

 3    Q. ARE YOU AWARE THAT SOME SET TOP BOXES DIRECTV SET TOP

  4   BOXES TODAY CAN BE EQUIPPED WITH A BROADCOM OR ST CHIP WHICH

 5    CAN PROVIDE OUTPUT OF TWO DIFFERENT PROGRAMS TO TWO DIFFERENT

  6   TELEVISIONS?

  7   A. I'M NOT QUALIFIED TO NSWER THAT AS WELL.

  8                    MR. ROBERTS: MAY I JUST APPROACH THE WITNESS,

  9   YOUR HONOR, WITH AN EXHIBIT?

10                     THE COURT: YOU MAY.

11    Q. (BY MR. ROBERTS) MR. MCGEORGE, I LL ASK YOU, HAVE YOU

12    EVER SEEN THIS BRO DCOM PRODUCT BRIEF BEFORE?

13    A. NO, I HAVEN'T.

14    Q. I NOTE ON HERE THAT THIS BRIEF SAYS THAT IT IS TALKING

15    ABOUT A SINGLE SHIP        EXCUSE ME          A SINGLE CHIP SATELLITE SET

16    TOP BOX DECODER. AND IT INDICATES IN THE LEFT-HAND COLUMN

17    UNDER FEATURES THAT IT MAKES REFERENCE TO THE DVB/DIRECTV

18    DECODER. DO YOU SEE THAT?

19    A. YES, I DO.

20    Q. AND IN THE RIGHT-HAND COLUMN UNDER THE SUMMARY OF BENEFITS

21    UNDER THE SECOND BULLET POINT IN THE SUBPARAGRAPH, IT

22    INDICATES: "SIMULTANEOUSLY SUPPORTS TWO TVS WITH INDEPENDENT

23    PROGRAMMING AND ONSCREEN DISPLAYS." DO YOU SEE TH T?

24    A. I DO.

25    Q. NOW MY QUESTION TO YOU IS: IN A DIRECTV SET TOP BOX, IT'S


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  1   FIT WITH ONE OF THESE BROADCOM CHIPS WHERE YOU C N ACTUALLY

  2   DRIVE TWO TELEVISIONS OFF IT. WOULD THAT, IN YOUR OPINION,

  3   CONSTI UTE TWO SET TOP BOXES OR ONE?

  4   A. YOU KNOW, I M NOT THE TECHNICAL PART OF DIRECTV HERE. I

  5   MA AGE THE MOVEMEN AND PURCHASING OF DIRECTV SET TOP BOXES, SO

  6   I   I REALLY CAN'T COMMENT ON IT.

  7   Q. DO YOU HAVE ANY IDEA HOW LONG IT WILL BE BEFORE SET TOP

  8   BOXES ARE AVAILABLE THAT INCLUDE MULTIPLE TUNERS AND A LARGE

  9   HARD DRIVE SO THAT A SUBSCRIBER ONLY NEEDS ONE BOX TO DRIVE ALL

 10   THE TELEVISIONS IN THEIR HOME?

 11   A. I'M NOT AWARE OF WHEN IT WILL BE AVAILABLE, NO.

 12                    MR. ROBERTS: THANK YOU. NO QUESTIONS, YOUR

 13   HONOR.

 14                    MR. SAVIKAS: NOTHING FURTHER, YOUR HONOR.

 15                    THE COURT: DO YOU HAVE ANY FORECAST ON HOW MANY

 16   SET TOP BOXES YOU'RE PLANNING ON DISTRIBUTING DURING THIS

 17   COMING YEAR?

 18                    THE WITNESS: YES, WE DO.

 19                    THE COURT: ALL RIGHT. WHAT IS IT?

20                     THE WITNESS: I DON'T HAVE THE DOCUMENT WITH ME,

 21   BUT I THINK THE NUMBER IS SOMEWHERE IN THE 15 MILLION RANGE FOR

 22   2006.

23                     THE COURT: AS I UNDERSTAND IT, IN THE LAST

 24   WELL, SINCE 1999, IT WAS SOMETHING IN THE RANGE OF 59 MILLION

 25   BOXES. IS THAT THE NUMBER EVERYBODY WAS USING? YEAH, WELL,


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  1   SOMEWHERE BET EEN 55 MILLION AND 59 MILLION IS WHAT I THINK THE

  2   NUMBERS CAME OUT TO BE. BUT AT THE SAME TIME, AS I UNDERSTAND

  3   IT, THE TOTAL NUMBER OF SUBSCRIBERS IS 15 MILLION; IS THAT

  4   RIGHT?

  5                    THE WITNESS: THAT S CORRECT.

  6                    THE COURT: SO THERE WAS SOME DISCUSSION AT

  7   TRIAL INVOLVING WHAT THEY CALLED, I GUESS, CHURN AND SO FORTH.

  8   WHY IF YOU HAVE 15 MILLION SUBSCRIBERS I GUESS THERE S SOME

  9   PEOPLE ADDING A D DROPPING IS THE TOTAL OF NUMBER OF BOXES

10    SO MUCH GREATER THAN THE TOTAL NUMBER OF SUBSCRIBERS?

 11                    THE WITNESS: WELL, THERE'S A CERTAIN AMOUNT

12    OF YOU KNOW, EACH CUSTOMER CARRIES MORE THAN ONE BOX.

 13                    THE COURT: OKAY.

14                     THE WITNESS: AND THERE IS A CERTAIN LEVEL OF

 15   CUSTOMERS THAT CHURN OUT, THAT LEAVE DIRECTV. AND TYPICALLY

 16   THOSE BOXES STAY IN THE FIELD. THEY'RE NOT ACTIVATED. THEY'RE

 17   DEACTIVATED, SO THEY'RE VIRTUALLY A DEAD BOX IN THE FIELD.

 18                    THE COURT: ALL RIGHT.

 19                    THE WITNESS: DOES THAT ANSWER YOUR QUESTION?

20                     THE COURT: YES. ALL RIGHT. YOU MAY STEP DOWN,

21    SIR.

22                     MR. CASTANIAS: THANK YOU, YOUR HONOR. MAY IT

 23   PLEASE THE COURT. GREG CASTA IAS FOR THE DEFENDANTS. I'LL TRY

 24   TO BE BRIEF BECAUSE OUR BRIEFS THAT WE FILED ON JUNE 28TH AND

 25   YESTERDAY SHOULD LAY OUT MOST OF THE POINTS. AND I THINK THE


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  1   COURT APPRECIATES MANY OF THEM. BUT I LL ADDRESS I'M SORRY.

  2                    THE COURT: I THOUGHT YOU SAID THERE WAS A THIRD

  3   WITNESS, OR DID I ALREADY MISS HIM?

  4                    MR. SAVIKAS: NO. THERE WAS ONLY TWO.

  5                    THE COURT: OKAY. I'M SORRY. I THOUGHT YOU

  6   GAVE ME THREE NAMES. GO HEAD.

  7                    MR. CAS TANIAS: IN ANY EVENT, YOUR HONOR, I'LL

  8   BRIEFLY ADDRESS FIVE ISSUES: ONE, THE ISSUE OF THE INJUNCTION

  9   AND WHY A COMPULSORY LICENSE DOES WORK HERE; TWO, THE

10    ENHANCEMENT ISSUE; THREE, ATTORNEY'S FEES; FOUR, PREJUDGMENT

11    INTEREST; AND FINALLY, FIVE, THE ISSUE OF COST.

12                     LET ME FIRST TURN TO THE ISSUE OF THE

13    INJUNCTION. OUR P PERS HAVE LAID OUT OUR POSITION ON THIS

14    ISSUE. THERE'S NOTHING CATEGORICAL ABOUT WHAT WE'RE SUGGESTING

 15   TO THE COURT. THIS IS EXACTLY THE CASE WHERE AN INJUNCTION

16    WOULD BE INAPPROPRIATE. WITH REGARD TO IRREPARABLE INJURY,

 17   FINISAR DOES NOT COMMERCIALIZE. THE COURT NOTED THE TESTIMONY

 18   OF DR. LEVINSON AND MR. RAWLS AFTER THE JURY RETURNED ITS

19    VERDICT. FINISAR HAS NEVER ANSWERED THOSE POINTS.

20                     WITH REGARD TO THE ADEQUACY OF MONEY DAMAGES TO

21    COMPENSATE BEARS REPEATING, THAT'S ALL FINISAR EVER WANTED.

22    THEIR TRIAL FEE WAS -- ALL WE WANTED WAS A LICENSE. THOSE ARE

23    THE TWO POINTS ON WHICH THE COURT IDENTIFIED THAT THERE WAS

24    ALREADY STRONG EVIDENCE.

25                     SO LET ME TURN TO THE OTHER TWO NOW. HARM TO


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 1    THE PUBLIC. WE PU IN OUR BRIEF FILED YESTERDAY THE POINTS

 2     BOUT THE FCC'S AND THE DEPARTMENT OF JUS ICE ANTI-TRUST

 3    DIVISION FINDINGS WITH RESPECT TO THE PUBLIC INTEREST. THOSE

  4   HAVE NOT BEEN ANSWERED BY FINISAR IN ITS ARGUMENTS TODAY. THEY

 5    WERE NOT MENTIONED IN THE BRIEF. MR. NAPPER COULD NOT OPINE ON

  6   THOSE, EVEN THOUGH THE DEPARTMENT OF JUSTICE S PRESS RELEASE

  7   WAS ATTACHED TO FINISAR’S VARIED COMPLAINT IN THIS CASE.

  8                    FINALLY, WITH RESPECT TO THE BALANCE OF H RMS,

  9   WE POINTED THAT OUT IN OUR BRIEF YESTERDAY AS WELL. DIRECTV

10    WOULD SUFFER GOVERNMENTAL AND OTHER PENALTIES, AS WELL AS

11    SERIOUS ECONOMIC HARM. FINISAR WILL GET PAID. THE BALANCE OF

12    HARMS IS WILDLY, WILDLY TIPPED AGAINST US.

13                     THE COURT: WAIT A MINUTE. HAT PENALTIES IS

14    DIRECTV GOING TO SUFFER IF I GRANT AN INJUNCTION?

15                     MR. CASTANIAS: DIRECTV, AS WE POINTED OUT IN

16    OUR BRIEF YESTERDAY, COULD SUFFER THE LOSS OF ALL OF ITS

17    BROADCASTING LICENSES THAT THE FCC HAS GRANTED IN THE PUBLIC

18    INTEREST HERE AS WELL. THOSE ARE THE SORTS OF PENALTIES IN

19    ADDITION TO THE SERIOUS ECONOMIC

20                      THE COURT: HOW LONG A PERIOD OF TIME DO THEY

21    HAVE TO BE SHUT DOWN BEFORE THAT HAPPENS? I MEAN, OBVIOUSLY

22    HURRICANE COMES THROUGH AND WIPES EVERYTHING OUT, THEY DON'T

23    WITHDRAW YOUR LICENSES FOR A DAY OR A WEEK SHUTDOWN.

24                     MR. CASTANIAS: I THINK THAT WOULD BE UP TO THE

25    FCC. IT IS A RISK. I THINK THAT'S PROBABLY THE FAIREST WAY TO



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  1   PUT IT.

 2                     THE COURT: YOU'VE GOT NO IDEA IN THE CODE OF

  3   FEDER L REGULATIONS OR IN THE LICENSE LANGUAGE ITSELF OR

  4   ANYTHING ELSE, THAT WOULD GIVE A INDICATION OF I MEAN,

  5   OBVIOUSLY IT WOULDN'T BE A VOLUNTARILY. IT WOULD BE ALMOST A

  6   FORCE MEASURE, AND THE COURT'S NOT I'M NOT TRYING TO SAY I'M

  7   AN ACT OF GOD, BUT IT'S SURELY OUTSIDE YOUR CONTROL.

  8                    MR. CASTANIAS: YOUR HONOR, I THINK NO RESPONSE

  9   TO THAT PART WOULD BE APPROPRIATE, BUT WITH REGARD TO

10                     THE COURT: THE HIGHER COURTS MAYBE, BUT NOT ME.

11                     MR. CASTANIAS: WITH REGARD TO WITH REGARD TO

12    THE FCC, THE CODE OF FEDERAL REGULATIONS PROVISION -- A D I

13    HAVE TO MAKE SURE I GET THE TITLE CORRECT FOR YOU HERE IS

14    IT IS IN THE COMMUNICATIONS TITLE, BUT I WISH I COULD TELL YOU

15    THAT I HAVE THAT MEMORIZED OFF THE TOP OF MY HEM), 47 CFR, AND

16    IT'S SECTION 25.161, IN PARTICULAR 25.161 (C) DEALING WITH THE

17    AUTOMATIC TERMINATION OF STATION AUTHORIZATION. AND WHETHER

18    THAT I MEAN, THAT IN AND OF ITSELF WOULD BE HARM TO DIRECTV.

19    EVEN IF, FOR EXAMPLE, THERE WAS A SHUTDOWN, THE FCC DECIDED TO

20    TERMINATE OUR LICENSE. THAT MEANS THAT WE NOW HAVE A

21    GOVERNMENTAL POTENTIAL BARRIER TO ENTRY REENTRY INTO THE

22    MARKET EVEN IF WE COULD GET A NONINFRINGING ALTERNATIVE.

23                     LET ME TURN TO FINISAR'S EXCLUSIVE LICENSE

24    THEORY. AS WE POINTED OUT IN OUR BRIEF YESTERDAY, IT'S JUST

25    ANOTHER CREATIVE WAY OF ARGUING THAT THE PATENT'S RIGHT TO


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  1   EXCLUDE IS LWAYS IRREPARABLE HARM. IT COULD NEVER BE REMEDIED

  2   THROUGH MONEY. AND TODAY E HEARD THAT EBAY DIDN'T REALLY

  3   CH GE THE LAW. I I MUST CONFESS THAT WE COMPLETELY

  4   DISAGREE WITH THAT. I THINK JUDGE DAVIS DISAGREED WITH IT IN

  5   THE Z4 DECISION. AND MORE TO THE POINT, I THINK IT'S WORTH

  6   NOTING THAT THEY'VE GIVEN YOU TWO BRIEFS IN THIS CASE

  7   SUGGESTING WHAT THE LAW IS. WHAT THEY GAVE YOU WAS THE

  8   SOLICITOR GENERAL'S BRIEF. AND THEY LOST BECAUSE THE SOLICITOR

  9   GENERAL WANTED AFFIRMANCE IN THE EBAY, AND THEY DIDN'T GET IT.

10    AND THEY GAVE YOU THE RESPONDENT'S BRIEF FILED BY MERCEXCHANGE

11    IN THE EBAY CASE. AND, AGAIN, THAT WAS THE PARTY SEEKING

12    AFFIRMANCE. AND IF YOU LOOK AT THE LAST LINE OF JUSTICE

13    THOMAS'S OPINION FOR THE MISSOURI, THE CASE WAS REVERSED. IT

14    WAS REMANDED. THE INJUNCTION WAS VACATED.

15                     SO IF THE COURT NEEDS ANY ADDITIONAL EVIDENCE

16    THAT THE LAW HAS CHANGED, IT'S RIGHT ON THE FACE OF EBAY. LET

17    ME RESPOND TO JUST THE

18                     THE COURT: WELL, I GUESS ANOTHER WAY YOU CAN

19    LOOK AT IT IS THE SUPREME COURT HAS PUT THE LAW BACK TO WHERE

20    IT ALWAYS HAS BEEN IN INJUNCTIONS, AND IT'S JUST THE               THEY'RE

21    IN EFFECT SAYING THAT THE FIFTH CIRCUIT GOT A LITTLE OFF TRACK.

22                     MR. CASTANIAS: THAT S AN EXCELLENT WAY OF

23    PUTTING IT THERE, YOUR HONOR, BECAUSE THAT ANSWERS THE HEAVY

24    RELIA CE ON THE IN RE MAHURKAR DECISION FROM JUDGE EASTERBROOK,

25    A DISTINGUISHED JUDGE TO BE SURE, AN APPELLATE JUDGE SITTING AS


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  1   A DISTRICT JUDGE BY DESIGNATION IN THAT CASE. BUT IT'S VERY

  2   SIMPLE, THAT IN M HURK R HE WAS FOLLOWING THE OLD RULE. IF YOU

  3   LOOK AT THE PORTION OF THE DECISION THAT DISCUSSES THE ENTRY OF

  4   AN INJUNCTION, HE STARTS FROM THE PREMISE IN THE RICHARDSON

  5   CASE DECIDED BY THE FEDER L CIRCUIT IN, I BELIEVE, 1988, THAT

  6   INJUNCTION SHOULD ISSUE IN A PATENT CASE ONCE INFRINGEMENT HAS

  7   BEEN FOUND. THAT'S EXACTLY WHAT THE SUPREME COURT UPSET IN THE

  8   EBAY CASE. ND THAT SHOWS WHY MAHURK R ISN'T TERRIBLY USEFUL

  9   HERE. TH T'S OLD LAW.

10                     SECOND POINT THEY MADE IS WE NEED TO LET THE

11    M RKET V LUE THE PATENT. WELL, THE JURY H S V LUED THIS

12    PATENT. AND WE DIDN'T HEAR NY RESPONSE FROM FINISAR WITH

13    RESPECT TO OUR CITATION OF THE SHATTERPROOF GLASS CASE. IN THE

14    SHATTERPROOF GLASS CASE, THE FEDER L CIRCUIT'S ENDORSEMENT IS

15    EXACTLY WHAT WE'RE SUGGESTING THE COURT DO HERE. IT EVEN USES

16    THE TERM "COMPULSORY LICENSE." THAT'S NOT A BAD THING. IT'S

17    NOT TO BE FORBIDDEN. THAT'S EXACTLY WHAT WE HAVE TO DO HERE.

18    AND IN THE SHATTERPROOF GLASS CASE, THE DISTRICT COURT IMPOSED

19    THE S ME ROYALTY RATE FOR THE POST VERDICT COMPULSORY LICENSE

20    AS THE JURY HAD FOUND FOR THE PREVERDICT REASONABLE ROY LTY.

21                     THE COURT: BUT HOW DO I FIGURE THAT OUT GIVEN

22    THAT E HAVE HAVE BEEN VERY CLE N EXCEPT FOR THE $20,250.25?

23                     MR. CASTANIAS: WELL, THE POINT IS, YOUR HONOR,

24    THAT THE    THE JURY'S VERDICT IS THE JURY'S VERDICT. THAT'S

25    THE VALUATION OF THE PATENT. ND I THINK EVERYBODY HERE


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  1   AGREES, ALL THE WITNESSES, ALL OF THE LAWYERS, WE DON T KNOW

 2    EXACTLY WHAT WENT ON IN THAT ROOM; BUT WE DO KNOW THAT A

  3   VALUATION WENT ON IN THAT ROOM. AND THAT'S THE ALUATION. AND

  4   IT’S NOT EXACTLY $1.32. IT'S $1.32.09 OR SOMETHING LIKE THAT.

  5   IT CARRIES ON SEVERAL DIGITS. SO THE MATH IS NOT                   IS NOT

  6   PERFECT TO THE CENTS, BUT THAT S FINE. WE CAN WE CAN

  7   APPROXIM TE AND HONOR THE JURY'S VERDICT HERE WITH THE GOING

  8   FORWARD COMPULSORY ROYALTY RATE.

  9                    THE COURT: AND HOW DO I DEAL WITH THE PROBLEM

10    THAT WAS BROUGHT UP AND THE ONE I WORRIED ABOUT BEFORE IN THAT

11    YOU'VE GOT SOME CUSTOMERS HAVING THREE OR FOUR BOXES, SOME OF

12    THE NEW BOXES M YBE WILL H NDLE A COUPLE DIFFERENT TV SETS.

13    EVIDENTLY YOU'RE NOW TRACKING YOUR BOXES BETTER. WHY SHOULDN'T

14    I BE LOOKING AT SOMETHING LIKE GEM STAR AND LOOKING AT A PER

15    SUBSCRIBER? THAT WOULD SEEM TO BE A LITTLE BIT EASIER WAY OF

16    KEEPING A CONTROL. WE DON'T HAVE TO WORRY ABOUT CHANGES IN

17    TECHNOLOGY. IT'S A SUBSCRIBER BASE IT ON THAT SOMEHOW.

18                     MR. CAS TA IAS: THE COURT THE COURT COULD DO

19    THAT. WE WOULDN'T URGE THAT THE COURT DO THAT BECAUSE AS I

20    REMEMBER THE PROOFS TH T CAME IN THIS CASE, THE INFRINGEMENT

21    THAT WAS ALLEGED HAD TO BE DONE IN PART AT LEAST T THE SET TOP

22    BOX LEVEL. AND SO A METRIC THAT'S BASED ON NUMBER OF SET TOP

23    BOX PLACES IN THE SERVICE          PLACED INTO SERVICE IS IT'S CLEAN.

24    AS MR. MCGEORGE TESTIFIED, IT'S VERY EASY FOR US TO CALCULATE.

25    IT'S VERY EASY FOR US TO MAKE REGULAR REPORTS TO THE COURT WITH


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  1   REGARD TO THE NEW SET TOP BOXES PLACED INTO SERVICE.

  2                    THE COURT: BUT ON THE OTHER HAND, THE AMOUNT OF

  3   MONEY DOESN'T COME FROM BOXES; IT COMES FROM PEOPLE. I MEA ,

  4   THAT S WHO YOU'RE CHARGING FOR THIS. SO, FOR THAT MATTER, I

  5   GUESS IT COULD BE BY HOUSEHOLD, TOO. I'M NOT SURE WHETHER

  6   SUBSCRIBERS I GUESS IT WOULD NOT BE TYPICAL TO HAVE MORE

  7   THAN ONE SUBSCRIBER BY HOUSEHOLD.

  8                    MR. CASTANIAS: I DON'T           I DON'T THINK THAT

  9   WOULD BE TYPICAL. I DON'T THINK THERE'S BEEN ANY EVIDENCE ON

10    THAT, BUT I THINK THE MOST IMPORTANT POINT, YOUR HONOR, IS WHAT

11    MR. DONALDSON TOLD YOU TODAY AND WHAT HE TOLD YOU AT TRIAL.

12    AND THAT IS THE PER SET TOP BOX APPROACH IS THE INDUSTRY

13    STANDARD. THAT SEEMS TO ME TO BE THE TIE BREAKER.

14                     THE COURT: GO AHEAD.

15                     MR. CAST lNIAS : BUT, WITH RESPECT TO FINISAR'S

16    CLAIMS THAT, OH, THIS IS GOING TO ENGENDER MULTIPLE LITIGATION.

17    NO. THE COMPULSORY LICENSE HERE WOULD BE PAID THROUGH THE LIFE

18    OF THE PATENT IF THE VERDICT REMAINS IN PLACE. YOU DON'T EVEN

19    NEED TO SEVER OFF ANOTHER CASE. THIS IS A SIMPLE MATHEMATICAL

20    C LCULATION.

21                     TO THEIR POINT THAT A JURY TRIAL WOULD BE

22    REQUIRED ON THESE ISSUES, WE DISAGREE. THIS SORT OF POST

23    VERDICT ACCOUNTING IS AN EQUITABLE MATTER FOR THE COURT, AND

24    IT'S FOR THE COURT. IN MUCH THE SAME WAY THAT AN EMPLO MENT

25    CASE IS FRONT PAID, IT'S TRADITIONALLY BEEN AN ISSUE FOR THE


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  1   COURT HERE BACK P Y MIGH BE DECIDED BY THE JURY.

 2                     FINALLY, THE POINT ABOUT WILLFUL INFRINGEMENT

 3    AND MULTIPLYING THE DAMAGES ON POST VERDICT X BY DIRECTV, I

  4    HINK THE COURT RECOGNIZED ONE OF THE FLAWS IN THAT ARGUMENT.

  5   THERE S ANOTHER FLAW IN IT, TOO, AND THAT THIS IS THAT IF

  6   THERE'S A COMPULSORY LICENSE HERE, IT'S NOT INFRINGEMENT.

  7   SECTION 271 A OF THE PATENT CODE SAYS: WHOEVER I HOUT

  8   AUTHORITY MAKES USE OR SELLS OFFERS FOR SALE, AND SO ON IS A

  9   INFRINGEMENT. THAT WOULD BE WITH AUTHORITY.

10                     UNLESS THE COURT HAS FURTHER QUESTIONS ON THE

11    ISSUE OF THE INJUNCTION AND THE ISSUE OF THE GOING FORWARD

12    ROYALTY RATE, LET ME TURN TO THE MATTER OF ENHANCEMENT.

13                     THE COURT: WELL, LET'S GET BACK TO                YOU'RE

14    ARGUING FOR A SET TOP BOX FEE, ONE TIME FEE, AND YOU'RE

15    SUGGESTING $1.32 BASED ON YOU'RE DIVIDING OUT, I GUESS, THE 55

16    MILLION WHAT THE JURY AWARDED OR SOMETHING LIKE THAT. BUT

17    OBVIOUSLY NEITHER I NOR ANY OTHER COURT OR ANY JURY WANTS TO

18    SEE THIS AGAIN, AND SO I ENTER A COMPULSORY LICENSE OF WHATEVER

19    X DOLLARS PER SET TOP BOX. HOW IS THAT GOING TO BE CALCULATED?

20    I MEAN, COUNSEL BROUGHT UP PRETTY GOOD POINT AND TECHNOLOGY

21    CHANGES. IS THE HOME ENTERTAINMENT UNIT INCORPORATING SET TOP

22    BOX TECHNOLOGY AS SET TOP BOX. IT COULD H NDLE SEVERAL TV'S.

23    THE OLD METHOD AS ONE BOX PER TV, AND THAT OULD HAVE

24    OBVIOUSLY RESULTED IN MORE REVENUE FOR THEM THAN A NEW BOX THAT

25    CAN HANDLE MULTIPLE TV'S. IF IT HADN'T DONE IT IN '95 ON YOUR



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 1    SET TOP BOX METHOD, IT WOULD HAVE BEEN, OK Y, HATEVER. EVEN

 2    IF TAKING YOUR EXPER , 30 CENTS PER SET TOP BOX, EVERY SINGLE

 3    SET TOP BOX WOULD GIVE THEM 30 CENTS. NOW, YOU GET INTO 2006,

  4   2007 D SET TOP BOXES ARE DIFFERENT. THEY'RE NOT JUST SELLING

 5    ONE PER SUBSCRIBER, RATHER THAN THREE OR FOUR PER SUBSCRIBER.

  6   HOW DO I HOW DO I INCORPOR TE TH T?

  7                    MR. CAS T NIAS: WELL, I THINK, YOUR HONOR, THAT

  8   THE   AS I MENTIONED BEFORE, THIS IS AN EQUIT BLE

  9   DETERMINATION FOR THE COURT. AND IF WE'RE GOING TO CONTINUE TO

10    BE PAYING IN ROYALTIES AND PROVIDING REPORTS TO THE COURT,

11    THERE S GOING TO BE A MINIMAL AMOUNT OF CONTINUED INVOLVEMENT

12    ON THE COURT'S PART. I THINK THAT'S INHERENTLY P RT OF A

13    COMPULSORY LICENSE PROGRAM. BUT IT'S GOING TO BE MINIM L. A D

14    TO THE EXTENT THAT THAT ISSUE COMES UP IN THE FUTURE, THEN IT

15    C N BE RESOLVED EITHER BY FIRST DISCUSSIONS WITH COUNSEL AS TO

16    HOW THAT METRIC IS BEING APPLIED WITHIN THE INDUSTRY. WE'RE

17    CERTAINLY GOING TO HAVE OTHER OTHER EVIDENCE FROM THE WAY

18    THAT THE OTHER LICENSES ARE DEALT WITH BECAUSE AGAIN THE SET

19    TOP BOX METRIC IS THE INDUSTRY STANDARD. IT'S THE IMPEG WAY OF

20    DOING BUSINESS. AS MR. DONALDSON TALKED ABOUT THE OTHER WAYS

21    THAT THE PER SET TOP BOX APPROACH IS USED IN THE INDUSTRY.

22    WE'RE CERTAINLY NO GOING TO BE WRITING ON A CLEAN SLATE THERE.

23    WE'RE GOING TO HAVE SOME EXPERIENCE.

24                     THE COURT: WAS THE IMPEG LICENSE ACCEPTED AS AN

25    EXHIBIT?


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  1                    MR. CASTANIAS: I BELIEVE IT WAS, YOUR HONOR.

  2                    MR. SAVIKAS: WOULD YOU LIKE THE NUMBER?

  3                    THE COURT: WELL, THE NUMBER, AND DOES ANYBODY

  4   KNOW WHAT DOES IT HAVE ANYTHING IN THERE ABOUT WHAT IS A SET

  5   TOP BOX, BECAUSE THAT'S, IN EFFECT, WHAT THE QUESTION COMES UP,

  6   THAT A SET TOP BOX UNDER THE OLD TECHNOLOGY IS SOMETHING THAT

  7   RUNS ONE TV OR IS A SET TOP BOX NY OLD THING THAT HAPPENS TO

  8   RUN ONE O A THOUSAND TVS? GO AHEAD. I MEAN, THAT'S JUST A

  9   QUESTION THAT COMES UP IN ALL THIS.

10                     MR. CAST NIAS: SURE. E'LL TRY TO A SWER THAT.

11                     THE COURT: I THINK PLAINTIFFS HAVE MADE A POINT

12    THERE THAT NEEDS TO BE LOOKED AT.

13                     MR. CASTANIAS: I'M INFORMED OF TWO THINGS, YOUR

14    HONOR, WHICH MAY BE HELPFUL. FIRST, IT'S DEFENDANT'S

15    EXHIBIT 223; IS THAT CORRECT? 222 AND 223. AND SECONDLY,

16    MR. TOUTON INFORMS ME THAT THOSE ARE ACTUALLY CALCULATED ON A

17    PER DECODER BASIS, WHICH WE VIEW AS EQUIVALENT TO PER SET TOP

18    BOX. AND TO THE EXTENT THAT THAT S HELPFUL WITH REGARD TO NEW

19    TECHNOLOGY, THAT MAY BE USEFUL FOR THE COURT AND FOR THE

20    P RTIES AS WELL.

21                     THE COURT: I'M SORRY. DID YOU SAY 223?

22                     MR. CASTANIAS: I BELIEVE IT'S 223 AND 222 ARE

23    THE IMPEG LICENSES, DEFENDANT'S EXHIBITS.

24                     MR. TOUTON: YOUR HONOR, LOUIS TOUTON HERE.

25                     THE COURT: YES.



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  1                    MR. TOUTON: FILL IN A LITTLE BIT ON THE SECOND

 2    POINT TH T MR. CASTANIAS JUST GAVE, IS THAT THE IMPEG LICENSE

  3   MEASURES THE ROYALTY IN TERMS OF DECODERS, THAT IS, THE

  4   CIRCUITRY IN THE BOX THAT PRODUCES A UNIQUE OUTPUT THAT A

  5   TELEVISION COULD RECEIVE. AND, THEREFORE, IN A BOX THAT

  6   HYPOTHETICALLY IN THE FUTURE COULD SUPPORT TWO TELEVISIONS,

  7   THERE WOULD BE TWO DECODERS AND TWO ROYALTIES DUE UNDER THE

  8   IMPEG LICENSE.

  9                    THE COURT: I'M SORRY

10                     MR. TOUTON: THERE'S A DEFINITION

11                     THE COURT: PARAGRAPH 1.14 A D 1.15, WHERE THEY

12    START TALKING ABOUT WHERE DECODING PRODUCTS, DECODING SOFTWARE

13    IS IN THAT LICENSE AND THEN           OKAY. ALL RIGHT. GO AHEAD.

14                     MR. CASTANIAS: THANK YOU, YOUR HONOR. IF I CAN

15    TURN TO THE ISSUE OF ENHANCEMENT FOR A MOMENT. IT'S WORTH

16    TREATING BOTH THE ISSUE OF ENHANCEMENT AND ATTORNEY'S FEE

17    SOMEWHAT TOGETHER BECAUSE THE STANDARDS ARE SIMILAR, ALTHOUGH

18    THEY'RE NOT IDENTICAL. AND FINISAR'S CLAIMS OF ENTITLEMENT ARE

19    BASED IN ESSENCE ON THE SAME TWO FACTORS. BUT LET ME ST RT

20    WITH ENHANCEMENT BECAUSE IT'S BASED AS MR. ROBERTS SAID

21    PRIM RILY ON THE JURY'S FINDING OF WILLFUL INFRINGEMENT.

22                     NOW YOUR HONOR HAS CARRIED A D CONTINUES TO

23    CARRY OUR MOTION FOR JMOL OF NONWILLFULNESS, AND THAT MOTION

24    SHOULD BE GRANTED AT THE APPROPRIATE TIME. FINISAR S

25    WILLFULNESS CASE IN THIS LITIGATION BASICALLY BOILS DOWN TO


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  1   DIRECTV KNEW OF THE PATENT ND YET CONTINUED TO INFRINGE. WE

 2    POINTED OUT IN YESTERDAY S BRIEF AND IN OUR JMOL MOTIONS,

  3   THAT'S NOT THE LAW. IN FACT, THE FEDERAL CIRCUIT HAS SUSTAINED

  4   TRIAL COURT GRANT OF OMOL, OF NONWILLFULNESS IN QUITE SIMILAR

  5   CIRCUMSTANCES. IN FACT, WHAT DIRECTV AND MR. CROOK DID IN

  6   RESPONSE TO FINISAR'S ACTIONS WAS NOT REASONABLE AS A MATTER OF

  7   LAW, THEN WILLFULNESS REALLY DOESN'T MEAN MUCH OF ANYTHING. IN

  8   FACT, WHAT WE SUBMIT IS THAT THE COURT SHOULD FOLLOW THE

  9   APPROACH THAT THE FEDERAL CIRCUIT TOOK IN THE RECORPORATION

10    CASE, WHICH IS THE CASE THAT LAYS OUT THE ENHANCEMENT FACTORS.

11    BUT THAT CASE FOUND NO WILLFULNESS AS A MATTER OF LAW, AND IT

12    WAS IN ESSENCE FOR TWO REASONS: ONE, BECAUSE THERE WAS NO

13    COPYING; AND TWO, BECAUSE THERE WAS A COMPETENCE OPINION LETTER

14    REASONABLY RELIED UPON, THE SAME THAT WE HAVE HERE.

15                     BUT THE QUESTION THAT FINISAR HAS PUT BEFORE THE

16    COURT TODAY IS THE MA TER OF ENHANCED DAMAGES. AND THEY'VE

17    OFFERED NOTHING BUT A SUGGESTION THAT YOU DO THE M XIMUM AND

18    TREBLE THE DAMAGES IN THIS CASE. AND WHAT WE'RE REALLY TALKING

19    ABOUT HERE, YOUR HONOR, IS PUNITIVE DAMAGES. IN THE SUPREME

20    COURT'S PUNITIVE DAMAGES CASE STATE CONDUCT HAS TO BE PRETTY

21    REPREHENSIBLE TO ALLOW PUNITIVE DAMAGES CONSISTENT WITH THE DUE

22    PROCESS CLAUSE. UNDER RECORPORATION, THAT'S BASICALLY WHAT THE

23    COURT IS USING THOSE FACTORS TO HELP IT FIND. THE WORDS OF

24    THAT DECISION IS TO ASSIST THE TRIAL COURT IN EVALUATING THE

25    DEGREE OF THE INFRINGER'S CULPABILITY.


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  1                    NOW, OUR BRIEFS HAVE SHOWN TH T THERE IS JUST

 2    NOT THE LEVEL OF CULPABILITY OR REPREHENSIBILITY PRESENT HERE

  3   TO JUSTIFY AWARDING PUNITIVE DAMAGES IN ANY AMOUNT TO FINISAR.

  4   I'M NOT GOING TO REPEAT THOSE SHOWINGS, BUT I DO WANT TO

  5   EMPHASIZE THE FOLLOWING: ONE, NO COPYING IN THIS CASE.

  6   DIRECTV WAS ON THE MARKET BEFORE THE 505 PATENT EVEN ISSUED.

  7   NUMBER TWO, MR. CROOK OBTAINED A COMPETENT, DETAILED 55-PAGE

  8   LONG INFRINGEMENT OPINION FROM MR. ZIMMERMAN AND REASONABLY

  9   RELIED UPON. THERE IS NO REQUIREMENT, AS FINISAR ARGUED TO THE

10    JURY AND REPEATS IN ITS BRIEF HERE. BUT AN OPINION ADDRESSED

11    BOTH NONINFRINGEMENT AND INVALIDITY. THAT S THE GRACO AGAINST

12    SINKS IN 60 FED. 3RD. FINISAR'S CRITICISMS OF MR. ZIMMERM N'S

13    OPINION IN THIS CASE HAVE BEEN AT BEST THE SORT OF AROUND THE

14    EDGES, NITPICKING CRITICISMS, AND THEY DO NOT UNDERMINE ITS

15    ESSENTIAL COMPETENCE.

16                     ANOTHER POINT, THIS CASE WAS AND REMAINS BY ANY

17    MEASURE CLOSE. THAT WAS EXACTLY THE WORD THIS COURT USED IN

18    DESCRIBING OUR CONTINUED TO BE CARRIED MOTION FOR SUMMARY

19    JUDGMENT AND NOW JUDGMENT AS A MATTER OF LAW WITH RESPECT TO

20    A TICIPATION BASED ON THE DEXA (PHONETIC) ARCHITECTURE

21    VIDEOTECH SYSTEMS TEXTBOOK. THE COURT SAID IT WAS VERY, VERY

22    CLOSE.

23                     IN ADDITION, WE PREVAILED ON EIGHT OF THE 15

24    CLAIMS IN THIS SUIT. SEVEN OF THEM WERE FOUND BY THIS COURT TO

25    BE INVALID A D INDEFINITE, AND EIGHT CLAIMED 25 WAS DROPPED


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 1    VIRTUALLY ON THE EVE OF TRIAL A D STIPULATED TO BE

 2    NONINFRINGING BY FINISAR. AND THAT DID CONTRARY TO WHAT

 3    FINISAR SAYS IN ITS BRIEF OF YESTERDAY, QUOTE, ALTER THE

  4   RELATIONSHIP OF THE PARTIES BECAUSE FINISAR NOW HAS SEVEN

 5    CLAIMS THAT IT CAN'T USE AGAINST ANYBODY ANYWHERE ANYTIME

  6   ANYMORE.

  7                    IN ADDITION, SHOWING MORE OF THE CLOSENESS OF

  8   THIS CASE THIS COURT HAS CONTINUED TO CARRY SEVERAL OF THE

  9   GROUNDS IN OUR JMOL MOTIONS, ALL THAT RE NONI FRINGMENT

10    MOTIONS. AND EVEN THE ISSUE OF WILLFULNESS, WHICH WAS THE

11    SUBJECT OF ONE OF THOSE MOTIONS, IS AT THE VERY LEAST A CLOSE

12    ISSUE.

13                     ANOTHER FACTOR UNDER THE RECORPORATION CASE,

14    THERE WAS NO EFFORT ON THE PART OF DIRECTV TO CONCEAL ITS

15    MISCONDUCT. AND MOREOVER, THERE WAS NO MOTIVATION TO HARM

16    FINISAR, NOTWITHSTANDING THE ALLEGATION MADE IN FINISAR'S JUNE

17    28TH BRIEF THAT WE INTENDED HARM TO A LICENSING PROGRAM OF

18    FINISAR. YOU CAN'T FIND A SINGLE PIECE OF EVIDENCE THAT LEADS

19    TO THAT CONCLUSION IN THIS CASE. THAT IS ATTORNEY ARGUMENT.

20                     IN SHORT, YOUR HONOR, OUR CONDUCT WAS IN GOOD

21    FAITH AND NOWHERE NEAR THE SORT OF REPREHENSIBLE CONDUCT THAT

22    MERITS PUNITIVE OR ENHANCED DAMAGES.

23                     NOW, TURNING TO A COUPLE OF THE POINTS THAT

24    FINISAR MADE WITH REGARD TO ENHANCEMENT THIS MORNING, WHAT I

25    HEARD A LOT ABOUT WAS DIRECTV'S ABILITY TO PAY. WHILE THAT



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 1    MIGHT BE APPROPRIA E TO CONSIDER UNDER THE RECORPORATION

 2    FACTORS ONCE THE COURT HAS DETERMINED THAT THERE'S

 3    REPREHENSIBLE PUNISH BLE CONDUCT, THAT'S NOT THE CASE HERE.

 4    THERE ISN T A FACTOR THAT SHOWS EGREGIOUS REPREHENSIBLE CONDUCT

 5    HERE.

  6                    I HEARD THEM ALSO SAY THAT MR. CROOK PUT THE

  7   ZIMMERMA OPINION IN A DR WER. HE DIDN'T HOLD A MEETING; HE

  8   DIDN'T HAVE A TECHNICAL PERSON REVIEW IT. WELL, I'M SURE THAT

  9   THAT OPINION EVENTUALLY WENT INTO A FILE CABINET. BUT IT WAS

10    READ, AND IT WAS RELIED UPON. AND DIRECTV DID NOT CHANGE

11    BECAUSE MR. CROOK HAD A COMPETENT OPINION LETTER THAT SAID

12    YOU'RE NOT INFRINGING.

13                     MOREOVER, I URGE THE COURT TO TAKE A LOOK AT THE

14    ZIMMERMAN OPINION LETTER. LOOK AT THE NUMBER OF PAGES IN THAT

15    EXHIBIT DEVOTED TO DISCUSSING OF THE TECHNICAL ASPECTS OF HOW

16    THE GUIDE SYSTEM WORKS. IT'S HARD TO SAY THAT THAT WAS WRONG.

17    IN FACT, I DON'T THINK FINISAR'S EVER SAID THAT IT WAS WRONG

18     ITH RESPECT TO ITS DESCRIPTION OF THE GUIDE SYSTEM. WHAT IT

19    SAID IS IT DIDN'T ADDRESS THE REST OF THE SYSTEM.

20                     BUT LET ME NOW TURN TO THE ISSUE OF ATTORNEY'S

21    FEES BECAUSE THE ONE FACTOR IN RECORPORATION I'VE LEFT OUT IS

22    THE ONE THAT THEY ADDRESS UNDER THE HEADING OF ATTORNEY'S FEES.

23    AS I MENTIONED BEFORE, THE STANDARDS HERE ARE SIMILAR, BUT NOT

24    QUITE IDENTICAL. THEIR MAIN CASE FOR ATTORNEY'S FEES IS THEY

25    SAY WHILE THE JURY FOUND WILLFULNESS, THAT'S ENOUGH, YOU SHOULD


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  1   AWARD US OUR FEES. BUT SECTION 285 ISN'T A SIMPLE FEE SHIFTING

  2   STATUTE, EVEN IN THE CASE OF WILLFULNESS. THE COURT STILL HAS

  3   TO FIND THE CASE EXCEPTIONAL, AND THE COURT'S BURDEN IN THAT

  4   CASE IS TO FIND IT BY CLEAR AND CONVINCING EVIDENCE. EVEN WERE

  5   THE COURT TO FIND IT EXCEPTIONAL, IT WOULD THEN HAVE TO MAKE

  6   THE FURTHER DETERMINATION THAT ATTORNEY'S FEES WERE MERITED.

  7   THAT S THE MODINE MANUFACTURING CASE IN 970 S.2D., CITED IN OUR

  8   BRIEF.

  9                    FOR THE SAME SORTS OF REASONS THAT I'VE OUTLINED

10    WITH REGARDS TO ENHANCEMENT, THE ATTORNEY'S FEES HERE SHOULD

 11   ALSO BE DENIED. THIS CASE WAS CLOSED ON NUMEROUS GROUNDS.

12    EVEN IF FINISAR'S WILLFULNESS CLAIM IS NOT OVERTURNED ON JMOL,

13    THAT ISSUE ITSELF WAS TOO CLOSE TO MERIT FEES. WE PREVAILED ON

 14   EIGHT OUT OF THE 15 CLAIMS IN THE SUIT, AND THE CASE WAS

15    LITIGATED FAIRLY AND WELL ON BOTH SIDES. IN ALL THOSE REGARDS

16     HIS CASE S NOT EXCEPTIONAL WITHIN THE MEANING OF SECTION

17    285.

18                     NOW THAT SAID, IT IS APPROPRIATE FOR US TO

19    BRIEFLY COMMENT ON THE CCUSATIONS THAT RE LACED THROUGHOUT

20    FINISAR'S MAIN BRIEF, THE ACCUSATION OF LITIGATION MISCONDUCT.

21                     THE COURT: WELL, I'M SURE YOU DISAGREE WITH ALL

22    OF THEM.

23                     MR. CAS TANIAS: WELL          AND INDEED I'M NOT GOING

24    TO GO THROUGH THEM.

25                     THE COURT: THAT'S PUT IN YOUR BRIEFS. I MEAN,



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  1   YOU MIGHT WANT TO PROPERLY GET INTO THE ISSUE OF THE YOU'D

  2   MENTIONED COST ND YOU'D MENTIONED THE CALCULATION OF

  3   PREJUDGMENT INTEREST.

  4                    MR. CASTANIAS: RIGHT. I'D JUST LIKE TO MAKE

  5   ONE MORE POINT ITH REGARD TO THE FEES AND

  6                    THE COURT: LL RIGHT.

  7                    MR. CASTANIAS: WE DON'T CLAIM TO BE THE ONLY

  8   PREVAILING PARTY HERE. I BELIEVE I HEARD THERE'S 79 MILLION

  9   REASONS WHY WE'RE NOT THE PREVAILING PARTY. OUR CLAIM IS THAT

10    WE WERE ALSO THE PREVAILING PARTY BECAUSE WE INVALIDATED SEVEN

11    CLAIMS AND WON ON AN EIGHTH. THE MANILDRA DRILLING CASE WHICH

12    IS FINISAR'S CASE THAT IT CITED IN ITS BRIEF FILED YESTERDAY

13    SAYS WITH HANDLING COMPETITOR'S P ENT BE DECLARED INVALID

14    MEETS THE DEFINITION OF PREVAILING PARTY. THE SAME GOES FOR

15    THE CASE OF FINLAND STEEL CITED IN OUR BRIEF.

16                     LET ME TURN VERY QUICKLY TO THE ISSUE OF

17    PREJUDGMENT INTEREST. AS THE COURT HAS NOTED, WE DON'T OPPOSE

18    FINISAR'S REQUEST FOR INTEREST AT THE TEXAS STATUTORY RATE; BUT

19    WHAT WE DO SAY IS THAT THE TEXAS STATUTORY RATE AS A MATTER OF

20    STATUTORY CONSTRUCTION IS SIMPLE INTEREST. THAT'S THE

21    EQUITY IF YOU'LL EXCUSE ME FOR JUST A SECOND, YOUR HONOR,

22    LET ME GRAB THE CASE. THAT'S THE T8 VERSUS MUTUAL LIFE

23    INSURANCE OF NEW YORK CASE OUT OF THIS DISTRICT IN 1997, IN

24    FACT IT'S EVEN OUT OF THIS DIVISION. IT SAYS THAT UNDER THE

25    TEXAS STATUTE IT ALLOWS FOR INTEREST AT THE RATE OF SIX PERCENT


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  1   PER ANNUM, WHICH THE TEXAS COURTS HAVE INTERPRETED AS MEETING

  2   SIMPLE INTEREST. THAT'S AT 893 TO 894 OF 965 F. SUPP. THE

  3   COURT GOES ON TO S Y IN A L TER PORTION OF THE OPINION, AGAIN

  4   DISCUSSING THE TEXAS STATUTE: THIS SIX PERCENT PER ANNUM IS

  5   SIMPLE INTEREST, AND IT CITES THE GORM N AGAINST LIFE INSURANCE

  6   COMP NY OF NORTH MERICA CASE AT 859 SOUTHWESTERN 2D. 382, OUT

  7   OF THE TEXAS COURT OF APPEALS, HOUSTON, FIRST DISTRICT, 1993

  8    ND CHEMICAL COMPANY VERSUS DEHAVEN, 824 SOUTHWESTERN 2D. 257,

  9   ALSO OUT OF THE HOUSTON TEX S APPEALS COURT 14TH DISTRICT, AND

10    THEN SOUTHERN DISTRICT OF TEX S CASE OF HARTFORD ACCIDENT AND

11    INDEMNITY, 862 F. SUPP. 160. OUR POINT WITH REGARD TO

12    COMPOUNDING IS THIS: THE TEX S STATUTE SAYS IT'S SIMPLE.

13    THAT'S THE W Y THE INTEREST SHOULD BE CALCULATED. ALSO ADD

14    THAT WITH REGARD TO THE PARTICULAR METRICS WITH REG RD TO THE

15    COMPOUNDING CALCULATIONS THAT FINISAR OFFERS, ALL THEY OFFERED

16    TODAY WAS SUPPOSITIONS AND HOW DIRECTV PROBABLY GETS ITS MONEY

17    TO SUPPORT THOSE CALCULATIONS. AND WE DON'T HAVE ANY EVIDENCE

18    ON THAT, AND I THINK THE COURT POINTED OUT THAT THERE -- IT WAS

19    A LITTLE BIT OF UNREALITY TO DOING IT ON A D ILY B SIS.

20                     FINALLY, LET ME ADDRESS THE ISSUE OF COST VERY

21    BRIEFLY. FINISAR SAYS IT'S NOT TIME TO ASK FOR COSTS. WE

22    BELIEVE THIS IS EX CTLY THE SORT OF THING THAT SHOULD BE

23    DETERMINED NOW, CAN BE DETERMINED NOW, AND IT SHOULD BE DENIED

24    NOW.

25                     AGAIN, I POINT OUT DEFENDANTS PREVAIL ON EIGHT


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  1   CLAIMS; FINIS R, ON SEVEN. WE'RE NOT CLAIMING TO BE THE

  2   PREVAILING PARTY, BUT E ARE CLAIMING THAT WE OULD BE ENTITLED

  3   TO OFFSET IN THAT CIRCUMSTANCES, SO THE ISSUE OF COST WASHES

  4   OUT.

  5                    IN ADDITION, BECAUSE SEVEN OF THE 505 PATENT

  6   CLAIMS WERE DECLARED INVALID AND HAVE NOT TO THIS POINT BEEN

  7   DISCLAIMED AT THE PATENT AND TRADEMARK OFFICE, SECTION 288 OF

  8   TITLE 35, THE PATENT LAWS, THIS ENTITLES FINISAR TO COSTS IN

  9   THIS CASE. FINISAR'S REQUEST FOR COST SHOULD BE DENIED.

10                     THE COURT: LET ME ASK YOU. IN THE                 ATTACHED

11    TO ONE OF YOUR BRIEFS, I VE GOT DEFENDANT'S RECALCULATION,

12    PLAINTIFF'S CALCULATION OF PREJUDGMENT INTEREST, AND THEN GOT

13    DEFENDANT'S RECALCULATIONS. NOW YOU HAVE IN THERE COMPOUNDED

14    ANNUALLY. AND YOU COME UP WITH $13 MILLION AS OPPOSED TO THEIR

15    $14 MILLION. THAT'S WHAT I'M UNDERSTANDING THE DIFFERENCE HERE

16    TO BE?

17                     MR. CAS TANIAS: IF THE COURT REJECTS THE TEXAS

18    LAW THAT SAYS THAT THE INTEREST IS SIMPLE INTEREST, THAT WOULD

19    BE THE DIFFERENCE. BUT IF YOU TURN BACK TO EXHIBIT 1                   I

20    THINK YOU'RE LOOKING AT EXHIBIT 2, YOUR HONOR.

21                     THE COURT: OKAY.

22                     THE CLERK: YOUR TIME IS UP.

23                     MR. CASTANIAS: YOUR HONOR, I'LL TRY TO NSWER

24    THIS QUESTION, AND THEN I'LL BE DONE.

25                     THE COURT: ALL RIGHT.



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  1                    MR. CAS TANIAS: DO YOU HAVE EXHIBIT 1 IN FRONT

 2    OF YOU? IF NOT, I CAN GET IT.

 3                     THE COURT: I HAVE IT.

  4                    MR. CASTANIAS: EXHIBIT 1 SHOWS AT SIMPLE

  5   INTEREST, THE NUMBER OULD BE 11,163,697.

  6                    THE COURT: OKAY. ALL RIGHT.

  7                    MR. CASTANIAS: THANK YOU, YOUR HONOR.

  8                    MR. ROBERTS: WE JUST HAVE TWO MINUTES FOR

  9   REBUTTAL, YOUR HONOR?

10                     THE COURT: ALL RIGHT.

11                     MR. ROBERTS: I JUST WANTED TO POINT OUT THAT ON

12    DETERMINING COSTS UNDER THE STATUTE, IT'S NOT POSSIBLE TO JUST

13    DISCLAIM A PATENT CLAIM THAT'S INVALID UNLESS YOU KNOW IT'S

14    INVALID AT THE TIME. SO ASKING US TO DISCLAIM THAT PRIOR TO

15    THE FILING OF SUIT IS REALLY AN EXERCISE IN CLAIRVOYANCE IN

16    THAT YOU MUST NOT HAVE THE STATUTE SHOULD BE CONSTRUED. I

17    DON'T KNOW IF THIS IS IN THE PAPERS, BUT IF YOU TAKE THE JURY'S

18    DAMAGES FINDINGS, DIVIDE THAT INTO THE REVENUE, I BELIEVE THE

19    RATE IS .1428 PERCENT. THAT WOULD OBVIOUSLY BE PREFERABLE TO

20    $1.32 PER SET TOP BOX BASIS BECAUSE OF THE DIFFICULTIES WE'VE

21    OUTLINED IN IDENTIFYING WHAT A SET TOP BOX IS.

22                      FINALLY, THE SHATTERPROOF GLASS CASE IS REALLY

23     N ANOMALY. IN THAT CASE THE PLAINTIFF ASKED FOR FOUR PERCENT.

24    THE JURY GAVE HIM FIVE PERCENT, AND THE PLAINTIFF SAID THAT'S

25    GREAT, WE'LL TAKE IT. AND IT WAS THE DEFENDANT WHO OPPOSED


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  1   THAT ENTRY, TH T COMPULSORY LICENSE POST VERDICT, NOT THE

  2   PLAINTIFF. SO THE ISSUES THAT WERE PRESENT IN THIS CASE WERE

  3   REALLY NOT LITIGATED IN THAT CASE.

  4                    FINALLY, THE MAHURKAR CASE IS USEFUL BECAUSE OF

  5   THE ECONOMIC ANALYSIS PROVIDED BY JUDGE EASTERBROOK ON THE

  6   VALUE OF AN INJUNCTION. MID HERE THE BALANCE OF THE HARM, THEY

  7   TALKED ABOUT THE FCC LICENSE, BUT WE REALLY SEE NO EVIDENCE

  8   ABOUT THAT, JUST SOME QUOTING OF THE STATUTE, AND WE DON'T KNOW

  9   REALLY WHA THE IMPACT OF THAT WOULD BE. HANK YOU, YOUR

10    HONOR.

11                     THE COURT: ALL RIGHT.

12                     MR. CASTANIAS: YOUR HONOR, ONE POINT. THE .14,

13    WHATEVER THE NUMBERS WERE THAT WERE OFFERED BY MR. ROBERTS IN

14    REBUTTAL, THIS IS THE FIRST TIME WE'VE HEARD THAT BECAUSE IT'S

15    NOT IN THE BRIEF. IT'S A LITTLE LATE FOR US TO BE ABLE TO

16    RESPOND TO THAT.

17                     THE COURT: OKAY. WE'VE GOT                ACTUALLY I'D

18    NORMALLY TAKE A BREAK, BUT I'VE GOT A DOCTOR S APPOINTMENT THIS

19    AFTERNOON, SO I'M GOING TO GO MEAD AND MAKE MY A OUNCEMENTS

20    NOW.

21                      FIRST, BEFORE I FORGET BECAUSE OF THE BULK OF

22    PAPER EXHIBITS, I AM GOING TO ORDER THAT THE PARTIES GET

23    TOGETHER, TAKE THE ADMIT ED EXHIBITS, GO AHEAD AND PUT THEM ON

24    DISK LIKE YOU DID WITH ALL THE OTHER LISTS, AND THAT'S WHAT THE

25    DEPUTY CLERK WILL KEEP OR OUR CLERK'S OFFICE WILL KEEP. IT'S



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  1   THE DISK FORM OF THEM. AND THEN THE P RTIES WILL BE

  2   RESPONSIBLE FOR KEEPING THE ORIGIN LS. AND SHOULD THE HIGHER

  3   COURT ASK FOR A COPY OF ONE OR ANOTHER, THEN YOU LL BE

  4   RESPONSIBLE FOR GETTING IT UP. AND IF THERE WINDS UP BEING

  5   SOME KIND OF A PROBLEM OVER, GEE, THAT ISN'T THE REAL EXHIBIT

  6   THAT'S BEING SET FORWARD, THE COURT SHOULD HAVE THE ELECTRONIC

  7   COPY. THAT'LL MEAN OBVIOUSLY SOME COOPERATION WHERE YOU VIEW

  8   EACH OTHER'S VERSIONS. SOME OF THEM I THINK THERE ARE A

  9   COUPLE OF THEM THAT'S REDACTIONS OR A PAGE TAKEN OUT OR

10    SOMETHING LIKE THAT; BUT I'D LIKE TO GET THAT DONE SO THAT OUR

11    LIMITED STORAGE SPACE DOWNSTAIRS IS NOT COMPLETELY TAKEN UP

12    WITH THESE BOXES, ESPECIALLY IN VIEW OF THE NUMBER OF PATENT

13    CASES I'M GETTING IN. IF I -- I SHOULD HAVE THOUGHT OF THAT

14    EARLIER, BUT THAT'S WHAT I WANT DONE ON THAT. WE'LL KEEP THE

15    ELECTRONIC VERSION. YOU'LL BE RESPONSIBLE FOR THE ORIGINALS OF

16    YOUR OWN. IF THERE'S ANY DISPUTE, THEN THE ELECTRONIC VERSION

17    WILL BE THE ONE, SO I SUGGEST THAT BOTH SIDES CHECK THAT

18    ELECTRONIC, MUTUALLY EXCHANGE THOSE, M KE SURE THEY'RE CORRECT

19    AND THEN HANG ON TO THEM.

20                     ALL RIGHT. AS FAR AS THE            I'LL START OFF WITH

21    THE DEFENDANT'S MOTION FOR SUMMARY JUDGMENT BASED ON THE GECSEI

22    TEXTBOOK, THAT'S DOCUMENT, I BELIEVE, 106 AND THE MOTIONS FOR

23    JMOL ON ANTICIPATION. TAKING A LOOK AT ANTICIPATION, THE COURT

24    REFERS TO BROWN VERSUS 3M AT 265 FED.3RD, 1349, FIFTH CIRCUIT

25    2001. AND THAT CASE TEACHES A NUMBER OF THINGS, BUT ONE OF


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  1   THOSE IS THAT N ICIPATION SUFFICIENT TO PRECLUDE PATENT

  2   PROTECTION MEANS A LACK OF NOVELTY. IT'S A QUESTION OF FACT.

  3    ND FOR N ICIPATION TO PRECLUDE PATENT PROTECTION, EVERY

  4   ELEMENT AND LIMITATION OF THE CLAIMED INVENTION MUST BE FOUND

  5   IN A SINGLE PRIOR REFERENCE. AND THEN THEY POINT OUT THIS

  6   IS A SHOR HAND WAY THA WHICH INFRINGES A PA ENT, IT LATER

  7   WINDS UP ANTICIPATING AN EARLIER. IN OTHER WORDS, YOU

  8   BASICALLY HAVE TO LAY OUT THE INVENTION IN THE ANTICIPATED

  9   REFERENCE. I THINK BOTH EXPERTS ON BOTH SIDES UNDERSTOOD THAT.

10                     LOOKING AT A SUMM RY JUDGMENT, AT THE SUMMARY

11    JUDGMENT FIRST, ALL FACTS AND DISPUTES HAVE TO BE RESOLVED IN

12    FAVOR OF THE NONMOVEMENT. IN THAT CASE IN THIS CASE IT

13    WOULD BE WOULD H VE TO BE RESOLVED IN FAVOR OF FINISAR. AND

14    TO SOME DEGREE IT WAS CLOSE, BUT THE ST NDARD, OF COURSE, IS

15    CLEAR AND CONVINCING EVIDENCE TO OVERCOME THE PRESUMPTION OF

16    INVALIDITY.

17                     NOW MR. EDEN'S REBUTTLE IN THE COURT S MIND WAS

18    SOMEWHAT CONFUSING. IT KEPT FOCUSING ON THINGS THAT DR. TJADEN

19    REALLY DIDN'T SAY AND TALKING ABOUT THAT 10.5 DIAGRAM RATHER

20    THAN TAKING A LOOK AT THE TEXT ITSELF. BUT ON THE OTHER H ND,

21    DR. TJADEN'S AFFIDAVIT THE WAY HE CHARTED EXACTLY WAS NOT

22    CLE R. I CAN TELL YOU, THE COURT HAD THE VERY DIFFERENT

23    IMPRESSION THAT TO COMBINE THE CHART DESCRIPTION FOR ONE STEP

24    OR THE CHART DESCRIPTION FOR ANO HER STEP, AND TO COMBINE THAT

25    WITH PARTS OF THE TEXT THAT WEREN'T E EN CHARTERED OR MENTIONED


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  1   IN THE AFFIDAVIT. THAT MIGHT GET PRETTY CLOSE TO ANTICIPATION.

  2   BUT THAT'S NOT CLEAR, IT'S NOT CONVINCING, AND IT'S THE LIGHT

  3   MOST FAVORABLE TO NONMOVEMENT. SO MOTION FOR SUMMARY JUDGMENT

  4   IS DENIED.

  5                     THEN WHEN WE TAKE A LOOK AT THE JUDGMENT AS A

  6   MATTER OF LAW, OF COURSE, THERE WE'RE TAKING A LOOK AT THE

  7   STANDARD OF REVIEW ON A JMOL, A D AS IT'S PRETTY COMMON LAW,

  8   THE COURT CAN T MAKE CREDIBILITY DETERMINATIONS, CAN'T WEIGH

  9   CONFLICTING EVIDENCE. THAT'S REEVES VERSUS SANDERSON PLUMBING

 10   AT 530 US. 133    THAT'S AT PAGE 155          120 SUPREME COURT,

 11   2097, PAGE 2110, AND THAT'S 2000.

 12                     THE CASES HAVE RECOGNIZED THE JUDGMENT, AS A

 13   MATTER OF LAW, IS A HEAVY BURDEN. TAKE A LOOK AT THE PINEDA

 14   VERSUS UNITED PARCEL SERVICES CASE, 360 FED. 3RD, 483, AND THEY

 15   ALSO USE LANGUAGE SUCH AS IF REASONABLE PERSONS COULD DIFFER ON

 16   INTERPRETATION, AND THE MOTION SHOULD BE DENIED. GMOL IS GOING

 17   TO BE GRANTED WHEN THE FACTS AND INFERENCES POINT SO STRONGLY

 18   A D OVERWHELMINGLY IN FAVOR OF ONE PARTY IF THE COURT BELIEVES

 19   REASONABLE MEN COULD NOT ARRIVE AT A CONTRARY VERDICT. WE SEE

 20   THAT IN WALLACE VERSUS METHODIST HOSPITAL SYSTEM, 271 FED. 3RD,

 21   212 AT PAGE 219, FIFTH CIRCUIT OF 2001.

 22                     AND THEN AGAIN LOOKING AT REEVES, THE SUPREME

 23   COURT SAID THAT NORMALLY BE GRANTED ONLY WHEN THERE'S NO

 24   LEGALLY SUFFICIENT EVIDENTIARY BASIS FOR A REASONABLE JURY TO

 25   FIND FOR THE PARTY ON AN ISSUE, ONE SET PARTY HAS BEEN FULLY


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  1   HEARD.

  2                      ND SO LOOKING AT CASES AND WHA THE COURT HAS

  3   TO DO IS, OF COURSE, SHOULD FIRST DRA ALL REASONABLE

  4   INFERENCES IN FAVOR OF THE NO MO EMENT, ELLIS VERSUS WEESLER,

  5   258 FED. 3RD, 326: GIVE CREDENCE TO EVIDENCE SUPPORTING

  6   MOVEMENT THAT IS UNCONTRADICTED AND UNIMPEACHED. AND THAT'S

  7   ELLIS VERSUS WEESLER, AND I'VE GOT TO SAY THAT THERE S ALMOST

  8   NO EVIDENCE IN THIS CASE IS UNCONTRADICTED OR UNIMPEACHED IN

  9   ONE WAY OR ANOTHER. AND THEN TAKE INTO ACCOUNT MOVANT'S BURDEN

 10   OF PROOF. THAT'S SET OUT IN THE HARSKO VERSUS KIRKEN CASE, 965

 11   FED. SUPP, 580, PAGE 584. THAT'S OUT OF THE DISTRICT COURT OF

 12   MARYL ND, PE NSYLVANIA, 1997. IT AS A PATENT CASE. AND GIVEN

 13   THE VARIOUS BURDENS OF PROOF IN A PATENT CASE, IT MAKES A LOT

 14   OF SENSE.

 15                     SO AS TO JUDGEMENT AS A MATTER OF LAW

 16   DR. TJADEN'S BURDEN OR DEFENDANT'S BURDEN WOULD HAVE BEEN ON

 17   ANTICIPATION WAS STILL CLEAR AND CONVINCING EVIDENCE. AND

 18   AGAIN, I'VE GOT TO SAY THAT WITH THE TESTIMONY PROVIDED BY

 19   MR. EATON, IT CERTAINLY SEEMED THAT A CASE FOR NTICIPATION

 20   MIGHT HAVE BEEN M DE. BUT, ON THE OTHER HAND, I'VE GOT TO TAKE

 21   INTO CONSIDERATION THAT I'VE READ THE GECSEI BOOK, HAD DONE A

 22   LOT MORE STUDY THAN WAS ACTUALLY JUST PRESENTED AT TRIAL. AND

 23   I'VE GOT TO LOOK WHEN I'M LOOKING AT THIS, WHAT WAS PRESENTED

 24   TO THE JURY. AGAIN, TO THE JURY THERE WERE P RTS OF THAT BOOK

 25   THAT ERE NOT CHARTED OR MENTIONED BY DR. TJADEN IN HIS


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  1   TESTIMONY. HE CHOSE TO USE SUMMARIES FOR THE STEPS TO EACH

  2   CLAIM RATHER THAN THE LANGU GE OF THE CLAIM ITSELF. THAT WAS

  3   CONFUSING, AND I MADE A NOTE THAT EVEN MR. TOUTON SEEMED TAKEN

  4   A LITTLE ABACK WHEN THAT FIRST WENT UP ON THE BOARD. THE JURY

  5   WAS INSTRUCTED THAT DIRECTV HAD TO PROVE BY CLEAR AND

  6   CONVINCING EVIDENCE EACH AND EVERY STEP OF A CLAIM WAS PRESENT

  7   IN THE GECSEI BOOK. HIS TESTIMONY USED SUMMARIES AND

  8   CONCLUSION AND ANIMATION THAT WAS NOT IN THE BOOK. NOW BRIEF

  9   USE IN ANIMATION CAN SOMETIMES EXPLAIN A DIAGRAM, BUT THOSE

 10   ANIMATED JELLY BEANS, FOR EXAMPLE, IN FIGURE 10.5 COULD ALSO BE

 11   SEEN AS JUST AN EXTRAPOLATION OR INTERPRETATION OF THE DI GRAM

 12   THAT WASN T IN THE BOOK ITSELF, WASN’T REALLY TAKEN FROM THE

 13   TEXT, A D IT MAY NOT HAVE BEEN CLEARLY AND CONVINCING OR IT

 14   WASN'T CLEARLY AND CONVINCING ESTABLISHED, IF THAT’S THE

 15   INTERPRETATION THAT ONE SKILLED IN THE ART PRIOR TO

 16   NOVEMBER 1991 WOULD HAVE DRAWN. AND, OF COURSE, THE JURY IS

 17   ENTITLED TO DISBELIEVE DR. TJADEN. THEY COULD DISCOUNT HIS

 18   CREDIBILITY CREDIBILITY BASED ON ANY NUMBER OF FACTORS,

 19   INCLUDING THE AMOUNT HE WAS PAID, THE AMOUNT OF TIME HE TOOK,

 20   ANY NUMBER OF FACTORS WHICH THEY’RE INSTRUCTED THEY CAN

 21   CONSIDER. AND THEY'RE ENTITLED TO CONSIDER THE ALTERNATE

 22   EXPLANATIONS FOR THE DIAGRAMS AND THE ANIMATED DIAGRAM GIVEN BY

 23   MR. EATON.

 24                     I'VE INDICATED MR. EATON’S TESTIMONY FROM THE

 25   COURT'S POINT OF VIEW MAY NOT HAVE BEEN CLEAR AND CONVINCING,


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  1   BUT THAT WASN'T HIS BURDEN. IT S WASN'T FINISAR'S BURDEN TO

  2   PROVE BY CLEAR AND CON INCING; IT WAS DEFENDANT'S BURDEN.

  3   TECHNICALLY, DEFENDANT PLAINTIFF COULD BE SILENT ON THAT

  4   ISSUE A D THE OTHER SIDE JUST MIGHT NOT M KE THE BURDEN AND

  5   COULD JUST TAKE HIM ON CROSS EXAMINATION. SO IN THE END

  6   DEFENDANT DIRECTV HAD THE BURDEN OF PROOF BY CLEAR AND

  7   CONVINCING EVIDENCE. THE JURY DIDN'T FIND THAT HE MADE IT

  8   THEY MET IT, AND THE COURT CAN'T POINT TO ANY EVIDENCE THAT WAS

  9   CLEAR AND CONVINCING OR SO OVERWHELMING REASONABLE JURY SHOULD

 10   HAVE FOUND OTHERWISE. MOTION FOR JUDGMENT AS A MATTER OF LAW

 11   ON THAT ISSUE IS DENIED.

 12                     THEN WE GO ON TO THE LATCHES. NOW, HERE THE

 13   JURY'S OPINION OR VERDICT IS ADVISORY. IT'S AN EQUITABLE

 14   DEFENSE, AND THE COURT HAS TO LOOK AT THE PARTICULAR FACTS AND

 15   CIRCUMSTANCES OF THIS CASE, WEIGH THE EQUITIES OF THE PARTIES.

 16   THAT'S THE AC HACKERM N COMPANY VERSUS KHCHAIDES CONSTRUCTION,

 17   960 FED. REPORTER 2D. 1020, FED CIRCUIT 1992. AND HERE DIRECTV

 18   WOULD HAVE HAD THE BURDEN TO PROVE TWO FACTORS: ON, DEFENDANT

 19   DELAYED FILING SUIT FOR UNREASONABLE LENGTH OF TIME, THE TIME

 20   PLAINTIFF KNEW OR SHOULD HAVE KNOWN OF ITS CLAIM AGAINST THE

 21   DEFENDANT, AND THE DELAY OPERATED A PREJUDICE OR INJURY TO

 22   DEFENDANT. THAT'S AT PAGE 1032 OF THE HACKERMAN CASE.

 23   MATERIAL PREJUDICE IS ESSENTIAL FOR A LATCHES DEFENSE, A D THEY

 24   TALK ABOUT THAT IN THE HACKERMAN CASE AT PAGE 1033.

 25   EVIDENTIARY PREJUDICE ARISES WHEN THE DELAY CAUSES DOCUMENTS TO


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  1   BE LOST, UNRELIABILITY OF MEMORY, DEATH OF WITNESSES, SO FORTH.

  2   ECONOMIC PREJUDICE ARISES IF THE DEFENDANT WOULD HAVE LOST

  3   MONETARY INVESTMENTS OR INCURRED DAMAGES WHICH COULD HAVE BEEN

  4   PREVENTED BY AN EARLIER SUIT.

  5                     NOW, THERE WAS SOME E IDENCE BY SAUS ILLE THAT

  6   HE BROUGHT THE PATENT TO THE ATTENTION OF HUGHES IN 1997 AND

  7   THEN SOME EVIDENCE BROUGHT OUT BY MR. SAVIKAS ON CROSS

  8   EXAMINATION THAT HE KNEW OR SHOULD HAVE BEEN ABLE TO FIGURE OUT

  9   THE DIRECTV SYSTEM INFRINGED. THAT WAS MAINLY BASED ON

 10   SUPPOSEDLY HOW SMART HE WAS. BUT THE PROBLEM HERE FROM THE

 11   JURY'S POINT OF VIEW AND THE COURT'S POINT OF VIEW IS

 12   DIRECTV'S LIKE BOTH PARTIES DID AND COUNSEL ARE ENTITLED TO

 13   DO, BUT I THINK YOU HAVE TO BE CAREFUL WHEN YOU'RE DOING THIS

 14   TO A JURY BECAUSE THEN THEY HAVE CONFLICTING EVIDENCE ARGUING

 15   BOTH SIDES OF THE ISSUE. FROM THE JURY S POINT OF VIEW AND

 16   FROM YOUR EVIDENCE ON BOTH SIDES AND IF THERE'S CONFLICTING

 17   EVIDENCE, JMOL CAN'T BE GRANTED. WE HAD A PROFESSOR FROM MIT

 18   EXPLAIN THAT DIRECTV'S METHOD WAS FAR DIFFERENT FROM THAT OF

 19   THE PATENT. AND ON THE OTHER SIDE SHOW THAT SAUSVILLE, WHO A

 20   SHORT TIME IN 1997 WAS EMPLOYED AS A SALESMAN FOR FINISAR,

 21   SHOULD HAVE INSTANTLY KNOWN OF THE INFRINGEMENT. WHEN YOU'VE

 22   GOT THAT KIND OF CONFLICT, THE COURT CAN'T FAULT THE JURY FOR

 23   FAILING TO FIND LATCHES, AND AS A MATTER OF EQUITY THE COURT

 24   DOESN'T FIND THE ARGUMENT VERY CONVINCING. DIRECTV ALSO ARGUED

 25   THAT FINISAR COULD HAVE BROUGHT A SET TOP BOX, ANALYZED THE


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  1   SYSTEM TO DETERMINE INFRINGEMENTS, A D TH T RAISES THE QUESTION

  2   IS: ARE PATENT HOLDER REQUIRED TO SSUME THAT TECHNOLOGY

  3   ASSOCIATED WITH THEIR FIELD IS INFRINGING, INVESTIGATE IT AND

  4   TAKE ACTION? THE MERE USE OF SATELLITES AND TV DOESN'T MAKE IT

  5   INFRINGING OR EVEN USE FOR PROGRAM DAT .

  6                     THE SIX-YEAR PRESUMPTION DOESN'T REALLY HELP

  7   DIRECTV. JUST LIKE MOST PRESUMPTIONS, IT'S A BURSTING BUBBLE

  8   PRESUMPTION. E SEE THAT AT 960 FED. 2D. AT 1037 THERE IN THE

  9   HACKERMAN CASE. WE HAVE SAUSVILLE, LEVINSON, AND RAWLS SAYING

 10   THEY DIDN'T KNOW OF THE POSSIBLE INFRINGEMENT UNTIL THE TIME

 11   WITHIN THE SIX YEARS BEFORE SUIT. YES, THERE WAS SOME CROSS

 12   EXAMINATION OF THEM, BUT THERE'S NO REAL BASIS TO FIND THEY'RE

 13   NOT CREDIBLE.

 14                     THE LETTER WAS SENT IN 2004 AND THEN SOME 400

 15   DAYS LATER SUIT WAS FILED, SO AGAIN, LOOKING AT BURDENS OF

 16   PROOF HERE, MAYBE FINISAR COULD HAVE KNOWN ABOUT THE

 17   INFRINGEMENT; BUT IT'S JUST AS LIKELY THAT THEY DIDN'T AND

 18   SHOULD NOT HAVE. SO THE COURT FINDS IT'S NOT BEEN SHOWN BY A

 19   PREPONDERANCE OF THE EVIDENCE AND CERTAINLY NOT TO ANY HIGHER

 20   STANDARD OF PROOF THAT FINISAR KNEW OF POTENTIAL INFRINGEMENT

 21   BY DIRECTV PRIOR TO 2003 AND FINDS IT'S NOT BEEN SHOWN BY A

 22   PREPONDERANCE OF THE EVIDENCE.

 23                     MORE IMPORTANTLY, IN THE ISSUE OF ECONOMIC

 24   PREJUDICE, WHICH IS ANOTHER ISSUE, THERE'S NO REAL EVIDENCE OF

 25   ECONOMIC PREJUDICE. THERE WAS TESTIMONY OF SUPPOSEDLY TWO


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  1   INEXPENSIVE ALTERNATIVES. SUPPOSEDLY THEY COST ABOUT $800,000

  2   TOTAL. IT COULD HAVE BEEN USED. BUT THERE WAS NO TESTIMONY

  3   WHY THEY WEREN'T USED OR WHY THEY WOULD HAVE BEEN IT WOULD

  4   BE MORE EXPENSIVE TO USE THEM NOW THAN IT WOULD HAVE BEEN BACK

  5   THEN. THE COURT CAN IMAGINE THAT WAS TRUE, BUT I DIDN'T HEAR

  6   ANY TESTIMONY ABOUT THAT FROM THE DEFENDANT. THE DEFENDANT'S

  7   BEEN MAKING GOOD PROFITS. NOTHING INDICATES THEY CAN'T

  8   CONTINUE MAKING GOOD PROFITS AND GOOD REVENUES, EVEN IF THERE

  9   WAS A COMPULSORY LICENSE. AND SO NO REAL EXPLANATION ABOUT WHY

 10   THERE HAVE BEEN ECONOMIC PREJUDICE IF THIS HAD BEEN BROUGHT UP

 11   AT THE DAY THAT THE PATENT WAS ISSUED OR YEAH, THE DAY THE

 12   PATENT ISSUED. AND THEN EVIDENTIARY PREJUDICE, YOU GET INTO

 13   WHERE DOCUMENTS AND WITNESSES AND SO FORTH WHERE THERE WAS SOME

 14   HINT BY MS. FERGUSON OF DOCUMENTS BEING HARD O FIND AND SOME

 15   COPIES OF DOCUMENTS BEING A LITTLE DIFFERENT, BUT SHE NEVER

 16   TESTIFIED, FOR EXAMPLE, THAT THERE WAS A DOCUMENT DISPOSAL

 17   PROGRAM IN PLACE OR BEEN A FIRE THAT DESTROYED A BUNCH OF

 18   DOCUMENTS. YES, THERE'S BEEN SOME CHANGE OF CORPORATION, BUT

 19   YOU'D EXPECT KEY DOCUMENTS WOULD BE KEPT. NO TESTIMONY ABOUT

 20   KEY WITNESS BEING MISSING. WE HAD TESTIMONY FROM THE FIRST CEO

 21   OR PRESIDENT, MR. HARTENSTEIN. WE HAD MS. FERGUSON, WHO WAS

 22   THERE FROM THE BEGINNING, SHE SAID, IN HER JOB IN MARKETING.

 23   AND THEN ROBERT ARCENEAU, I BELIEVE, WHO HAD TESTIFIED THAT HE

 24   WAS THERE FROM AT LEAST 1992, AND HE WAS RESPONSIBLE FOR THIS

 25   PROGRAMMING. AND I THINK THAT HE PUT HIMSELF THE ULTIM TE


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  1   AUTHORITY OR THE BSOLUTE AUTHORITY ON THE SYSTEM. SO THERE'S

  2   NO INDICATION THAT NY DELAY, EVEN IF THERE H D BEEN A LONG

  3   DELAY, WOULD SOMEHOW PREJUDICE DIRECTV. SO THEN DIRECTV

  4   DOESN'T MEET IT'S BURDEN ON THIS.             D THE JURY WASN'T

  5   CONVINCED, D MORE IMPORTANTLY, NEITHER IS THE COURT. SO, THE

  6   MOTION FOR SUMMARY -- ANY MOTION FOR SUMMARY JUDGMENT AND THE

  7   JUDGMENT AS MATTER OF LAW ON LATCHES ARE DENIED.

  8                     NOW, WE THEN GET INTO THE INDUCED INFRINGEMENTS,

  9    ND IN LIGHT OF THE FINDING OF DIRECT INFRINGEMENT BY THE JURY

 10   MAY BE MOOT. THE BURDEN ON THIS ISSUE IS ON FINISAR BY A

 11   PREPONDERANCE OF THE EVIDENCE. AND THERE WAS AMPLE EVIDENCE OF

 12   JOINT I FRINGEMENT BY THE N MED DEFEND NTS. BUT THE COURT

 13   CONCLUDES INSUFFICIENT EVIDENCE AS TO ANYBODY OTHER TH N THE

 14   N MED DEFEND NTS BEING INVOLVED IN ANY TYPE OF INFRINGEMENT.

 15   SO THE COURT CONCLUDES THERE IS NO LEG LLY SUFFICIENT BASIS FOR

 16   A JURY TO FIND INDUCED INFRINGEMENT AS WHO WAS INDUCED OTHER

 17   TH N THE NAMED DEFENDANTS ALREADY. SO THE DEFENDANT S MOTION

 18   FOR JMOL ON INDUCED INFRINGEMENT IS GR NTED. AGAIN, THE COURT

 19   RECOGNIZES THIS MAY BE MOOT. AND SIMILARLY, AS TO THE

 20   CONTRIBUTORY INFRINGEMENT, FINISAR HAS THE BURDEN BY A

 21   PREPONDERANCE OF THE EVIDENCE. AMPLE EVIDENCE OF JOINT

 22   INFRINGEMENT OF THE NAMED DEFEND NTS. INSUFFICIENT EVIDENCE AS

 23   TO ANYBODY OTHER TH N THE NAMED DEFEND NTS BEING INVOLVED. NO

 24   RE L EVIDENCE OF A SALE OF AN ITEM OR METHOD THE ALLOWED

 25   SOMEONE ELSE TO INFRINGE. ND SO, AGAIN, THE COURT CONCLUDES


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  1   THERE IS LEGAL INSUFFICIENT THERE IS NO LEG LLY SUFFICIENT

  2   THAT A JURY FIND CON RIBUTORY INFRINGEMENT. DEFENSE MOTION FOR

  3   JMOL ON CONTRIBUTORY INFRINGEMENT IS GRANTED.

  4                    NOW, ILLFUL INFRINGEMENT, DEFENDANT HAS A J OL

  5   ON TH T. HERE, THE BURDEN IS ON THE DEFENDANT TO PROVE BY

  6   CLEAR AND CONVINCING EVIDENCE. AND THE COURT HAS TO BE MINDFUL

  7   OF VARYING DEGREES OF WILLFULNESS RANGING FROM WHAT YOU MIGHT

  8   TALK ABOUT AS A NEGLIGENT DISREGARD OF PATENT HOLDER S RIGHTS

  9   CHOOSING NOT TO INVESTIGATE TOO CLOSELY OR QUICKLY TO A

 10   DELIBERATE VIOLATION OF THOSE RIGHTS, DELIBERATELY COPYING,

 11   STEALING EMPLOYEES, STEALING DOCUMENTS. A D IT'S TAKEN FROM

 12   THE VIRGINIA PANEL CORPORATION VERSUS M CK PANEL COMPANY, 133

 13   FED. 3RD. 860, FIFTH CIRCUIT, 1997. IT'S SPECIFICALLY AT PAGE

 14   867 AND ALSO AT NOTE 4 ON PAGE 867.

 15                     NOW, THE FACTORS THAT THE COURT SHOULD LOOK T

 16   TO SEE IF THERE WAS LEGALLY INSUFFICIENT EVIDENCE AS SET OUT

 17   BASICALLY IN THE JURY INSTRUCTIONS IS WAS THE INFRINGER              ND

 18   THIS IS ON WILLFUL DID THE INFRINGER DELIBERATELY COPY THE

 19   IDEAS OF ANOTHER, DID THEY DELIBERATELY COPY THE IDEAS OF

 20   ANOTHER? NO EVIDENCE OF THAT. IF THERE HAD BEEN, IT WOULD

 21   INDICATE A MORE SEVERE FORM OF INFRINGEMENT INVOLVING KNOWING

 22   VIOLATION AT THE VERY ST RT. THIS FACTOR IS IN DIRECTV'S

 23   FAVOR. WHETHER THE INFRINGER ONLY KNEW THE OTHER THE

 24   OTHER'S PATENT PROTECTION INVESTIGATED THE SCOPE OF THE PATENT

 25   AND FORMED A GOOD FAITH BELIEF THAT IT WAS INVALID OR NOT



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  1   INFRINGED. THERE W S SOME EVIDENCE ON THIS, BUT CLE RLY THE

  2   LETTER WAS SENT IN 2004. MR. CROOK SEEMED WELL QUALIFIED IN

  3   THE FIELD OF PATENT LAW, NEVER EXPLAINED HOW HE HIMSELF OR HIS

  4   DIRECT STAFF DETERMINED THE INFRINGEMENT. THERE'S AN

  5   INDICATION HE THOUGHT THERE WAS NO INFRINGEMENT, BUT CLEARLY

  6   THERE'S NO EVIDENCE ABOUT WHY HE MIGHT HAVE THOUGHT IT WAS

  7   INVALID OR INDEFINITE. IT SEEMED LIKE HE WOULD HAVE BEEN WELL

  8   QUALIFIED, BUT AS SET OUT IN EARLY HEARINGS AND EARLIER

  9   RULINGS, DIRECTV CHOSE NOT TO LIST HIM AS AN EXPERT, CHOSE NOT

 10   TO PROVIDE ANY OPINIONS HE MIGHT HAVE AS A WILLFULNESS OPINION.

 11   AND THERE MAY HAVE BEEN GOOD TACTICAL REASONS TO DO THIS, SUCH

 12   AS NOT WANTING TO WAIVE THE ATTORNEY-CLIENT PRIVILEGE; BUT

 13   THAT'S DEFENDANT'S CHOICE. WHEN YOU MAKE TACTICAL CHOICES IN A

 14   CASE LIKE THIS, AND YOU WANT TO PROTECT SOME THINGS, YOU LOSE

 15   THE OPPORTUNITY TO USE THAT. NOW, HE DID TESTIFY ABOUT

 16   CONTACTING OUTSIDE COUNSEL. THAT PROCESS WASN'T PARTICULARLY

 17   QUICK. THERE WAS SOME EXPLANATION. TAKE OVER DIRECTV, SH KE

 18   UP AT THE LAW FIRM, BUT THAT'S NOT ENOUGH TO OVERTURN THE

 19   JURY'S VERDICT ON WILLFULNESS. AND THERE IS EVIDENTLY THERE

 20   WAS NEVER ANY REAL INVESTIGATION OR OPINION ON VALIDITY. THE

 21   OUTSIDE FIRM DIDN'T LOOK AT THAT, A D THAT WAS REALLY WHEN

 22   THE COURT HAS BEEN CALLING THIS CASE CLOSE, THAT S WHAT WAS

 23   CLOSE. YOU REM) THAT OPINION, I'M SORRY, RE THAT PATENT ND

 24   YOU RIGHT AWAY I MEAN, I THINK ANYBODY LOOKS AT THAT AND

 25   SAYS THAT SEEMS TO HAVE SOMETHING TO DO WITH SATELLITE TV OR


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  1   CABLE TV OR TH T KIND OF THING. AND ON THE OTHER HAND, YOU

  2   THINK THIS HAS BEEN GOING ON FOR YEARS BEFORE 1995. SURELY

  3   THERE'S SOMETHING, I MEAN, ODD ABOUT THIS. BU THAT'S WHAT I

  4   MEAN BY CLOSE, WHEN YOU TAKE A FIRST LOOK AT IT AND YOU LISTEN

  5   TO THE ANTICIP TION OF EVIDENCE AND ALL, IT'S CLOSE, BUT

  6   INFRINGEMENT WASN'T, WHEN YOU GET INTO WILLFULNESS, I HEARD

  7   VIRTUALLY NO TESTIMONY T ALL ON THE PART OF DIRECTV TH T THEY

  8   REALLY INVESTIGATED WHAT WOULD LOGICALLY SEEM TO HAVE BEEN

  9   THEIR GOOD DEFENSES, INVALIDITY, INDEFINITENESS. SO THIS

 10   FACTOR H S TO BE IN FINISAR'S FAVOR IN DECIDING WILLFULNESS.

 11                     WHETHER DIRECTV HAD A SUBSTANTIAL DEFENSE ON

 12   INFRINGEMENT, I REASONABLY BELIEVE THE DEFENSE WOULD BE

 13   SUCCESSFUL IF LITIGATED, AND THERE WERE DEFENSES TO THE CLAIMS.

 14   DEFINITENESS ON MANY CLAIMS IS GRANTED. INFRINGEMENT ISSUE IS

 15   VERY HARD TO DEFEND. ANTICIPATION, OBVIOUS DEFENSES MIGHT

 16   WITH A DIFFERENT PRESENTATION OR DIFFERENT CROSS EXAMINATION

 17   MIGHT HAVE CONVINCED SOME JURIES. BUT, THE PREMISE IS

 18   CONSIDERING THE PREVIOUS CONSIDERATION, THERE W SN'T EVIDENCE

 19   THAT THIS WAS ACTUALLY CONSIDERED OR DECIDED BY DIRECTV.

 20   MR. CROOK MAY HAVE MADE THE DECISION. NO DISCUSSION THAT

 21   MANAGEMENT LOOKED AT IT, EVALUATED IT, WEIGHED COST BENEFIT OR

 22   ANYTHING LIKE THAT. THIS ONE, THIS FACTOR TIL S TOWARD

 23   FINIS R.

 24                      HETHER DIRECTV MADE A GOOD FAITH EFFORT TO

 25   AVOID INFRINGING A PATENT, FOR EXAMPLE, BY TAKING REMEDIAL


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  1   ACTION BY CEASING INFRINGING ACTIVITY OR ATTEMPTING TO GO

  2   AROUND THE PATENT, NO EVIDENCE OF ANY ATTEMPT TO AVOID

  3   INFRINGEMENT. THERE WAS SOME TESTIMONY ABOUT SOME FAIRLY CHEAP

  4   ALTERNATIVES GOING AS HIGH AS $800,000, BUT NO EVIDENCE THEY

  5   WERE IMPLEMENTED, NO EVIDENCE BY M NAGEMENT OR MR. CROOK OR

  6   ANYBODY SAT DOWN AND SAID, WELL, WE'VE GOT THESE IMPLEMENT

  7   OR THESE ALTERNATIVES, BUT IF WE ADOPT THEM, THEY'LL IMPOSE

  8   THESE COSTS OR MAKE THIS SERVICE THIS MUCH WORSE OR IT WILL

  9   CAUSE OUR VIEWERS THESE PROBLEMS. NO LIKELIHOOD OF ANALYSIS

 10   OF, WELL, WE'VE GOT AN 80 PERCENT CHANCE OF PREVAILING ON

 11   INVALIDITY, SO WE'VE GOT A WE DON'T REALLY NEED TO TAKE

 12   THESE EFFORTS. NO COST BENEFIT ANALYSIS, SO GAIN THIS

 13   FAVOR THIS FACTOR, I'M SORRY, MAKING A GOOD FAITH EFFORT TO

 14   AVOID INFRINGING THE PATENT AT TILTS TOWARDS FINISAR.

 15                     WHETHER DIRECTV TRIES TO COVER UP ITS

 16   INFRINGEMENT, NO EVIDENCE OF COVER UPS. THEY KEPT ON WITH THE

 17   S ME PROCEDURES THEY LW YS USED. THEY TOOK SOME TIME IN

 18   GETTING THEIR OPINIONS, BUT THAT'S NOT THE SAME AS A COVER UP.

 19   THERE IS NO INDICATION OF HIDING OR DESTROYING DOCUMENTS. TV

 20   WAS OUT, ND THAT THEY THEMSELVES DIRECTV POINTS OUT, DIDN'T

 21   MEAN THAT, YOU KNOW, SET TOP BOXES ARE THERE, BUT CLEARLY

 22   LOOKED AT. SO THAT O E FAVORS DIRECTV.

 23                     WHETHER DIRECTV WOULD HAVE GONE ON A LEGAL

 24   OPINION THAT APPEARED TO BE ELL SUPPORTED AND BELIEVABLE, THE

 25   DEVISED METHOD IS NOT INFRINGED OR IT WAS INVALID, YES, THERE


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  1   WAS N OPINION. IT CAME AFTER THE LAWSUIT WAS FILED. AND NO

  2   DISCUSSION OF AN OPINION OR DISCUSSION BY MANAGEMENT OR MR.

  3   CROOK EARLIER WHEN THEY FIRST GOT THAT LETTER. SO THERE S SOME

  4   REASONABLE EFFORT ON INFRINGEMENT, BUT NONE ON ANALYSIS AND

  5   VALIDITY. SO, THE COURT CONCLUDES THE WILLFULNESS HERE IS NOT

  6   THE DIRECT COPYING AND DELIBERATELY STEALING OF IDEAS OR

  7   PIRATING OF EMPLOYEES OR SOMETHING LIKE THAT KIND OF

  8   WILLFULNESS; BUT CONSIDERING THE FACTORS THAT ARE SUPPOSED TO

  9   BE CONSIDERED AND THE ONES THAT ARE SET UP FOR THE JURY, THERE

 10   WAS LEGALLY SUFFICIENT EVIDENCE FOR A JURY TO FIND WILLFULNESS.

 11   AND SO THE JUDGMENT, AS A MATTER OF LAW, IS DENIED.

 12                     THE JMOL AND OBVIOUSLY BOTH SIDES MOA ED TO

 13   THAT, AND THAT'S PRETTY CLOSE TO THE ANALYSIS ON ANTICIPATION

 14   THAT I JUST GAVE. DIRECTV HAD THE BURDEN BY CLEAR AND

 15   CONVINCING EVIDENCE. IT SEEMED THAT THERE WAS A DISCUSSION OF

 16   COMBINING REFERENCES AND ESPECIALLY THE MOTIVATION FOR DOING

 17   THE COMBINATION WAS NEITHER CLEAR NOR CONVINCING. THE BEST

 18   EVIDENCE TO MOTIVATE TO COMBINE WAS PROBABLY WHAT CAME FROM

 19   MR. EATON, AND HIS INFERENCE OF WHAT WAS GOING ON WITH VIDEO

 20   TEXT. BUT THE JURY IS ENTITLED TO CREDIT HIS DENIAL OF

 21   OBVIOUSNESS OVER THE TESTIMONY OF DIRECTV'S WITNESSES, NO REAL

 22   ATTEMPT WAS MADE TO USE EATON BY DEFENDANT FOR THAT PURPOSE.

 23                     THEN WE HAVE THESE SHORTHA D SUMMARIZATION OF

 24   STEPS IN THE CLAIM. THAT'S A LITTLE CONFUSION THERE, AND NO

 25   REAL SHOWING THAT THESE ANIMATIONS AND SO FORTH WOULD HAVE BEEN


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  1   OBVIOUSLY SOMEONE SKILLED IN THE ART. ND, YEAH, THE

  2   PERFUNCTORY QUESTION IS ASKING IS HE GOING TO TESTIFY WHAT

  3   SOMEONE SKILLED IN THE ART BACK THEN SHOULD HAVE KNO N. BUT

  4   IT S GOT TO BE CLEAR AND CONVINCING, NOT JUST A PERFUNCTORY

  5   LOSS OR AGAIN, THE COURT FINDS WHEN YOU HAVE A BURDEN OF

  6   PROOF THAT CLEAR AND CONVINCING EVIDENCE THERE WAS CONFLICTS IN

  7   THE EVIDENCE, AND THERE’S JUST INSUFFICIENT EVIDENCE FOR THE

  8   COURT TO CONCLUDE THAT NO REASONABLE JURY COULD HAVE FOUND THE

  9   WAY THEY DID ON OBVIOUSNESS. SO THAT JMOL IS DENIED.

 10                     NEXT WE TAKE A LOOK AT DAMAGES. NOW HERE UNDER

 11   35 USC 284, THE COURT MAY ENHANCE DAMAGES UP TO THREE TIMES.

 12   AMD IN GENERAL WHEN A JURY FINDS WILLFUL ENHANCEMENT, AN

 13   ENHANCEMENT OF DAMAGES IS APPROPRIATE. THAT'S SET OUT IN

 14   RECORPORATION VERSUS PORTEC INC. CASE, AND WE SEE THAT AT 970

 15   FED. 2D. 816, PAGES 826, 827. THAT WAS AGGREGATED ON THE

 16   GROUNDS BY THE BACHMAN VERSUS WESTVIEW INSTRUMENTS CASE WITH A

 17   NINE FACTOR THAT'S SET OUT IN REED, BUT THAT NINE FACTOR

 18   ANALYSIS HAS BEEN APPROVED AFTER MARKMAN IN SUCH CASES, SUCH AS

 19   ODETICS VERSUS STORAGE TECHNOLOGY, 185 FED. 3RD. 1259 AT 1274

 20   FED. CIRCUIT 1999, SO THE COURT WILL USES THOSE THAT

 21   NINE-POINT ANALYSIS. AND A LOT OF THIS ISN’T COVERED UNDER THE

 22   WILLFULNESS, BUT WHETHER AN INFRINGER DELIBERATELY COPIED THE

 23   IDEAS OF ANOTHER, NO EVIDENCE OF THAT. THAT FACTOR TENDS

 24   TOWARD DIRECTV. WHETHER THE INFRINGER KNEW OR WHETHER THE

 25   INFRINGER WHEN HE KNEW OF THE OTHER'S PATENT PROTECTION


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  1   INVESTIG TED THE SCOPE OF THE PATENT AND FORMED GOOD FAITH

  2   BELIEF THAT IT WAS INVALID OR NOT INFRINGED, AND THIS IS THE

  3   SAME ANALYSIS I DID BEFORE IN FACTOR TWO OF WILLFUL ANALYSIS.

  4   AND FOR THE SAME REASONS STATED, THIS FACTOR SUPPORTS

  5   ENHANCEMENT. THERE WAS SOME INVESTIGATION OVER A LONG PERIOD

  6   OF TIME OR REL TIVELY LONG PERIOD OF TIME OF INFRINGEMENT NO

  7   AN INVALIDITY.

  8                     THE INFRINGER'S BEHAVIOR AS A PAR Y TO

  9   LITIGATION, BOTH SIDES WORKED HARD TO REPRESENT THEIR

 10   INTERESTS, THE COUNSEL PROFESSIONAL ON BOTH SIDES. BOTH SIDES

 11   AT VARIOUS TIMES ATTEMPTED TO AVOID OR DELAY DISCLOSURE OF

 12   EVIDENCE. BUT THE COUR PERCEIVED THAT NOT AS A BAD FAITH, BUT

 13   JUS BASED ON TECHNICAL DECISIONS OF THE LAWYERS, WHICH AS THE

 14   COURT MENTIONED IN AN EARLIER RULING IS CONSIDERED IMPORTANT IN

 15   PATENT CASES. AND THAT WAS DEALT WITH BY THE EXCLUSION OF

 16   LIMITATION OF EVIDENCE. AND SO THIS COURT FINDS THAT THAT

 17   FACTOR IN THIS CASE DOESN'T SUPPORT ENHANCEMENT.

 18                     DEFENDANT'S SIZE AND FINANCIAL CONDITION, BOTH

 19   COMPANIES IN THIS CASE ARE LARGE AND WELL-FUNDED. IT'S TRUE

 20   DEFENDAN S PROBABLY L RGER THAN FINISAR. NO SHOWING THAT

 21   SOMEHOW HANDICAPPED FINISAR OR THAT SOMEHOW DEFENDANT TOOK

 22   UNFAIR ADVANTAGE OF THEIR COMBINED SIZE. THE FACT THAT THEY

 23   HAVE MERELY THE FACT THAT THEY'RE BIG AND HAVE A LOT OF

 24   MONEY IS REALLY NOT CONSIDERED A REASON TO IMPOSE ADDITIONAL

 25   DAMAGES. AND IT COULD BE, BUT THE AMOUNT OF DAMAGES WE'RE


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  1   TALKING BOUT IN THIS CASE, WHAT PEOPLE TALKED ABOUT WAS 79

  2   MILLION IS NOT VERY MUCH. I GUESS AS ONE OF MY PARTNERS USED

  3   TO SAY: A WHOLE LOT BETTER THAN A POKE IN THE EYE OF A SHARP

  4   STICK. WE'RE TALKING ABOUT A LOT OF MONEY HERE; AND YEAH,

  5   MAYBE NOT A LOT COMPARED TO 1.6 BILLION. BUT I THINK IT'S

  6   IMPORTA T TO GET DOWN TO REALITY. THERE'S A LOT OF MONEY

  7   INVOLVED HERE, EVEN FOR A LARGE CORPORATION.

  8                     THE CLOSENESS OF THE CASE, CLOSENESS OF THE

  9   THE CASE WAS CLOSE ON SEVERAL ISSUES. INFRINGEMENT WASN T A

 10   CLOSE C LL PARTICULARLY IN THE COURT'S VIEW, BUT ANTICIPATION

 11   AND OBVIOUSNESS WERE CLOSE. WILLFULNESS FELL SOMEWHERE IN

 12   BETWEEN. THIS FACTOR DOESN'T STRONGLY SUPPORT AN ENHANCEMENT

 13   OR A MAJOR E HA CEMENT. THE DURATION OF THE DEFENDANT'S

 14   MISCONDUCT, IT'S UNCONTESTED DIRECTV HAS BEEN USING THE METHODS

 15   SINCE THE PATENT WAS ISSUED. BUT WHAT'S MORE IMPORTANT THERE'S

 16   NO EVIDENCE OF ANY ATTEMPT TO CHANGE AFTER GETTING THE LETTER

 17   IN 2004 OR OF ANY ATTEMPT TO DO A REAL RISK ANALYSIS ON AN

 18   INFRINGEMENT CLAIM OR COST BENEFIT ANALYSIS OF THE ALTERNATIVE

 19   CONTINUING. THOSE WERE JUST WENT ON BUSINESS AS USUAL. NOW,

 20   MR. CROOK DID SOME THINGS, BUT NOTHING NO DISCUSSION OF

 21   MANAGEMENT GETTING TOGETHER AND AGAIN DOING A REAL SOLID

 22   ANALYSIS OF WHAT WAS GOING ON. SO THIS FACTOR DOES SUPPORT

 23   SOME ENHA CEMENT. THE REMEDIAL ACTION BY THE DEFENDANT, AFTER

 24   THE 2004 LETTER THERE WAS NONE. SO, THIS FACTOR WOULD SUPPORT

 25   ENHANCEMENT.



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  1                     DEFENDANT'S MO IV TION FOR HARM, NO EVIDENCE OF

  2   A DELIBERATE PLAN TO HARM FINISAR. DIRECTV WAS OPERATING

  3   BEFORE PATENT WAS ISSUED. THIS FACTOR DOES NOT SUPPORT

  4   ENHANCEMENT. WHETHER DEFENDANT ATTEMPTED TO CONCEAL ITS

  5   CONDUCT, NO ATTEMPT BY DIRECTV TO CONCEAL WHAT THEY WERE DOING.

  6   SO THAT ONE GOES IN DIRECTV'S FAVOR.

  7                     NOW THE POLICY OF SECTION 284 IS TO FULLY

  8   COMPENSATE PLAINTIFF AND TO REMOVE ANY INCENTIVE TO INFRINGE IN

  9   THE HOPE THAT THE ONLY DOWNSIDE IS GOING TO BE A JUDGMENT THAT

 10   MERELY IMPOSES A REASONABLE ROYALTY. THAT POLICY IS DISCUSSED

 11   IN A LOT OF THE AUTHORITIES AND IN SOME OF THE CASES. SO YOU

 12   GOT A CASE OF CLEAR WILLFUL IN THAT CASE OF A CLEAR, WILLFUL

 13   INFRINGEMENT AND THERE IS LOW ACTUAL DAMAGES, AN AWARD UP TO

 14   THREE TIMES MIGHT FULLY IMPLEMENT CONGRESS'S POLICY TO DETER

 15   INFRINGEMENT TO FULLY COMPENSATE THE INVENTOR. IT CAN T

 16   REASONABLY BE ARGUED HERE THERE'S NO COPYING OR STEALING OF

 17   IDEAS AND NO ABUSE BY THE INFRINGER THAT WHERE INFRINGERS

 18   ARE FOR EXAMPLE, $400 MILLION OVER THE TIME OF THE

 19   INFRINGEMENT AND THE DAMAGE AWARD, FOR EXAMPLE, THE JURY COME

 20   BACK WITH, SAY, A BILLION DOLLARS NEITHER OF THOSE NUMBERS

 21   ARE WHAT WAS ASKED FOR IN THIS CASE IF SOME KIND OF BLIND

 22   DOUBLING OR TREBLING WOULD BE ANYTHING BUT AN UNJUSTIFIED

 23   TRANSFER OF WEALTH. SO, THE COURT HAS TO CONSIDER NOT JUST

 24   PERCENTAGES OF HOW MUCH ENHANCEMENT THERE WOULD BE, BUT THE

 25   ABSOLUTE DOLLARS INVOLVED. IT'S EASY TO SAY I'LL JUST DOUBLE


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  1   IT. ELL, AT THE $100,000 LEVEL, TH T'S ONE THING. AT THE $79

  2   MILLION LEVEL, THAT'S SOMETHING ENTIRELY DIFFERENT. THERE HAS

  3   TO BE SOME C REFUL ANALYSIS OF THAT. WE HAVE SUBSTANTI L

  4   D MAGES AWARD BY THE JURY. ON THE OTHER HAND, DIRECTV'S

  5   METHODS RESULTS IN SUBSTANTIAL REVENUE. EVEN THOUGH IT HAS

  6   SUBST NTI L COSTS, WHICH RESULTS IN A HE LTHY PROFIT ND LIKELY

  7   GOING TO BE EVEN MORE PROFIT BLE IN THE FUTURE.

  8                     IF YOU HAVE A JURY FINDING OF ILLFULNESS, THE

  9   COURT IS SAID BY LEGAL AND SUFFICIENTLY EVIDENCE, YOU HAVE

 10   UNEXPLAINED DELAY IN INVESTIGATION OF ND CONSIDERATION OF

 11   INFRINGEMENT, AND MORE IMPORTANTLY, INVALIDITY, GREAT DE L OF

 12   INCOME, ALTHOUGH ACCOMP NIED BY A VERY HIGH COST OPERATION. SO

 13   THE COURT IS FACED WITH IMPLEMENTING THE TWIN POLICIES OF

 14   DETERRING INFRINGEMENT, ESPECI LLY WILLFUL INFRINGEMENT, FULLY

 15   COMPENSATING FINIS R FOR USE OF ITS INVENTION DESCRIBED IN THE

 16   SEVEN CLAIMS IN ISSUE.

 17                     SO, BASED ON ALL OF THAT, THE COURT IS GOING TO

 18   ORDER N ENH NCEMENT AND FIND AN ENHANCEMENT IS REASON BLE IN

 19   THIS CASE BASED ON THE FACTORS THAT THE THE COURT HAS JUST

 20   SET OUT OF $25 MILLION. ND THAT'S A LITTLE BIT MORE TH N

 21   30 PERCENT OF THE DAMAGES FOUND BY THE JURY. BUT AGAIN, IT'S

 22   NOT -- AS I SAID BEFORE, I M NOT DOING THIS ON JUST               BLIND

 23   PERCENTAGE BASIS. I'M TRYING TO LOOK AT THE TOTAL ABSOLUTE

 24   NUMBERS LSO ON TH T.

 25                     NO , THE NEXT QUESTION IS UNDER 35 USC, SECTION


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  1   285, THE COURT GAN AW RD REASONABLE ATTORNEY'S FEES TO THE

  2   PREVAILING PARTY IN AN EXCEPTIONAL CASE. THIS IS A TWO-STEP

  3   PROCESS. FIRST, THE DISTRICT COURT HAS TO DETERMINE IF THE

  4   CASE WAS EXCEPTIONAL. AND HERE THE PREVAILING PARTY HAS THE

  5   BURDEN OF PROOF BY CLEAR AND CONVINCING EVIDENCE. THAT'S SET

  6   OUT IN PERRICONE VERSUS MEDICIS PHARMACEUTICAL COMPANY, 432

  7   FED. 3RD. 1368 AT 1380, FIFTH CIRCUIT 2005.

  8                     AFTER DETERMINING THE CASE IS EXCEPTIONAL,

  9   DISTRICT COURT HAS TO DETERMINE WHETHER TTORNEY'S FEES ARE

 10   APPROPRIATE. WE SEE THAT ALSO IN THE PERRICONE CASE AND IN THE

 11   CYBER CORPORATION VERSUS FAX TECHNOLOGIES, 138 FED. 3RD. 1448,

 12   PAGE 1460, FIFTH CIRCUIT 1998. NOW, THAT THEY'RE SERIOUSLY

 13   DECLARING A CASE EXCEPTIONAL AND WITH WILLFUL INFRINGEMENT, BAD

 14   FAITH, LITIGATION MISCONDUCT, UNPROFESSIONAL BEHAVIOR. YOU SEE

 15   THAT T NQ VERSUS C CHANGE. THAT S AT 436 FED. 3RD 1317-1319,

 16   FIFTH CIRCUIT 2006. AND THEN OTHER CRITERIA INCLUDE THE DEGREE

 17   OF CULPABILITY, CLOSEST TO THE QUESTIONS, LITIGATIO BEHAVIOR,

 18   AND OTHER FACTORS WHERE FEE SIFTING MAY SERVE AS INSTRUMENT OF

 19   JUSTICE. SEE THAT IN NATIONAL PRESTO INDUSTRIES, INC., VERSUS

 20   WEST BEND COMPANY, 76 FED. 3RD, 1185, 1197, FIFTH CIRCUIT 1996

 21   AND ALSO BROOK TREE VERSUS ADVANCED MICRO DEVICES, INC., 977

 22   FED. 2ND. 1555, PAGE 1582, FIFTH CIRCUIT 1992.

 23                     AND THE COURT LOOKS AT THE S. C. JOHNSON & SON,

 24   INC., VERSUS CARTER WALLACE, INC., TALKING ABOUT PAGE 781 FED.

 25   2ND. 198, PAGE 201, FIFTH CIRCUIT 1986. WELL, TH T'S NOW



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  1   GOING TO BE AN OLDER CASE. EVEN AN EXCEPTIONAL CASE DOESN'T

  2   REQUIRE IN LL CIRCUMSTANCES TO BE WARDED ATTORNEY'S FEES, AND

  3   THEY GOING OVER SOME FACTORS THERE. LOOKING AT FACTORS AND

  4   ALTHOUGH THEY'RE VERY SIMILAR TO ONES WE VE ALREADY LOOKED AT

  5   ON EXCEPTIONALS. TAKE A LOOK AT THE CLOSENESS OF THE CASE,

  6   AGAIN AS THE COURT HAD SAID, CLOSE ON SEVERAL ISSUES, NOT ON

  7   INFRINGEMENT PERHAPS, BUT ON ANTICIPATION OBVIOUS, WILLFULNESS

  8   IS SOME HERE IN BETWEEN. THIS FACTOR ISN'T STRONGLY IN SUPPORT

  9   OF ATTORNEY'S FEES. IT'S GENERALLY ACCEPTED IN THE UNITED

 10   STATES USING THE AMERICAN RULE, COURTS SHOULDN'T ABROGATE THE

 11   AMERICAN RULE AND SHIFT ATTORNEY'S FEES IN CASES WHERE THERE

 12   ARE POTENTIALLY VALID AND HARD-FOUGHT ISSUES. JUST BECAUSE YOU

 13   LOSE DOESN'T MEAN YOUR ATTORNEY'S FEES SHOULD GO AGAINST YOU

 14   ABSENT A STATUTE.

 15                     LITIGATION BEHAVIOR, AS I'VE SAID, BOTH SIDES

 16   WORKED HARD TO REPRESENT THEIR CLIENT'S INTERESTS. THE

 17   COUNSEL, I THOUGHT, WERE PROFESSIONAL. AGAIN, THERE WAS DELAYS

 18   TRYING TO ATTEMPTS TO AVOID DISCLOSURE, AND THE COURT

 19   PERCEIVED THAT AS TACTICAL, NOTHING EXCEPTIONAL, ATTORNEYS

 20   MAKING TACTICAL CHOICES AND THE PREJUDICE DEALT WITH BY THE

 21   COURT'S RULING ON LIMITING OR EXCLUDING EVIDENCE. THIS DOESN'T

 22   SUPPORT SHIFTING THE BURDEN ON ATTOR EY'S FEES. THE CONDUCT OF

 23   THE PARTIES, YOU KNOW, THIS HAS BEEN ANALYZED ABOVE.

 24   PREVIOUSLY NO INDICATIONS DELIBERATE COPYING, NO THEFT OF

 25   SECRETS, NO INDUCING EMPLOYEES TO COME OVER TO DIRECTV.


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  1   HANDLING OF THE SUIT WAS NOT PARTICULARLY EXCEPTIONAL IN

  2   COMPLICATED CASE LIKE THIS, ESPECIALLY GIVEN THE AMOUNT OF

  3   MONEY IN OLVED. THIS DOESN'T SUPPORT A FINDING THE CASE WAS

  4   EXCEPTIONAL.

  5                     CULPABILITY OF INFRINGER, YES, DIRECTV INFRINGED

  6   ON SEVEN CLAIMS OF THE PATENT. BUT THEY HAD A GOOD DEFENSE ON

  7   INDEFINITENESS ON OTHERS. OTHER CLAIMS ARE NOT INFRINGED AT

  8   ALL. THEY WERE SLO TO RESPOND, THE 2004 LETTER FROM FINISAR,

  9   BUT AGAIN THE COMPANY WAS IN TURMOIL. THE LAW FIRM WENT

 10   THROUGH A CHANGE. CONGRESS WENT OUT OF ITS AY IN SECTION 285

 11   TO REQUIRE CASES TO BE EXCEPTIONAL. SO EVERY INFRINGER IS NOT

 12   ENTITLED INTENDED TO PAY ATTORNEY'S FEES. AND SO THIS

 13   FACTOR HERE ON THE CULPABILITY OF INFRINGER GIVEN THAT IT'S NOT

 14   EXTENSIVE OR NO MORE THAN OTHER PEOPLE FOUND INFRINGING DOESN'T

 15   SUPPORT A FINDING OF EXCEPTIONALNESS OR AWARD.

 16                     WILLFUL INFRINGEMENT, THIS WAS FOUND BY THE

 17   JURY. AND THIS IS A FACTOR THAT WOULD SUPPORT AN AWARD OF

 18   ATTORNEY'S FEES, BUT AS NOTED HERE THE WILLFULNESS IS NOT A

 19   DELIBERATE COPYING OR POACHING OF EMPLOYEES TALENTS, SUPPORT IS

 20   NOT AS STRONG AS IT MIGHT BE IN SOME CASES. THEN THE COURTS

 21   LOOK AT OTHER FACTORS. FINISAR PREVAILED, NOT ON EVERY CLAIM.

 22   ONLY SEVEN CLAIMS WERE FOUND TO BE INFRINGED, MANY HELD TO BE

 23   INDEFINITE. AND WHILE THERE IS OVERLAP IN THE FACTORS USED TO

 24   DETERMINE EXCEPTIONALNESS AND ENH NCEMENT, THEY HAVE TO BE

 25   A ALYZING BY THE POLICY REASONS BEHIND 284 AND 285.


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  1   ENHANCEMENT OF 284, COURT IS TRYING TO PUT THE PATENT HOLDER IN

  2   POSITION IT WOULD H VE BEEN ABSENT INFRINGEMENT TO DETER OTHERS

  3   FROM INFRINGING. BUT YOU' E GOT ENH NCEMENT, YOU'VE GOT

  4   PREJUDGMENT INTEREST ND COST TO ACCOMPLISH THIS.

  5                     CONGRESS ANTED MORE IN DECIDING ATTORNEY'S FEES

  6   UNDER 285. THEY COULD HAVE LEFT OUT THE WORD "EXCEPTIONAL."

  7   THEY COULD HAVE HAD A C15 PROVISION LIKE IN THE CIVIL RIGHTS

  8   ACT CASES WHERE BASICALLY IT'S PRETTY WELL ASSUMED IF YOU WIN A

  9   CIVIL RIGHTS CASE, YOU GET ATTORNEY'S FEES. WE'VE GOT A PATENT

 10   CASE LIKE THIS WORTH MILLIONS, PERHAPS BILLIONS AT STAKE

 11   BETWEEN WELL-FUNDED CORPORATIONS. UNLIKE THE CIVIL RIGHTS

 12   CASES WHERE YOU'RE TRYING TO ENCOURAGE PRIVATE ATTORNEYS

 13   GENERAL TO TAKE ON UNPOPULAR A D DIFFICULT CASES, PROB lBLY NOT

 14   MUCH OTHER THAN THE RAW DIFFICULTY OF FLAUNTING THE LAW, NOT

 15   REALLY A NEED TO ENCOURAGE ATTORNEYS TO TAKE ON THIS CASE FOR

 16   THE SOCI lL GOOD.

 17                     SO FOR THESE REASONS, THE COURT FINDS THE CASE

 18   IS NOT EXCEPTIONAlL UNDER SECTION 285. ATTORNEY'S FEES ARE NOT

 19   GOING TO BE AWARDED. JUDGMENT IS GOING TO BE AS THE JURY

 20   AWARDED, $78,720,250          I'M SORRY, $78,720,250.25 WITH

 21   PREJUDGMENT INTEREST. AND THEN TAKING A LOOK AT THAT, THE

 22   COURT NOTES THAT THE PARTIES HAVE AGREED THAT A SIX PERCENT

 23   RATE SET OUT BY THE STATE OF TEXAS IS APPROPRIATE. OBVIOUSLY,

 24   IN A FEDERAL CASE THE COURT IS NOT BOUND BY THAT. IT COULD

 25   HAVE GONE AS HIGH AS THE PRIME RATE COULD HAVE BEEN DOWN TO


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  1   THE T BILL RATE, LL KINDS OF RATES TO USE. BUT IT DOES SEEM

  2   THAT    AND IN LIGHT OF THE DECISION, THE COURT                AND THE

  3   EVIDENCE IS GOING TO MAKE IT, IT DOES SEEM THAT THE

  4   CALCULATIONS ON A PER SET TOP BOX METHOD AS SET OUT AT THE SIX

  5   PERCENT RATE, AND IT ALSO DOES APPEAR SINCE THE IDEA HERE IS TO

  6   COMPENSATE THE PLAINTIFF FOR THE LOSS OF THE USE OF THE MONEY,

  7   THAT IT SHOULD BE COMPOUNDED ANNUALLY.

  8                     SO IT WILL BE AT THE SIX PERCENT RATE. IT WILL

  9   BE BASED ON THE AMOUNT AWARDED BY THE JURY AS SHOWN HERE ON

 10   THE AND I CAN'T QUITE TELL FROM THESE EXHIBITS EXACTLY HOW

 11   IT'S WORKING. BUT WHAT I WANTED IS THAT BASED ON THE SET TOP

 12   BOX CALCULATION COMPOUNDED ANNUALLY AS SHOWN IN THESE VARIOUS

 13   EXHIBITS THAT BOTH SIDES SEEM TO HAVE ON SHOWING THE AMOUNTS

 14   PER YEAR, WHICH IF I M UNDERSTANDING THIS CORREC OR CORRECTLY

 15   IS GOING TO WORK OUT BUT I MAY HAVE TO DO SOME RECALCULATION

 16   OF IT. I THINK IT'S VARIOUS FIGURES ON HERE WAS 11 MILLION, 14

 17   MILLION, 13 MILLION. THERE MAY HAVE TO BE SOME RECALCULATION

 18   OF IT, BUT IT WILL BE BASED ON THE THE SALES SHOWN EACH

 19   PERIOD, BUT THEN COMPOUNDED ANNUALLY.

 20                     MR. ROBERTS: YOUR HONOR, JUST TO SEE IF I'M

 21   CORRECT, I BELIEVE YOU MISSPOKE WHEN YOU RECITED THE JURY'S

 22   VERDICT. I THINK YOU SAID 720,000 WHEN IT WAS 920,000.

 23                     THE COURT: I MAY HAVE DONE THAT. YOU'RE RIGHT.

 24   $78,920,250.25. THANK YOU. I FIGURED BY NOW YOU-ALL WOULD BE

 25   ASLEEP. OKAY. PLUS, THERE'LL BE AN ENHANCEMENT THAT THE COURT



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  1   EARLIER STATED OF THE 25 MILLION, AND THEN POST JUDGMENT

  2   INTEREST ON ALL OF THAT AT THE STATUTORY RATE UNDER, I BELIEVE,

  3   IT'S 28 USC, SECTION 1961.

  4                     THE NEXT ISSUE WE GET INTO IS HETHER OR NOT

  5   THERE SHOULD BE AN INJUNCTION. AND THERE WAS SOME INDICATION,

  6   DISCUSSION ABOUT ALL THE DIFFICULTIES IN FIGURING OUT THESE

  7   DAMAGES AND WHETHER THERE SHOULD BE AN INJUNCTION AND SO FORTH.

  8   BUT THE SCHEDULING ORDER MADE IT CLEAR THAT DAMAGES DISCOVERY

  9    AS SUPPOSED TO H VE BEEN DONE EARLIER. OBVIOUSLY WHETHER OR

 10   NOT THERE SHOULD BE AN INJUNCTION OR A COMPULSORY LICENSE OR

 11    HATEVER IS SOMETHING THE PARTIES KNO ABOUT IT, AND THE COURT

 12   SEES IN THIS CASE GIVEN THE AMOUNT OF EVIDENCE, IT HAS NO

 13   REASON TO BELIEVE THAT AT SOME FUTURE DATE I THINK I CAN

 14   MAKE THAT DECISION NOW.

 15                     NOW 35 USC, SECTION 283 PROVIDES THAT THE COURTS

 16   HAVING JURISDICTION, CAN GRANT INJUNCTION AND, OF COURSE, THE

 17   PRINCIPLES OF EQUITY. AND THE EBAY CASE WITH EB Y, INC.,

 18   VERSUS MERCEXCHANGE, 126 SUPREME COURT 1837, THE SUPREME COURT

 19   HAS SAID LET'S GO BACK TO THE WE WILL GO BACK TO THE

 20   STANDARD FACTORS. IN GOING THROUGH THESE, WE HAVE IRREPARABLE

 21   INJURY. THE EVIDENCE INDICATES TO THIS COURT THAT THERE IS

 22   REALLY NO IRREPARABLE INJURY TO THE PLAINTIFF. THEY HAVE

 23   RAISED THIS ARGUMENT OF THE RIGHT TO EXCLUDE EVERYBODY ELSE,

 24   AND THAT TH T PERHAPS COULD BE PRICELESS AND SHOULD BE PART OF

 25   THE CONSIDERATION. BUT IT'S ALSO UNCONTESTED THEY NEVER SOLD


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  1   THE RIGHTS TO THE PATENT, NEVER M DE THE SLIGHTEST EFFORT TO

  2   EVER USE THE PATENT. WITH NO SUCCESS AT ALL IN THE PAST, IT'S

  3   A LITTLE FAR FETCHED TO SAY THEY CAN SELL EXCLUSIVE RIGHTS TO

  4   COMPETITORS WHO WEREN'T INVOLVED IN THE SUIT. IT'S EASY -- AND

  5   YES, AS A PRACTICAL MATTER HAVING THIS VERDICT IS HELPFUL, BUT

  6   THIS JUDGMENT DOESN'T DECLARE AND AS FAR AS I KNOW DISTRICT

  7   COURTS DON'T DECL RE PATENTS VALID FOR ALL PURPOSES FOR EVEN

  8   THE NEXT CASE. WE KNOW THAT IN THIS CASE, THE PLAINTIFF PROVED

  9   BY A PREPONDERANCE OF THE EVIDENCE THAT DIRECTV INFRINGES SEVEN

 10   CLAIMS. AND WE KNOW THAT DIRECTV FAILED TO PROVE INVALIDITY BY

 11   CLEAR ND CONVINCING EVIDENCE. THAT GIVES FINISAR AN ENHANCED

 12   BARGAINING POSITION. BUT IT'S NOT AN AUTOMATIC TICKET TO CASH

 13   IN ON THE PATENT WITH OTHERS OR TO EXCLUDE EVERYONE.

 14                     AND THE COURT HAS TO BE A LITTLE CONCERNED ABOUT

 15   THIS IDEA OF EXCLUSION IN A FIELD WHERE THERE ARE TWO

 16   COMPETITORS. AND THEN TAKING IN MIND CONGRESS THROUGH THE

 17   ANTI-TRUST LAW HAS INDICATED AN AVERSION TO MONOPOLY,

 18   ESPECIALLY A MONOPOLY THAT AFFECTS SO MANY PEOPLE. A D IF THE

 19   COURT WAS TO GRANT AN INJUNCTION, YES, MAYBE SOMETHING COULD BE

 20   WORKED OUT; BUT FOR WHATEVER PERIOD THE INJUNCTION WAS IN

 21   PLACE, YOU'D HAVE ONE COMPANY AS THE SOLE SATELLITE PROVIDER.

 22   AND IT'S ALSO GOT TO BE RECOGNIZED IN ANTI-TRUST LAW, WHICH THE

 23   COURT IS FAMILIAR ITH, KIND OF DEPENDS ON HAT ADMINISTRATION

 24   IS PUSHING IT. SOME ADMINISTRATIONS PUSH HARDER THAN OTHERS.

 25   WHO THE ATTORNEY GENERAL OF THE COUNTRY WHAT FOCUS THEY WANT


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  1   TO MAKE ON IT. BUT CONGRESS HAS THAT ACT IN PLACE. IT DOES

  2   SEEM PERHAPS IMPRUDENT FOR A DISTRICT COURT TO SIMPLY DECIDE

  3   THAT IT'S GOING TO ISSUE AN INJUNCTION THAT RESULTS IN A TOTAL

  4   MONOPOLY OF SOMETHING LIKE SATELLITE TV FOR THE NATION.

  5                    AND IN TERMS OF IRREPARABLE INJURY, GIVEN THE

  6   F CT THAT THERE RE D M GES VAIL BLE AND FUTURE D MAGES

  7   AVAILABLE, IT DOESN'T SEEM IRREPARABLE.

  8                    REMEDIES AT LAW, FINISAR HAS GOT THE JUDGMENT

  9   FOR THE FULL MOUNT FOUND BY THE JURY, PLUS PREJUDGMENT

 10   INTEREST, PLUS A SUBSTA TIAL ENHANCEMENT, PLUS COST OF COURT

 11    HICH THE COURT IS GOING TO AWARD, ALSO. IT S HARD TO ARGUE

 12   THAT IT'S NOT BEEN FULLY COMPENSATED FOR DAMAGES TO DATE. AND

 13   THEN AS TO FUTURE, THE COURT IS GOING TO FIND A COMPULSORY

 14   LICENSE TO ADEQUATELY COMPENSATE FINISAR FOR DIRECTV'S USE OF

 15   THE INVENTIONS, ESPECIALLY SINCE FINISAR EVIDENTLY NEVER HAD

 16   THE WILL NOR THE MEANS TO IMPLEMENT THE PATENT ITSELF.

 17                     SO, HARDSHIP, THE HARDSHIP INVOLVED IN ENJOINING

 18   DIRECTV WOULD BE ENORMOUS. YES, IT'S TRUE THAT YOU CAN'T

 19   REALLY CONSIDER YOURSELF TOO MUCH ABOUT PROFITS TO

 20   CORPORATIONS. IF YOU'VE GOT A THOUSAND EMPLOYEES, THOUSANDS OF

 21   EMPLOYEES OUT OF WORK, RIPPLE EFFECT ON ALL THE CONTENT

 22   PROVIDERS PROBABLY INC LCULABLE. 15 MILLION PEOPLE LOSE THE

 23   AVAILABILITY TO VIEW THEIR TV. SOME WOULD SAY THIS IS A

 24   BLESSING, AND ONE OF THE BRIEFS SAID SOMETHING ABOUT THAT. BUT

 25   IT'S NOT A BLESSING TO INVALIDS OR SHUT-INS OR MILLIONS OF


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  1   RURAL PEOPLE WHO DEPEND ON TV FOR NEWS ND EVERYTHING ELSE. ON

  2   THE OTHER HAND, FINIS R IS HARD PRESSED TO SHOW A HARDSHIP IN

  3   RECEIVING OVER A $100 MILLION FROM A PATENT WHICH HAS BEEN ON A

  4   SHELF FOR SOME TEN YEARS WITH NO RETURN AT ALL, ESPECIALLY WHEN

  5   THERE HASN'T BEEN A PENNY I VESTED IN ITS DEVELOPMENT OR

  6   IMPLEMENTATION AFTER ISSUANCE ACCORDING TO ACCORDING TO THE

  7   EVIDENCE. AN APPROPRIATELY WORDED COMPULSORY LICENSE COULD

  8   CONTINUE THE FLOW OF INCOME AND STILL ALLOW FINISAR TO MARKET

  9    HE PATEN NOW, AND IT H S HE AN I-B RGAINING OOL OF THE JURY

 10   VERDICT AND JUDGMENT.

 11                     AND THEN AS FAR AS PUBLIC INTERESTS, THE COURT

 12   C N'T SEE ANY PUBLIC INTEREST SERVED BY ENJOINING DIRECTV. THE

 13   PUBLIC POLICY OF THE TERM INFRINGEMENT HAS FOR REASONS

 14   PREVIOUSLY DISCUSSED AND ADDRESSED BY THE MONEY JUDGMENT.

 15   THERE'S NO PUBLIC INTEREST IN ARBITRARILY LIMITING S TELLITE TV

 16   TO MILLIONS OF VIEWERS. THE WHOLE PATENT SYSTEM ITSELF IS A

 17   PUBLIC INTEREST IN TECHNOLOGY BEING USED AND IMPROVED UPON. SO

 18    HE COURT DOESN'T SEE THAT THERE'S PUBLIC INTEREST WOULD BE

 19   SERVED BY AN INJUNCTION. SO THE REQUEST FOR AN INJUNCTION IS

 20   DENIED.

 21                     THEN WE GET INTO THE COMPULSORY LICENSE, AND

 22   WE'VE HAD A LOT OF TESTIMONY ABOUT THAT TODAY. COMPULSORY

 23   LICENSE CAN BE GRANTED TO A PATENTEE HO'S BEEN UNABLE TO

 24   PREVAIL IN A REQUEST FOR INJUNCTIVE RELIEF. AND FOSTER VERSUS

 25   AMERICAN MACHINE AND FOUNDRY COMPANY, 492 FED. 2D. 1317, PAGE



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  1   1324, FED. CIRCUIT. THIS IS          MAY NOT BE FED. CIRCUIT. IT'S

  2      1974 CASE. A D THE PLAINTIFF IN THEIR BRIEF ASSERTS THAT

  3   AFTER REVIEWING THE GEORGIA-PACIFIC FACTOR, THE COURT SHOULD

  4   AWARD A REASONABLE ROYALTY OF THREE PERCENT OF REVENUE.

  5   DEFENDANTS CONTEND THAT DAMAGES SHOULD BE A $1.32 PER SET TOP

  6   BOX.

  7                     THERE SEEMS TO BE SOME DISCREPANCY. SOME OF THE

  8   EXHIBITS TALK ABOUT 55-MILLION SET TOP BOXES, BUT I THINK

  9   MR. DON LDSON TESTIFIED IN HIS MOST RECENT REPORT IT W S

 10   59-MILLION SET TOP BOXES DURING THE DAMAGE PERIOD, AND THERE'S

 11   SOME INDICATION THERE'S LIKELY TO BE 15 MILLION COMING UP THIS

 12   COMING YEAR. THE COURT RECOGNIZES THAT THE GEORGIA-PACIFIC

 13   FACTORS ARE FREQUENTLY USED IN TERMS OF INSTRUCTING THE JURY ON

 14   A REASONABLE ROYALTY IN A HYPOTHETICAL SITUATION IN THE PAST;

 15   BUT IT DOESN'T SEE ANY REASON AT ALL WHY THESE SAME FACTORS

 16   CAN'T BE USED IN TO HELP THE COURT ALYZING WHAT WOULD BE

 17   AN APPROPRIATE ROYALTY AMOUNT. SO LOOKING AT THAT THE

 18   ROYALTIES RECEIVED BY THE PATENTEE FOR LICENSING THE PATENT

 19   SUIT, THERE HASN'T BEEN ANY ROYALTIES RECEIVED BY THEM IN THE

 20   PAST, NONE AT ALL. NO ONE'S TAKEN THEM UP ON IT. THERE WAS

 21   SOME TESTIMONY ABOUT UNACCEPTED OFFERS. TO SELL; UNACCEPTED

 22   OFFERS, TO BUY. IN THE COURT'S MIND, THAT'S REALLY WEAK

 23   EVIDENCE. THE       HAT E HAVE, OF COURSE, IS THE JURY VERDIC ,

 24   BUT THE JURY DETERMINED WHAT'S IN THE PAST. IT'S A LITTLE

 25   DIFFICULT TO FIGURE OUT WHAT THAT WAS. IT SEEMS MOST LIKELY IT


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  1   WAS ON SET TOP BOX BASIS. HARD TO BELIEVE THEY WOULD HAVE

  2   GONE THROUGH A .14 ROYALTY. RE LLY, THAT'S NOT A BIG CONCERN

  3   THERE UNDER THE UNDER THE GEORGIA-PACIFIC ANALYSIS.

  4                     THE COURT WOULD INDICATE THAT ITS OPINION THAT

  5   THE GROSS REVENUE MODEL IS SOMEWHAT UNWORK BLE BECAUSE IT

  6   DOESN'T CONSIDER COST. AND YOU'VE GOT ESPECIALLY IN

  7   INDUSTRY WHERE IT'S NECESSARY TO HAVE A NUMBER OF DIFFERENT

  8   PATENTS TO MAKE THE SYSTEM WORK. YOU'VE GOT THE WELL, THE

  9   GEM STAR, THE IMPEG, THE DOLBY, WHATEVER GETS INVOLVED IN THE

 10   DISH ITSELF, AND THE SET TOP BOX STUFF. THERE'S A LOT OF

 11   PATENTS INVOLVED THERE, AND IF EVERY ONE OF THEM HAD, SAY,

 12   THERE'S 10 OR 15 OR MORE, A FEW PERCENT OF REVENUE, DIRECTV

 13   COULD NEVER RUN A BUSINESS BECAUSE IT HAS NOTHING TO DO WITH

 14   COST. AND THIS IS AN INDUSTRY WITH HUGE COSTS, AT LEAST THE

 15   BIG NUMBERS.

 16                     BUT I HEARD NO TESTIMONY THAT SHOWED ME HOW THE

 17   ECONOMIC WAS WORKABLE BUT BASE IT ON GROSS REVENUE OR THAT

 18   ANYBODY ELSE EVER BASED ON GROSS REVENUE. IT WOULD SEEM TO ME

 19   TO BE A VERY FOOLISH BUSINESS DECISION TO DO IT ON THAT WHEN

 20   YOU COULD HAVE GROSS REVENUE OF A BILLION DOLLARS A YEAR, BUT

 21   COST OF 1.2 BILLION. AND YOU'RE GOING TO GIVE ANOTHER THREE

 22   PERCENT OF THAT UP. THAT DOESN'T MAKE THAT DOESN'T SEEM TO

 23   BE GOOD BUSINESS SENSE. THE COURT HAS TO COME UP WITH

 24   SOMETHING ELSE.

 25                     LOOKING AT FACTOR TWO, THE RATES PAID BY


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  1   LICENSEE FOR USE OF OTHER PATENTS, COMP R BLE TO THE PATENT

  2   SUIT, WE HAVE A RANGE, IMPEG STARTING AT $4 GOING DOWN TO 2.50

  3   BASED ON VOLUME. STARSIGHT, 3.50 TO 5.50 PER BOX. THAT'S A

  4   GROUP OF SEVEN PATEN S; THE DOLBY, 12 CENTS TO $1.65 PER UNIT

  5   BASED ON VOLUME; AND THOMPSON, 2.50 PER BOX; GEM STAR, 20 CENTS

  6   PER SUBSCRIBER PER MONTH; MACROVISION, THA ONE IS NOT REALLY

  7   RELATED. THA 'S BASED ON INCOME FROM A SPECIFIC THING, NAMELY,

  8   PAY PER VIEW MOVIES OR PAY PER VIEW THINGS. SO THAT S, I

  9   THINK, IMPORTANT FACTORS IN THERE LOOKING AT THAT RANGE IN

 10   THERE, AND THEN COMPARING THIS PARTICULAR PATENT, WHICH

 11   OBVIOUSLY IS IMPORTANT BASED ON THE JURY'S FINDINGS. AND BASED

 12   ON THE COURT'S OWN REVIEW OF THE PATENT ITSELF. THAT WOULD

 13   SUPPORT A COMPULSORY LICENSE BASED ON A ROYALTY PER SET TOP

 14   BOX, ESPECIALLY IN LINE WITH WHAT WE SEE IN THE IMPEG LICENSE

 15   WHERE THEY'VE TAKEN CARE OF THE PROBLEM. PLAINTIFFS PROPERLY

 16   BROUGHT UP ABOUT WHAT YOU CALL A SET TOP BOX.

 17                     WELL, EVIDENTLY IT SEEMS THAT THAT WAS BROUGHT

 18   UP BEFORE BY OTHER PEOPLE, AND IT DEPENDS ON THE I DON'T

 19   REMEMBER IF IT WAS ENCODERS OR ENCODERS OR TRANSPONDERS.

 20   THEY'RE    I'M SORRY, I'M DRAWING A BLANK ON A WORD, BUT

 21   MR. TOUTON BROUGHT THAT UP, AND I ALSO SAW IT IN THE IMPEG

 22   LICENSE. SO THAT MAKES A USEFUL FRAMEWORK.

 23                     THEN WE LOOK AT THE THIRD FACTOR, NATURE AND

 24   SCOPE OF THE LICENSE IS EXCLUSIVE OR NONEXCLUSIVE OR RESTRICTED

 25   BY TERRITORY OR WITH RESPECT TO WHERE PRODUCTS MAY BE SOLD.


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  1   NOT GOING TO BE AN EXCLUSIVE LICENSE. OBVIOUSLY, THEY C N SELL

  2   IT TO OTHERS. DOESN'T SEEM TO RESTRICT THEM BY TERRITORY.

  3   THAT WOULD INDICATE TO HAVE A LOWER VALUE BECAUSE IT'S NOT

  4   EXCLUSIVE, AND IT'S PROBABLY IN VIOLATION OF ANTI-TRUST IF IT'S

  5   ACTU LLY COVERED EVERYBODY ELSE TO BE PUTTING RESTRICTIONS ON

  6   NOT BEING ABLE TO GO TO ECHOSTAR OR ANYBODY ELSE. THE LICENSOR

  7   ESTABLISHED POLICY IN MARKETING PROGRAMS TO MAINTAIN THIS

  8   PATENT MONOPOLY BY NOT LICENSING OTHERS TO USE THE PATENT OR BY

  9   IMPOSING SPECIAL CONDITIONS SINCE LICENSOR NEVER HAS LICENSED

 10   THIS PARTICULAR PATENT, HAS MADE NO ATTEMPTS TO PRESERVE THE

 11   MONOPOLY. AND, ACTUALLY, THERE IS TESTIMONY THEY WENT OUT ND

 12   TRIED AND TRIED AND TRIED TO SELL IT. NEVER COULD. BUT THEY

 13    EREN'T TRYING TO MAKE IT EXCLUSIVE, AND THEY WEREN'T DOING IT

 14   THEMSELVES. THEY WEREN'T TRYING TO MAINTAIN THEIR OWN

 15   MONOPOLY. SO THAT FACTOR WOULD TEND TO LOWER THE RATE.

 16                     THE COMMERCIAL RELATIONSHIP BETWEEN LICENSER AND

 17   LICENSEE, ARE THEY COMPETITORS? NO, THEY'RE NOT COMPETITORS.

 18   ARE THEY INVENTOR AND PROMOTER? NOT EXACTLY, BUT OBVIOUSLY THE

 19   MORE THESE BOXES AND THE BETTER BUSINESS THAT DIRECTV DOES, THE

 20   BETTER OFF IT'S GOING TO BE FOR FINISAR, SO THAT AGAIN WORKS

 21   SOMEWHAT IN FINISAR'S FAVOR.

 22                     AND GETTING INTO THE TESTIMONY ABOUT VOLUME,

 23   LOWERING THE NUMBER, OBVIOUSLY FINISAR IS GOING TO HOPE FOR

 24   HIGHER VOLUME. SO YOU WOULDN'T WANT TO SET THE PRICE SO HIGH

 25   THAT YOUR ELASTICITY DEMAND WOULD COME WOULD SET IN. YOU


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  1   DON T WANT TO SET IT SO LOW TH T THEY’RE NOT REALIZING FULL

  2   VALUE.

  3                     NUMBER SIX, THE EFFECT OF SELLING THE PATENT

  4   SPECIALITY AND PROMOTING SALE OF OTHER PRODUCTS OF LICENSEE. I

  5   DIDN'T SEE ANY EVIDENCE AT ALL THAT USE OR NONUSE OF THE P TENT

  6   IS GOING TO HELP THE CABLE BUSINESS FINISAR IS IN, THE KIND OF

  7   BUSINESS THEY ALREADY HAVE ALONG WITH THEIR PATENTS THEY HAVE.

  8    HE EXISTING VALUE, HE INVENTIONS, THE LICENSOR, THE GENERATOR

  9   OF SALES, THE NONPATENTED ITEMS, DOESN'T SEEM NO EVIDENCE OF

 10   THAT OR EVEN THEIR PATENTED ITEMS DOESN’ SEEM TO HELP. THE

 11   EXTENT THAT SUCH DERIVATIVE OR CONVEYED SALES, THAT'S AT ZERO.

 12   THAT WOULD TEND TO DRIVE THE VALUE OF THIS DOWN.

 13                     THE DURATION OF THE PATENT AND THE TERMS OF THE

 14   LICENSE, WE'VE TAKEN CARE OF PAST DAMAGES, AND NOW IT GOES UP

 15   ANOTHER SIX YEARS. OBVIOUSLY, FINISAR SHOULD BE ENTITLED TO

 16   RECEIVE THE FULL VALUE THAT IT HAS.

 17                     THE ESTABLISHED PROFITABILITY OF THE PRODUCT

 18   MADE UNDER THE PATENT, IT'S A COMMERCIAL SUCCESS IN ITS CURRENT

 19   POPULARITY. OBVIOUSLY, IT'S POPULAR. WE GOT 15 MILLION

 20   VIEWERS. WE'VE GOT REVENUES DEPENDING ON WHO YOU'RE BELIEVING,

 21   VERY, VERY HIGH. PROFITS AGAIN DEPENDING ON WHICH KIND

 22   YOU RE OPERATING PROFITS OR OTHER PROFITS, PROFITS ARE QUITE

 23   HIGH. OBVIOUSLY, DIRECTV WANTS TO MAINTAIN THOSE. AND IT IS

 24   ALSO OBVIOUSLY FINISAR'S          OR PROFIT IF FINISAR GETS ITS FAIR

 25   SHARE. AND THIS, I GUESS, IS ONE REASON WHY THE REVENUE MODEL


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  1   DOESN'T WORK BECAUSE REG RDLESS OF WHAT IT IS PER SET TOP BOX,

  2   DIRECTV ND REGARDLESS OF HOW MANY PATENTS DIRECTV HAS TO BUY

  3   PER SET TOP BOX, HE CAN ALWAYS DEAL WITH THAT COST IN ITS FEE

  4   STRUCTURE. BUT WHEN YOU'RE DOING IT ON A REVENUE BASIS, IT

  5   DOESN'T MATTER HO YOU RAISE FEES; YOU AL AYS CREATE MORE

  6   PERCENTAGE OF THAT GROSS REVENUE REGARDLESS OF WHAT YOUR COST

  7   WERE. AND THAT'S BEEN A        THAT'S PROBLEMATIC IN THE COURT'S

  8   MIND AS TO HY      IT'S GOT TO BE BASED ON SOME                SOME SU THAT

  9   THEN CAN BE DEALT WITH. AND GEM STAR DEALS WITH IT ON A

 10   MONTHLY BASIS PER SUBSCRIBER. THAT'S ANOTHER WAY OF DOING IT.

 11   AT LEAST YOU VE GOT A COST THAT'S KNOWN AND THEN CAN BE HANDLED

 12   IN YOUR FEE S RUCTURE. BUT FOR ALL THE OTHER TECHNOLOGY, IT

 13   DOES SEEM TO BE PER SET TOP BOX.

 14                     THIS IS A PROFITABLE BUSINESS. AND WHATEVER FEE

 15   IS SET CAN BE DEALT WITH. IT DOESN'T             THERE IS NO INDICATION

 16   THAT DEMAND IS INELASTIC BASED ON PRICE OR IN THE RANGE WE'RE

 17   TALKING ABOUT HERE. UTILITY AND ADVANTAGE OF THE PATENT

 18   PROPERTY OVER THE OLD MODE OF DEVICES, IF ANY, IT WOULD BE

 19   USEFUL LOOKING UP SIMILAR RESULTS. NOT MUCH TESTIMONY ABOUT

 20   THAT AT ALL OTHER THAN MR. EATON TELETEXT BEING SOMEWHAT

 21   SIMILAR AND PERHAPS SOME FURTHER INVESTIGATION IT WOULD BE MORE

 22   SIMILAR TH N WHAT WAS BROUGHT OUT. BUT OBVIOUSLY THERE'S SOME

 23   UTILITY HERE AS SEEN BY THE SUCCESS OF THE DIRECTV.

 24                     THE NATURE OF THE PATENT INVENTION, IT'S A

 25   METHOD, THE CHARACTER OF THE COMMERCIAL IMBIBEMENT AS OWNED AND


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  1   PRODUCED BY THE LICENSOR, NONE, THEY HAVEN'T USED IT. THE

  2   BENEFITS TO THOSE WHO USED H VE USED INVENTION, ALREADY GOT THE

  3   TESTIMONY IN OF THEIR LARGE REVENUES ALONG WITH HIGH COST, OF

  4   COURSE, RESULTING IN A HEALTHY PROFIT.

  5                     ELEVEN, EXTENT TO WHICH THE INFRINGERS MADE USE

  6   OF THE INVENTION. BASED ON THE JURY'S VERDICT, THEY HAVE BEEN

  7   USING THAT INVENTION SINCE SINCE DAY ONE AND USING IT TO

  8   THEIR ADVANTAGE TO GROW A VERY HEALTHY BUSINESS. ANY EVIDENCE

  9   PROBATIVE AS TO VALUE OF THAT USE, E'VE ALREADY GOT THAT IN.

 10   THE COURT HAS ALREADY DISCUSSED THAT IN TERMS OF THE REVENUES

 11   AND THE PROFITS. THE PORTION OF PROFIT OR THE SELLING PRICE

 12   MAY BE CUSTOMARY IN A PARTICULAR BUSINESS OR IN COMPARABLE

 13   BUSINESSES TO USE FOR THE USE OF THE INVENTION OR ANALOGOUS

 14   INVENTIONS, VERY LITTLE TESTIMONY ABOUT THAT. BOTH ALL THE

 15   EXPERTS WERE BASICALLY SAYING THEY COULDN'T REALLY TELL EVEN

 16   FINIS R EXPERTS COULDN'T REALLY TELL HOW IMPORT NT THIS' AS.

 17   IT AS IMPORTANT, BUT IS IT MORE IMPORT T THAN THIS? IS IT

 18   MORE IMPORTANT THAN THE SATELLITE, IS IT MORE IMPORTANT THAN

 19   IMPEG, IS IT MORE IMPORTANT THAN GEM STAR OR DOLBY OR ANY OF

 20   THESE OTHERS? BASED ON THE EVIDENCE BEFORE THE COURT, IF YOU

 21   REMOVE ANY ONE OF THESE KEY ITEMS, THE SYSTEM BREAKS DOWN. SO

 22   IT'S IMPORTANT, BUT NOT NECESSARILY MORE IMPORTANT THAN THE 200

 23   SOME-ODD PATENTS IN THE IMPEG SYSTEM OR THE OTHERS. SO THAT

 24   WOULD AGAIN GO TOWARDS KEEPING THE RATE WITHIN THE RANGE

 25   DISCUSSED IN ITEM NUMBER TWO, THE RATES PAID BY THE LICENSEE


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  1   FOR USE OF OTHER PATEN S.

  2                     THIRTEEN      FACTOR 13 IS VERY SIMILAR. THE

  3   COURT IS GOING TO REALIZE THE PROFIT SHOULD BE CREDITED TO THE

  4   INVENTION AS DISTINGUISHED FROM NONPATENTED ELEMENT. THE

  5   MANUFACTURING PROCESS, BUSINESS RISK SIGNIFICANT FEATURES OR

  6   IMPROVEMENT HEADED BY INFRINGER. I THINK THIS IS IMPORTANT

  7   BECAUSE AS MR. DONALDSON AGREED, VERY HIGH COST OF ENTRY,

  8   VARIOUS ENTRY IN THIS CASE. LITERALLY BILLIONS OF DOLLARS TO

  9   GET INTO THIS BUSINESS. I MEAN, PUTTING UP THREE SATELLITES.

 10   THERE WAS A LOT OF TALK ABOUT, WELL, THEY HAVE ON HAND CASH OF

 11   SEVERAL BILLION DOLLARS. DEFENDANT NEVER REALLY CAME BACK ND

 12   SPENT MUCH TIME ON THAT, BUT THE COURT HAS YOU KNOW, AT

 13   LEAST NOT DIRECTLY TO THE JURY. BUT THE COST AS BROUGHT OUT

 14   WERE ALSO VERY, VERY HIGH. SO HOW MUCH CASH DO THEY HAVE ON

 15   TIME AND ONE PARTICULAR TIME IS NOT A KEY HERE, AND NO ONE, I

 16   THINK, CAN REASONABLY SAY THAT THIS INVENTION SHOULD BE

 17   CREDITED WITH 25 PERCENT OF OR SOME OTHER HUGE PERCENT OF THOSE

 18   GROSS REVENUES THAT CA E IN THAT HAVE TO BE INVOLVED IN

 19   AMORTIZATION. YOU GOT A SATELLITE UP THERE THAT'S GOING TO

 20   HAVE A DECAYING ORBIT. IT SOMETIMES IS GOING TO HAVE TO BE

 21   REPLACED. I DON'T KNOW WHAT IT COSTS NOW TO LAUNCH A

 22   SATELLITE, BUT IT'S SOMETHING IN A VERY HIGH RANGE. SO YOU

 23   TALK ABOUT YOUR REALIZABLE PROFIT. YOU CAN'T JUST BE LOOKING

 24   AT TOTAL CASH ON HAND. YOU HAVE TO CONSIDER AMORTIZATION. YOU

 25   HAVE TO BE LOOKING AT ONE OF THE PROFIT MEASURES, WHETHER IT'S


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  1   THE 560 MILLION YOU CALL IT OPER TING PROFIT OR THE ONE

  2   BILLION SOME ODD DEPENDING ON WHICH YOU LOOKED AT. YOU'RE

  3   LOOKING AT THAT. AND AGAIN THE PROBLEMS OF DOING IT BY

  4   REVENUE, I VE ALREADY EXPLAINED. BUT SEEING AS THIS                 IS THIS

  5   PATENT SEEMS TO BE COMPARABLE TO SOME OF THE OTHERS IN THE

  6   RANGE OF THOSE SEEMS SEEMS TO BE PRACTICAL AND JUSTIFIABLE.

  7                     FINALLY GET TO THE OPINION TESTIMONY OF

  8   QUALIFIED EXPERTS, AND THE COURT HAS CONSIDERED THAT. THERE'S

  9   OB IOUSLY A WIDE VARIANCE. I EXPLAINED WHY I DON'T THINK THE

 10   USE OF A FACTOR BASED ON REVENUE IS APPROPRIATE. ON THE OTHER

 11   HAND, GIVEN THE RATES, FACTOR NUMBER TWO, THE 30 CENTS PER BOX

 12   OR EVEN THE 60 CENTS PER BOX IS APPROPRIATE EITHER. BASED ON

 13   THE JURY'S ERDICT, THIS IS         THIS IS INFRINGEMENT, AND BASED

 14   ON ALL THE EVIDENCE IT'S AN IMPORTANT PATENT.

 15                     AND THEN THE LAST FACTOR THAT'S SET OUT IN IN

 16   THE GEORGE-PACIFIC CASE IS THE WHAT A REASONABLE BUYER WOULD

 17   HAVE ACCEPTED IT. BASICALLY WHAT A REASONABLE BUYER WOULD

 18   ACCEPT IT OR REASONABLE SELLER WOULD HAVE SOLD FOR OR WHAT THEY

 19   WOULD HAVE AGREED UPON AT THE TIME THE INFRINGEMENT BEGAN.

 20   BASICALLY THE REASONABLE BUYER, REASONABLE SELLER TEST. HAVE

 21   TO LOOK AT THAT. IT'S A LITTLE BIT ARTIFICIAL IN THAT NOW

 22   WE' E ALREADY GOT A JURY VERDICT. BUT AGAIN LOOKING AT WHAT IS

 23   COMMERCIALLY REASONABLE, FACTOR TWO RAISED COMES UP PRETTY

 24   HEAVILY.

 25                     BASED ON ALL OF THAT, THE COURT IS GOING TO IN


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  1   LIEU OF ENJOINING DIRECTV FROM OPERATING ENTER JUDGMENT TH T

  2   THERE WILL BE A COMPULSORY LICENSE AT THE RATE OF $1.60 PER SET

  3   TOP BOX.

  4                     NOW, TO EXPLAIN, I GUESS, FOR THE HIGHER COURT

  5   HOW THE COURT ARRIVES AT THAT, THERE IS EVIDENCE THAT IMPEG,

  6   FOR EX MPLE, IS AT 2.50 NOW BASED ON HE VOLUME BECAUSE IMPEG

  7   INVOLVES SOME 200 PATENTS. THE STARSIGHT IS A HIGHER PER BOX,

  8   BUT IT HAD ABOUT SEVEN PATENTS RELATED TO THE PROGRAM. DOLBY,

  9   WHICH THE COURT'S UNDERSTANDING, WAS BASICALLY A SOUND

 10   ENHANCEMENT. SYSTEM, HAS A LOWER RATE THAN THE 12 CENTS GIVEN

 11   CURRENT VOLUME. BUT THAT'S PROBABLY NOT AS IMPORTANT AS THE

 12   METHOD FOR THE ENTIRE SYSTEM. SO PERCEIVING WHAT THE EVIDENCE

 13   IS AND WHAT HAS BEEN DONE IN OTHER PATENTS FOR MULTIPLE GROUPS

 14   OF PATENTS HICH SEEM JUST AS IMPORTANT, AND THEN TAKING A LOOK

 15   AT THE TOTAL PROFITS THAT WERE ACTUALLY INVOLVED, THE COURT

 16   CONCLUDES THAT A REASONABLE ROYALTY OF $1.60 PER SET TOP BOX

 17   GOING INTO THE FUTURE WOULD BE REASONABLE.

 18                     NOW AN ARGUMENT COULD BE MADE, WELL, THAT SEEMS

 19   TO BE MORE THAN WHAT THE JURY DID. WELL, FIRST OF ALL, WE

 20   DON T KNO WHAT THE JURY DID. SECOND, WE'RE NOT EVEN IF YOU

 21   MULTIPLY OR DIVIDE IT OUT TO COME UP WITH $1.32, THAT'S IN THE

 22   PAST. A DOLLAR BACK IN 1999 OR WHATEVER ISN'T WORTH AS MUCH AS

 23   A DOLLAR TODAY. AND SO THEY'RE LOOKING AT THE PAST; I'VE GOT

 24   TO LOOK ON UP TO THE FUTURE. I WILL STATE RIGHT NOW THAT IT'S

 25   THE COURT'S INTENT THAT THIS PROBLEM OF SET TOP BOX,


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  1   ENTERTAINMENT CENTERS ND SO FORTH CONTROLLING MULTIPLE TV'S IS

  2   GOING TO BE SUBJECT TO THE SAME KIND OF ACCOUNTING AS IN THE

  3   IMPEG LICENSE WHERE IF THAT OCCURS, THEN IT WINDS UP BEING

  4   CONSIDERED AS TWO SET TOP BOXES OR THREE SET TOP BOXES. I'M

  5   STATING THAT AS MY INTENT BECAUSE I M NOT SURE IN TERMS OF THE

  6   JUDGMENT I CAN CRAFT OUT THE ENTIRE LICENSE AGREEMENT. BUT IF

  7   A DISAGREEMENT COMES UP, I WANT BOTH SIDES TO UNDERSTAND THAT

  8   THAT'S THE KIND OF THING I'M GOING TO BE LOOKING AT.

  9   OBVIOUSLY, THE COURT RETAINS JURISDICTION. IF A PROBLEM COMES

 10   UP, I'LL HAVE TO DEAL WITH IT. I'M HOPING THAT ON'T BE

 11   NECESSARY, IF YOU'VE GOT AN IDEA OF WHAT MY INTENT IS AT THAT

 12   TIME.

 13                     AGAIN, THE COURT CONSIDERS THAT FINIS R IS THE

 14   PREVAILING PARTY AND IS ENTITLED TO COST. RECOVERY OF COSTS IN

 15   A FEDER L SUIT IS SET OUT IN FEDERAL STATUTES. THOSE ARE TO

 16   BE, AS ALWAYS, THEY WIND UP BEING SUBMITTED TO THE CLERK OF THE

 17   COURT. I MEAN, THE RULE COUNSEL ARE WELL FAMILIAR WITH THE

 18   RULES ON THAT. COSTS DO NOT INCLUDE ATTORNEY'S FEES. THIS

 19   ISN'T A CIVIL RIGHTS CASE. YES, SIR.

 20                     MR. ROBERTS: ONE POINT OF CLARIFICATION. I

 21   KNOW SOME COURTS AWARD EXPERT WITNESS FEES AS PART OF THE COST.

 22   OBVIOUSLY THOSE ARE IN PATENT CASE. THE COURT HAS HE RD

 23   TESTIMONY ABOUT THE AMOUNT THAT OUR WITNESSES HAVE CHARGED. I

 24   THINK IT WAS VERY REASONABLE. WE'D ASK THAT THOSE BE INCLUDED

 25   WITHIN THE AWARD OF COST.


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  1                     THE COURT: YOU CAN SUBMIT TH T AND REQUEST

  2   THAT. I CAN TELL YOU IN THE PAST CASES I'VE HAD, I'VE NOT

  3   AWARDED THAT GENERALLY. P RT OF THE ENH NCEMENT IS INTENDED TO

  4   PUT PLAINTIFF IN A POSITION IT WOULD HAVE BEEN HAD THERE --IN

  5   OTHER WORDS, HAD INFRINGEMENT NOT OCCURRED OR HAD THE LICENSE

  6   BEEN TAKEN. AND THE AMOUNT THAT'S INVOLVED THERE SHOULD COVER

  7   THAT. IN OTHER WORDS, IT WAS PRETTY OBVIOUS THAT COUNSEL ON

  8   BOTH SIDES COULD HAVE CHOSEN TO HIRE EXPERTS AT A COUPLE

  9   HUNDRED DOLLARS AN HOUR OR $500 AN HOUR AND LET THEM WORK 100

 10   HOURS OR 800 HOURS, AND THAT THAT KIND OF DISCREPANCY IS, I

 11    HINK, THE REASON THE STATUTE GENERALLY DOESN'T ALLOW THAT.

 12                     NOW, THERE IS       BASICALLY WH T I TEND TO DO IS

 13   GO STRICTLY BY THE STATUTE. THAT COULD ALLO CERTAIN FEES FOR

 14   WITNESSES AND EXPENSES AND THINGS LIKE THAT, BUT NOT

 15   NECESSARILY FOR THEIR HOURLY FEE.

 16                     ANY POINT OF       AND I'LL HAVE THE WRITTEN

 17   JUDGMENT, ALTHOUGH I'M NOT GOING TO TRY TO REDUCE THIS OPINION

 18   ON A RECORD FOR TO RITING. I STATED MY REASONS, AND THE

 19   JUDGMENT ILL BE ENTERED BASED ON THAT. IS HERE SOME ELEMENT

 20   OR MOTION ALL MOTIONS, OTHER MOTIONS OTHER THAN I MISSED

 21   ONE ON MOL, PRECEDING MOTIONS AT THIS TIME WILL BE DENIED. IF

 22   THERE'S SOME ONE OF THE JMOL MOTIONS, THERE'S SOME POINT

 23   I VE MISSED COVERING RIGHT NOW FROM PLAINTIFF S POINT OF VIEW,

 24   LET ME KNOW. IS THERE ANYTHING YOU THINK I'VE MISSED?

 25                     MR. ROBERTS: THAT'S ALL WE C            THINK OF, YOUR



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  1   HONOR.

  2                     THE COURT: WHAT BOUT DEFENDANTS? ANYTHING

  3   THAT I VE MISSED ON A Y OF YOUR OMOL’S OR OTHER MOTIONS, POST

  4   TRIAL MOTIONS THAT I’VE MISSED?

  5                     MR. S IKAS: NO, YOUR HONOR.

  6                     THE COUR : ALL RIGHT. THEN NY OF THE OTHER

  7   PROCEDURAL MOTIONS AND SO FORTH AT THIS TIME ARE DENIED. ND I

  8   WILL GO AHEAD AND GET THE JUDGMENT OUT AS QUICKLY AS WE CAN.

  9   AT THIS TIME, THE COURT IS IN RECESS.

 10                     (COURT IS IN RECESS.)

 11

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  1   THE STATE OF TEX S :

  2   COUNTY OF JEFFERSON:

  3

  4         I, ADA V. CHRISTY, A CERTIFIED SHORTHAND REPORTER IN AND

  5   FOR THE STATE OF TEXAS, DO HEREBY CERTIFY THAT THE FACTS AS

  6   STATED BY ME IN THE CAPTION HERETO ARE TRUE; THAT THE ABOVE AND

  7   FOREGOING CONTAINS A TRUE AND CORRECT TRANSCRIPTION OF ALL

  8   PORTIONS OF EVIDENCE AND OTHER PROCEEDINGS REQUESTED IN WRITING

  9   BY COUNSEL FOR THE PARTIES TO BE INCLUDED AND SAME WERE REDUCED

 10   TO TYPEWRITING UNDER MY DIRECTION.

 11                     I FURTHER CERTIFY THAT I AM NOT, IN ANY

 12   CAPACITY, A REGULAR EMPLOYEE OF THE PARTY IN WHOSE BEHALF THIS

 13   PROCEEDING IS TAKEN, NOR IN THE REGULAR EMPLOY; AND I CERTIFY

 14   THAT I AM NOT INTERESTED IN THE CAUSE, NOR OF KIN OR COUNSEL TO

 15   EITHER OF THE PARTIES.

 16         GIVEN UNDER MY HAND AND SEAL OF OFFICE, ON THIS, THE 10TH

 17   DAY OF JULY, 2006.

 18                                        ( ) rv
                                             # , ¦ r _


 19                                        ADA V. CHRISTY, CSR, RPR, CCR
                                           TEXAS CER IFICATION NO.: 5141
 20                                        EXPIRATION DATE: 12-31-07
                                           8311 EARSEL L NE
 21                                        ORANGE, TEXAS 77632
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 23

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